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 7

 8

 9                          UNITED STATES DISTRICT COURT
10                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
11

12   In the Matter of the Application of JSC Case No. 8:20-MC-00126
13   BTA Bank for an Order Seeking Discovery
     Under 28 U.S.C. § 1782                  EXHIBITS TO DECLARATION OF
14                                           JASON KISLIN IN SUPPORT OF
                                             JSC BTA BANK’S EX PARTE
15                                           APPLICATION FOR DISCOVERY
                                             ORDER PURSUANT TO 28 U.S.C. §
16                                           1782 IN AID OF FOREIGN
                                             PROCEEDING
17
                                                      CTRM:       TBD
18                                                    JUDGE:      TBD
                                                      DATE FILED: December 2, 2020
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          EXHIBITS TO DECLARATION OF JASON KISLIN IN SUPPORT OF 28 U.S.C. § 1782 APPLICATION
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                                      The Case of the
                                      Khrapunovs
                                      International institutions
                                      fail to measure up to the
                                      task of tackling globalized
                                      financial crime.

                                      By Stephen M. Bland
                                      July 18, 2018




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                                         Credit: Wikimedia Commons / Stefan
                                         Krasowski


                                      The subject of lawsuits in the United Kingdom
                                      and the United States, former Mayor of Almaty
                                      Viktor Khrapunov, his TV-anchorwoman wife
                                      Leila, and their son Ilyas stand accused of
                                      embezzlement schemes amounting to at least
                                      $300 million. Resident in Switzerland since
                                      August 2008 when they fled their native
                                      Kazakhstan to join their son — loading up a
                                      chartered plane with an alleged 18 tonnes of art,
                                      antiquities and assorted booty — the family is
                                      now the subject of ongoing proceedings by the
                                      Public Prosecutor’s Office of Geneva. With a
                                      network of connections that span the globe,
                                      though, is the Khrapunov house of cards about
                                      to come crashing down, or will their friends in
                                      high places save them?

                                      Simple, Yet Audacious Schemes

                                      Born to a family of bureaucrats in northern
                                      Kazakhstan in 1948, Viktor Khrapunov moved
                                      to Almaty — then the country’s capital — after
                                      completing training at a college of industry and
                                      technology. Working as a mechanic while he
                                      continued with his studies, he decided to join
                                      the Komsomol (the All-Union Leninist Young
                                      Communist League), a move which marked the
                                      beginning of his political ascent. Khrapunov
                                      served as minister of energy and natural
                                      resources before being appointed mayor of
                                      Almaty, a position he held from 1997 to 2004. He
                                      went on to hold a governorship and another
                                      ministerial post, before retiring from all public
                                      positions in 2007, purportedly for “health
                                      reasons.” It is his tenure as mayor, however,
                                      from which allegations of corruption stem.



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                                      In August 2008, with local investigators closing
                                      in, Viktor Khrapunov and his wife hightailed it
                                      out of Almaty to the safe haven of Geneva,
                                      where their son was already resident. An
                                      investigation by the Kazakh authorities
                                      subsequently uncovered 83 shell entities that
                                      bore the family’s fingerprints.

                                      “The theft was committed through the
                                      alienation of properties in Almaty and land in
                                      protected environmental areas,” Sergey Perov,
                                      Kazakhstan’s chief of Anti-Corruption
                                      Investigations and head of the inquiry into the
                                      Khrapunovs, told The Diplomat. “He also
                                      demanded bribes from entrepreneurs for
                                      issuing decrees of privatization, which were
                                      paid in the form of cash and real estate. We’ve
                                      uncovered 28 separate episodes of criminal
                                      activity.

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                                      “The schemes used by the Khrapunovs were
                                      simple, yet audacious,” Perov said. “The most
                                      common went like this: Mayor Khrapunov
                                      instructed his subordinates to conduct a
                                      fictitious tender for the sale of an asset to a
                                      predetermined company, the ultimate owner of
                                      which was his wife, Leila. After that, the
                                      Khrapunovs resold the object at its real value to
                                      a third party. For example, one piece of
                                      government land was bought and resold a day
                                      later at 45 times the price it was acquired for.
                                      He’s not a moral man; he even privatized a
                                      kindergarten and a hospital for veterans of the
                                      Second World War.”

                                      As laid out by the plaintiffs in a California court
                                      case, Kindergarten No. 186 serves as an example
                                      of how the Khrapunovs allegedly conducted
                                      their business:

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                                            On or about April 16, 2001, Viktor used
                                            his position as mayor to cause public land
                                            and a building in Almaty known as
                                            Kindergarten No. 186 to be auctioned and
                                            ultimately sold to Leila’s company, KRI,
                                            for approximately $347,000… Under the
                                            laws of Kazakhstan, potential buyers of
                                            state-owned property are obligated to
                                            state how they intend to invest in and
                                            develop the property. In an attempt to
                                            make KRI’s bid appear legitimate and to
                                            ensure they won, KRI fraudulently
                                            represented that they would invest more
                                            money than their competitors (based on
                                            inside information about the competitors’
                                            bids) in Kindergarten No. 186 and build a
                                            health center… Instead, Leila caused KRI
                                            to sell Kindergarten No. 186 to Karasha [a
                                            shell company] and three days later, Leila
                                            caused Karasha to sell Kindergarten No.
                                            186 directly to her. The investment
                                            promise KRI used to win the bid was not
                                            passed on in the subsequent purchase
                                            agreements… [The asset] was then sold to




                                                                                ”
                                            an unrelated third party in a transaction
                                            that valued Kindergarten No. 186 at
                                            approximately $4.1 million.


                                      It’s Good to be Swiss

                                      Founded at the time the family fled from
                                      Kazakhstan, the Swiss Development Group
                                      (SDG) — company slogan: “It’s Good to be Swiss”
                                      — was established as a hub of financial
                                      operations for the Khrapunovs in Geneva.
                                      Among SDG’s projects were a high-end beach
                                      resort on the shores of Lake Geneva, a mall in
                                      the city center, and a luxury ski resort, while the
                                      family also snapped up a string of other
                                      properties in Switzerland and elsewhere. As

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                                      early as 2010, La Tribune de Genève ran a story
                                      raising suspicions that $10 million in capital
                                      raised for these ventures had been illegally
                                      funneled out of Almaty.

                                      “Currently Switzerland isn’t at the top when it
                                      comes to the fight against money laundering,”
                                      Martin Hilti, executive director of Transparency
                                      International Switzerland told The Diplomat.
                                      “We have several loopholes, one being the scope
                                      of our anti-money laundering act, which is
                                      limited to financial intermediaries and doesn’t
                                      take into account other risky activities, such as
                                      the buying and selling of real estate.”

                                      Hilti continued: “We published a report last
                                      autumn looking at the risk of money laundering
                                      in the Swiss real estate sector. It’s pretty easy to
                                      buy Swiss real estate with dirty money because
                                      of the loopholes. The main actors, such as
                                      notaries and estate agents normally don’t have
                                      any duty of due diligence or reporting. The
                                      banks have these duties, but are too far away
                                      from the business to detect money laundering.”

                                      In 2010, the Swiss business magazine Bilan
                                      published an article naming the Khrapunovs
                                      among the wealthiest families in the country. By
                                      early 2012, however, with Viktor Khrapunov’s
                                      name added to the Interpol Red List, Swiss
                                      authorities began to take tentative steps toward
                                      freezing the family’s assets.

                                      Meanwhile, in the Netherlands — where
                                      Kazakh authorities identified 15 entities that
                                      allegedly bear the hallmarks of Khrapunov
                                      shells — in May 2017, Ilyas Khrapunov’s lawyers
                                      sought an injunction against the broadcaster
                                      Zembla, which was preparing to air a
                                      documentary examining the ties between
                                      kleptocrats and U.S. President Donald Trump.



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                                      “We approached Ilyas Khrapunov, and as soon
                                      as we told him the scope of the research and the
                                      issues we’d like to discuss with him, we got an
                                      email from his PR guy in Geneva,” Sander
                                      Rietveld, an investigative journalist and the
                                      creator of the documentary, The Dubious Friends
                                      of Donald Trump, told The Diplomat. “They
                                      warned us not to cross legal lines, but we were
                                      very transparent with him. We didn’t hear from
                                      them for a couple of weeks, and then days
                                      before the documentary was set to air, we were
                                      served with an injunction. It was Ilyas suing us.

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                                      “His main argument,” Rietveld said, “was that
                                      the research was sloppy and we were accusing
                                      him of money laundering without any grounds.
                                      The judge basically said that the research had
                                      been conducted in the correct manner, so there
                                      was no reason to block the program. It gave the
                                      documentary more publicity; it definitely
                                      backfired on them.

                                      “It’s hard to search for the ultimate beneficial
                                      owners of entities in the Netherlands,” Rietveld
                                      said. “It’s not information that the government
                                      or the Chamber of Commerce provides in a
                                      transparent way. For example, Leila
                                      Khrapunova used to have this Dutch shell
                                      company, Helvetic Capital B.V., which was 50
                                      percent owner of Kazbay B.V. and the other
                                      owner was Bayrock B.V. which was a shell
                                      company of Felix Sater and Tevfik Arif, the
                                      owners of Bayrock in New York.”

                                      From Europe to the White House via
                                      Kazakhstan

                                      It was SDG’s search for partners that led them
                                      across the Atlantic to Trump’s business
                                      partners, connecting the Khrapunovs to the
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                                      inner sanctum of the current U.S.
                                      administration. In 2008, the Bayrock Group
                                      announced that it was partnering with SDG to
                                      convert the Hotel Du Parc in Montreux into
                                      “ultra-luxury” private residences. The chief
                                      operating officer of Bayrock at the time, Felix
                                      Sater, would later become the dominant force
                                      behind the company, whose offices were
                                      situated in Manhattan’s Trump Tower. Paying
                                      the Trump Organization a licence fee for the use
                                      of its name, Bayrock repeatedly partnered with
                                      the Trump Organization in trying to engineer a
                                      deal for a Trump Tower in Moscow. In 2006,
                                      Sater personally showed two of Donald Trump’s
                                      children, Ivanka Trump and Donald Trump Jr.,
                                      around the city, introducing them to movers and
                                      shakers. Daniel Ridloff also worked for Bayrock
                                      before briefly joining the Trump Organization’s
                                      acquisitions and finance arm in 2010. Articles
                                      list him as the vice president of the Swiss
                                      Development Group Investment Fund — a
                                      thinly-veiled SDG offshoot — information which
                                      he has since deleted from his LinkedIn profile.

                                      Bayrock subsequently partnered with the
                                      Trump Organization in a failed project in
                                      Arizona financed by the FL Group of Iceland.
                                      Despite the undertaking going nowhere, Ernest
                                      Mennes, the owner of Camelback Plaza
                                      Development, who had entered into an
                                      arrangement with them, sued Bayrock in 2007,
                                      accusing Sater of threatening to “electrically
                                      shock [his] testicles, cut off [his] legs, and leave
                                      [him] dead in the trunk of his car.” The case was
                                      settled and Mennes barred from making any
                                      further comment.

                                      The son of a Russian syndicate crime boss
                                      linked to Semyon Mogilevich, a long-term
                                      resident of the FBI’s top 10 most wanted list,
                                      Felix Sater served time in the early 1990s for

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                              stabbing a man in the face and neck with the
                              stub of a margarita glass in a bar brawl. Upon
                              his release, he turned to fraud, artificially
                              inflating share prices with false information.
                              Striking a deal to turn informant on the Russian
                              mob, he is also said to have turned evidence on
                              Osama Bin Laden’s network.

                                      After leaving Bayrock in 2008, Sater was
                                      brought into the Trump Organization as a
                                      senior adviser to Donald Trump. “If he was
                                      sitting in the room right now, I really wouldn’t
                                      know what he looked like,” Trump said of Sater
                                      in a Florida court video deposition in 2013.

                                      “Our boy can become President of the USA and
                                      we can engineer it,” Sater enthused in emails to
                                      Trump’s personal lawyer at the time, Michael
                                      Cohen. “I will get all of Putin’s team to buy in on
                                      this… we will get Donald elected.”

                                      Sater allegedly acted as the Khrapunovs’ U.S.
                                      intermediary on $40 million of real estate and
                                      investment deals. Court documents state that he
                                      received SWIFT codes for bank transfers, $5
                                      million of which was transferred from a now
                                      sanctioned Cyprus-based LLC to California-
                                      based Elvira Kudryashova, the Khrapunovs’
                                      daughter, to purchase three condos in Trump
                                      SoHo, a project developed by Bayrock in
                                      partnership with the Trump Organization. The
                                      units were purchased by three shell companies
                                      established in April 2013 and dissolved shortly
                                      after they were sold. Financing to the tune of
                                      $50 million for Trump SoHo and three other
                                      Bayrock projects flowed from the FL Group, an
                                      Icelandic private equity company named in the
                                      Panama Papers with significant ties to dirty
                                      money from the CIS.

                                      The law firm Bracewell and Giuliani was hired
                                      by Bayrock to create offshore companies to

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                              minimize taxes. Now attorney to Donald Trump,
                              former New York Mayor Rudolph Giuliani’s firm
                              had an office in Kazakhstan, with Giuliani
                              raising funds there for his failed 2008
                              presidential bid. It was on the advice of
                              Bracewell and Giuliani regarding tax structures
                              that in 2007, the Khrapunovs together with the
                              Bayrock Group set up KazBay B.V. in the
                              Netherlands.

                                      In 2016, Nicolas Bourg, former director of
                                      Triadou SPV S. A. testified that the Khrapunovs
                                      had ordered him to move money out of the
                                      United States after a California lawsuit was filed
                                      against them. “Triadou is a shell entity for SDG
                                      and has no corporate presence separate from
                                      SDG,” he said in the New York Southern District
                                      Court. “Monthly meetings occurred in Geneva
                                      between myself, Ilyas Khrapunov, Peter Sztyk
                                      (an advisor of Ilyas), and, at times, my longtime
                                      business partner, Laurent Foucher. The agenda
                                      at each meeting was to discuss the investments
                                      of the Ablyazov-Khrapunov family money (i.e.,
                                      not only money invested through SDG or
                                      Triadou.) At these meetings, I frequently
                                      received directions from Ilyas regarding various
                                      business ventures, including Triadou and others
                                      that the Ablyazov-Khrapunov family money was
                                      involved in.”

                                      Bourg went on to testify that the Khrapunovs
                                      commingled funds in their U.S. dealings with
                                      Mukhtar Ablyazov, a kleptocrat and former
                                      energy minister of Kazakhstan. Subject to asset-
                                      freezing orders amounting to $4.9 billion in the
                                      British courts alone, Ablyazov stands accused of
                                      having embezzled up to $10 billion, largely from
                                      BTA, the Kazakh bank he once chaired. Ilyas
                                      Khrapunov is married to Ablyazov’s daughter,
                                      Madina, and court judgments hold him



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                              responsible for a swathe of his father-in-law’s
                              financial affairs.

                                      One of multiple Bayrock projects partly
                                      financed by the FL Group was a Florida
                                      development which ended in ignominy with
                                      condo buyers suing for $7.8 million. Former
                                      Bayrock partner Jody Kriss filed a suit which
                                      named Sater, alleging that Bayrock was
                                      “substantially and covertly mob-owned and
                                      operated.” After eight years in the U.S. courts, in
                                      February 2018 the case was the subject of a
                                      sealed settlement.

                                      “Felix Sater was involved in laundering money
                                      for the Khrapunovs,” James S. Henry, an
                                      investigative reporter, lawyer, and expert on tax
                                      evasion told The Diplomat. “That started roughly
                                      when Viktor Khrapunov left Almaty and fled to
                                      Geneva and continued on probably even as late
                                      as 2015. Sater is up to his eyeballs in financial
                                      chicanery. The fact that they cut him all these
                                      deals,” Henry says “allowed him to move onto a
                                      life of financial fraud and to raise money from
                                      banks and regular investors as well as from
                                      people like the FL Group without letting anyone
                                      know that he was a twice-convicted felon.

                                      “The FL Group had a $2 billion plan that they’d
                                      talked about [with Bayrock]. A lot of this never
                                      got funded, but Bayrock received about $50
                                      million in equity. It’s hard to account for why
                                      they were investing there,” Henry contends. “I
                                      spent a lot of time in Iceland working on the
                                      Panama Papers. The question was, who was the
                                      FL Group and why were they investing in
                                      Bayrock? The FL Group was this private equity
                                      firm with upstream ties to people who had
                                      interests in Russia. The Iceland Central Bank
                                      never really audited the connections, so when
                                      the banks failed in 2008, there was no
                                      information available on who had accounts in
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                              the private banking arms of key banks. There
                              were several of them which had big investments
                              in the FL Group. There was also this strange
                              moment in fall of 2008 when Putin showed up
                              just as Iceland was going into financial crisis
                              and offered a very generous loan to Iceland to
                              bail them out. They actually dispatched a whole
                              team to Moscow to check this out. For about six
                              weeks, they were negotiating an alternative to
                              the IMF. Why was Putin bailing out Iceland?
                              Well, there were some big Russians who had
                              money in the banks and I think we still don’t
                              know much about what their names were.

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                                      “There were stories about Alfabank being an
                                      investor, as well as Alisher Usmanov, whose
                                      wife introduced Putin to his girlfriend. Usmanov
                                      is an oligarch who in September 2008 was on
                                      the verge of getting a huge loan from one of the
                                      Icelandic banks,” Henry says. “It was a very odd
                                      transaction for this oligarch to be getting. I think
                                      in terms of conspiracies, the FL Group is a
                                      smoldering fire that just can’t be put out.
                                      Overall, though, given what’s happened in court
                                      cases in Europe and the U.S., it’s hard to make
                                      any of these jurisdictions look like a winner
                                      when it comes to prosecutions. It’s an example
                                      of how weak the international instruments are
                                      when it comes to tracking down these kinds of
                                      financial crimes.”

                                      As of January 2018, Triadou’s lawyers have
                                      issued a motion to stay with regards to Sater,
                                      indicating that he is now ready to cooperate
                                      with discovery requests. In March 2018, Viktor
                                      and Ilyas lost a New York court case for
                                      violating a confidentiality order. “The court
                                      noted that Ilyas Khrapunov has played games
                                      with the court in the past and cited, as one
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                              example, the fact that the Khrapunovs
                              requested to appear at the evidentiary hearing
                              by phone but later retracted that offer, claiming
                              that it would violate Swiss law to testify at the
                              hearing while residing in Switzerland,” wrote
                              U.S. Magistrate Katharine Parker. The court
                              ordered the Khrapunovs to pay BTA Bank and
                              the City of Almaty’s legal fees, noting that their
                              defense that they had not leaked evidence was
                              “not credible.”

                                      Aristocratic Acquaintances

                                      Meanwhile, in the U.K., a story about how this
                                      all ties to the British aristocracy continues to fly
                                      under the radar. Formed as a private company
                                      in 2010, New World Oil and Gas (NWOG) went
                                      public in 2011 using the exchange unregulated
                                      fund regime, part of Jersey’s race to the bottom
                                      in terms of regulation. The founding director of
                                      NWOG, Ilyas Khrapunov’s advisor Peter Sztyk,
                                      was married to Mukhtar Ablyazov’s alleged
                                      mistress, Bota Jardemalie, at the time of the
                                      company’s incorporation. Jardemalie is wanted
                                      by Kazakhstan for her part in embezzlement
                                      from BTA Bank.

                                      In August 2013, after NWOG had disappointing
                                      drilling results, a company called Niel
                                      Petroleum, whose director and largest
                                      shareholder were the Khrapunovs’ erstwhile
                                      business partners Nicolas Bourg and Laurent
                                      Foucher, offered to buy out NWOG. The driving
                                      force behind numerous dubious projects across
                                      Central Africa, the Niel Group is named as an
                                      “Ablyazov-Khrapunov controlled entity” on
                                      legal documents. Sztyk was eventually forced
                                      off the board of NWOG after being outed as a
                                      money launderer by Bourg in 2016.

                                      Control over the regulation of NWOG on the
                                      London Stock Exchange was delegated to

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                              Beaumont Cornish, meaning that the
                              compliance officer for NWOG, until it was
                              effectively thrown off the stock exchange in late
                              2016, was Felicity Geidt. The sister of the
                              Queen’s former personal secretary, Felicity
                              Geidt has been FCA regulated for a series of
                              oversights since 2001.

                                      Having been first appointed to the royal
                                      household when the Duke of York left the Royal
                                      Navy, Christopher Geidt rose through the
                                      private office to become the Queen’s private
                                      secretary before being ousted in July 2017. This
                                      is the same Duke of York, of course, that
                                      Mukhtar Ablyazov once threatened to call as a
                                      witness in his defense. For his loyal service,
                                      Geidt has since been elevated to the House of
                                      Lords, becoming part of the legislature.

                                      Another piece in this series of opaque
                                      connections saw Robert Hankes appointed to
                                      work as a project manager for NWOG in 2011.
                                      His brother, Sir Claude Hankes — the man
                                      brought in by the Iraqi government to conduct
                                      an investigation into the UN oil-for-food scandal
                                      — is an extremely close friend of the Duke of
                                      Edinburgh. Sir Claude Hankes is the only
                                      honorary fellow and life member of the St.
                                      George’s House Council at the House of
                                      Windsor.

                                      The Wheels of Justice

                                      So, is time running out for the Khrapunovs or
                                      will their connections save them? In the latest
                                      legal episode under British jurisdiction, on
                                      March 21, 2018, the U.K. Supreme Court
                                      dismissed Ilyas’ appeal against a previous ruling
                                      with regards to breaches of freezing orders on
                                      his father-in-law’s assets and contempt of court.
                                      Finding that his actions constituted “the tort of
                                      conspiracy,” the judges also dismissed Ilyas’

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                              argument that the British courts lacked
                              jurisdiction over him.

                                      That Ilyas Khrapunov acted as an accomplice to
                                      Ablyazov’s embezzlement schemes, the ongoing
                                      U.K. lawsuit has left “no grounds for
                                      doubt,” according to a representative of BTA
                                      Bank. “[…T]he Commercial Court of England
                                      and Wales issued a decision obliging Ilyas
                                      Khrapunov to provide all data under a
                                      previously imposed disclosure order…
                                      information about his assets and the assets that
                                      he manages on behalf of Mukhtar Ablyazov, but
                                      he refused to do so,” the representative told The
                                      Diplomat.

                                      Back in Switzerland, Ilyas and his wife hold
                                      diplomatic posts representing the Central
                                      African Republic at the U.N. Mission in Geneva
                                      as a means to travel freely, but the mission,
                                      located in an otherwise residential block on the
                                      outskirts, appears rarely if ever to be staffed. At
                                      3 Mont Blanc, a prestigious property in the city
                                      center, once a key Khrapunov asset, with the
                                      SDG long since having been sold off and in
                                      liquidation as of January 2018, the company’s
                                      plaque has been removed. Similarly, another
                                      shell, Swiss TV S.A., has disappeared from Rue
                                      Philippe-Plantamour.

                                      Henri Della Casa, spokesman at the Public
                                      Prosecutor’s Office of Geneva, would only
                                      confirm that “Proceedings against the
                                      Khrapunovs by the Prosecutor’s Office in
                                      Geneva on suspicion of money laundering are
                                      still ongoing. Due to the investigation, the Public
                                      Ministry will not comment further at this stage.”
                                      At the time of writing, the Federal Office of
                                      Justice in Switzerland had yet to respond to a
                                      request for an update as regards an extradition
                                      request made by Ukraine for Ilyas Khrapunov,
                                      although a source who spoke on condition of
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                              anonymity told The Diplomat it had been
                              “kicked into the long grass.”

                                      For the Kazakh authorities, though, having
                                      failed with this route in the past, it’s no longer
                                      about extradition. “Currently, we’re not
                                      desperately looking to [extradite them],” Perov,
                                      the head of the Kazakh inquiry into the
                                      Khrapunovs, told The Diplomat. “We have solid
                                      proof that they funneled stolen funds abroad,
                                      mainly to Switzerland and then began to
                                      launder it. All the evidence we’ve collected was
                                      transmitted to the Swiss authorities and the City
                                      of Almaty has initiated civil proceedings against
                                      the Khrapunovs in the U.S. We’re ready to pass
                                      our evidence to any country which might decide
                                      to prosecute them.”

                                      The Khrapunovs continue to claim that cases
                                      against them are the result of political
                                      persecution. At the time of going to press,
                                      Khrapunov family lawyers had not responded
                                      to requests for comment.

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                                      Stephen M. Bland is a freelance journalist and
                                      author specializing on Central Asia and the
                                      Caucasus.

                                      TAGS

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                   8
                                                   UNITED STATES DISTRICT COURT
                   9
                                                 CENTRAL DISTRICT OF CALIFORNIA
              10
              11 CITY OF ALMATY, a foreign state,                     Case No. CV14-3650-FMO-CW
              12                             Plaintiff,               Assigned To: Hon. Fernando M.
                                                                      Olguin
              13                v.
                                                                      CONSOLIDATED AMENDED
              14 VIKTOR KHRAPUNOV, an individual;                     COMPLAINT FOR DAMAGES,
                 LEILA KHRAPUNOVA, an individual;                     INJUNCTIVE RELIEF, AND
              15 ILIYAS KHRAPUNOV a/k/a ILYAS                         OTHER EQUITABLE RELIEF
                 KHRAPUNOV, an individual; MADINA                     FOR:
              16 ABLYAZOVA a/k/a MADINA
                 KHRAPUNOVA, an individual; ELVIRA                      1) Violations of RICO (18
              17 KHRAPUNOVA a/k/a/ ELVIRA                                  U.S.C. §§ 1962(c), 1962(d),
                 KUDRYASHOVA a/k/a ELVIRA                                  1964);
              18 BALMADANI, an individual; DMITRY                       2) Breach of Fiduciary Duty;
                 KUDRYASHOV a/k/a DMITRI                                3) Conversion and Conspiracy
              19 KUDRYASHOV, an individual; RPM USA,                       to Commit Conversion;
                 LLC, a New York corporation; RPM-MARO                  4) Fraud and Deceit and
              20 LLC, a New York corporation; MARO                         Conspiracy to Defraud; and
                 DESIGN LLC, a California corporation;                  5) An Accounting, and
              21 HAUTE HUE LLC, a California corporation;                  Imposition of a
                 628 HOLDINGS LLC, a California                            Constructive Trust and
              22 Corporation; CANDIAN INTERNATIONAL                        Equitable Lien.
                 LTD., a British Virgin Islands corporation;
              23 ELVIRA KUDRYASHOVA AS TRUSTEE                        DEMAND FOR JURY TRIAL
                 FOR THE KASAN FAMILY TRUST;
              24 DMITRY KUDRYASHOV AS TRUSTEE
                 FOR THE KASAN FAMILY TRUST;
              25 CROWNWAY LTD, a Belize corporation;
                 VILDER COMPANY S.A., a Panama
              26 corporation; WORLD HEALTH
                 NETWORKS, INC. f/k/a HEALTH
              27 STATION NETWORKS INC., a Delaware
                 corporation, and DOES 1 through 10,
              28
                                 Consolidated Defendants.
                       US-DOCS\91976251.11                              CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES
                                                                           FOR DAMAGES, INJUNCTIVE RELIEF
                                                                              AND OTHER EQUITABLE RELIEF
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                   1            Plaintiff the City of Almaty (“Almaty”) hereby alleges the following claims
                   2 for relief against defendants Viktor Khrapunov (“Viktor”), Leila Khrapunova
                   3 (“Leila”), Iliyas Khrapunov a/k/a Ilyas Khrapunov (“Iliyas”), Madina Ablyazova
                   4 a/k/a Madina Khrapunova (“Madina”), Elvira Khrapunova a/k/a Elvira
                   5 Kudryashova a/k/a Elvira Balmadani (“Elvira”), Dmitry Kudryashov a/k/a Dmitri
                   6 Kudryashov (“Dmitry”), RPM USA, LLC (“RPM USA”), RPM-Maro LLC
                   7 (“RPM-Maro”), Maro Design LLC (“Maro Design”), Haute Hue LLC (“Haute
                   8 Hue”), 628 Holdings LLC (“628 Holdings”), Candian International Ltd.
                   9 (“Candian”), Elvira Kudryashova as Trustee of The Kasan Family Trust, Dmitry
              10 Kudryashov as Trustee of The Kasan Family Trust, Crownway Ltd.
              11 (“Crownway”), Vilder Company S.A. (“Vilder”), and World Health Networks, Inc.
              12 f/k/a Health Station Networks Inc. (“World Health Networks”), and Does 1
              13 through 10 (collectively, “Defendants”).
              14 I.             NATURE OF THE ACTION
              15                1.       This is an action on behalf of the City of Almaty, the largest city in
              16 the Republic of Kazakhstan, to recover funds that were stolen by its corrupt former
              17 mayor, Viktor, and his co-conspirators – his wife Leila, their children Iliyas and
              18 Elvira, and their children’s spouses Madina and Dmitry (collectively, the
              19 “Individual Defendants”). The Individual Defendants employed a scheme that
              20 involved two related objectives: (a) first to steal money from Almaty; and then (b)
              21 to transfer, launder, and hide that stolen money in the United States where they
              22 believed it would be out of reach of Kazakh and other governmental authorities
              23 (the “Khrapunov Racketeering Enterprise”).
              24                2.       From 1997 to 2004, Viktor, Leila, Iliyas, Elvira, and their co-
              25 conspirators systematically stole money from Almaty through Viktor’s corrupt use
              26 of his political power and a series of fraudulent real estate transactions that allowed
              27 the Khrapunovs to convert public assets to their personal use. In 2007, fearing
              28 discovery of their fraud, Viktor and Leila fled to Switzerland, where Iliyas and
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  LOS ANGELES                                                          1            FOR DAMAGES, INJUNCTIVE RELIEF
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                   1 Elvira resided at the time, and attempted to launder and hide the stolen money in
                   2 Switzerland. The Kazakh authorities continued to investigate Viktor, Leila, Iliyas,
                   3 and Elvira, and sought the assistance of the Swiss authorities. In May 2011, the
                   4 Kazakh authorities began bringing formal criminal charges against Viktor, Leila,
                   5 and Elvira, and in mid-2012 the Swiss authorities initiated an investigation of
                   6 Viktor and Leila on suspicion of money laundering. In November 2012, the Swiss
                   7 authorities began freezing assets in Switzerland belonging to Viktor, Leila, Iliyas,
                   8 and Elvira.
                   9            3.       In or around 2010, understanding that they risked losing the proceeds
              10 of their fraudulent scheme if they kept the stolen money in Switzerland, the
              11 Individual Defendants and their co-conspirators engaged in racketeering activity to
              12 launder and hide the stolen money in and through the United States using various
              13 sham companies and disguised entities in the United States. Upon information and
              14 belief, the Individual Defendants and their co-conspirators selected the United
              15 States to launder the stolen proceeds because they believed it was beyond the reach
              16 of the Kazakh authorities. At that time, the United States did not have a mutual
              17 legal assistance treaty or extradition treaty with Kazakhstan.
              18                4.       The Individual Defendants and their co-conspirators engaged in
              19 racketeering activities in the United States by engaging in money laundering with
              20 stolen funds in violation of 18 U.S.C. § 1956; transacting in property derived from
              21 unlawful activity in violation of 18 U.S.C. § 1957; transporting stolen property in
              22 violation of 18 U.S.C. § 2314; mail fraud in violation of 18 U.S.C. § 1341; and
              23 wire fraud in violation of 18 U.S.C. §1343. They orchestrated these racketeering
              24 activities by using the stolen funds to acquire property, including property in the
              25 Central District of California, and then engaging in business transactions in the
              26 names of Iliyas, Madina, Elvira, Dmitry, and/or sham companies and disguised
              27 entities, in order to hide the true identity of the source of the stolen funds and to
              28 avoid detection by Kazakh, Swiss, and U.S. authorities. These activities in the
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                   1 United States were critical to the success of the criminal enterprise because without
                   2 a perceived safe haven for the stolen funds, the Individual Defendants and their co-
                   3 conspirators would not have been able to use Almaty’s stolen funds for their
                   4 personal benefit. Moreover, the Individual Defendants targeted their activity in the
                   5 United States with the mistaken belief that they could launder funds in the United
                   6 States without risk of detection, prosecution, or consequences.
                   7            5.       The Individual Defendants and their co-conspirators violated United
                   8 States law in order to achieve their end goal of securing and using their stolen
                   9 proceeds. It was a two part scheme: (1) steal (the Kazakh equivalent of) hundreds
              10 of millions of dollars from the city of Almaty, and (2) avoid detection and/or
              11 seizure of the stolen proceeds by using banks, sham entities, real estate
              12 transactions, and the acquisition of other assets in the United States to hide and
              13 “clean” the stolen funds with the ultimate goal of being able to lead a lavish
              14 lifestyle in the United States and elsewhere. In short, the Individual Defendants
              15 and their co-conspirators undertook to use, and continue to use, the United States
              16 as a safe haven for international money laundering.
              17                6.       As set forth herein, Almaty seeks: (a) to hold Defendants, including
              18 the Individual Defendants and their co-conspirators, liable for their laundering and
              19 transportation of stolen funds to and within the United States; (b) the return of the
              20 money stolen from Almaty and its people, or the return of substitute assets located
              21 in the United States acquired with funds stolen from Almaty and its people; (c)
              22 injunctive relief to prevent the Individual Defendants and their co-conspirators
              23 from engaging in any further laundering or other transactions in the United States
              24 in violation of federal law involving the proceeds of the looting scheme; (d)
              25 imposition of a constructive trust over all monies and other assets located within
              26 the United States that are traceable, either directly or indirectly, to Viktor and his
              27 co-conspirators’ systematic looting of Almaty’s funds; and (e) treble and punitive
              28
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                   1 damages for Defendants’ myriad violations of the federal anti-racketeering statute,
                   2 as well as state and federal common law.
                   3 II.        THE PARTIES
                   4            7.       Plaintiff Almaty is a foreign state within the meaning of 28 U.S.C. §
                   5 1332(a)(4). Until 1997, Almaty was the capital of Kazakhstan, which is a
                   6 sovereign state recognized by the Government of the United States of America.
                   7 Almaty remains a major commercial and cultural center of Kazakhstan and is the
                   8 largest city in Kazakhstan by population. Almaty has standing to bring this
                   9 Complaint and sues: (a) in its own right, as the victim of Defendants’ unlawful
              10 schemes, conspiracies, and acts of racketeering; and (b) in a parens patriae
              11 capacity as the representative of the city and its people, who were the ultimate
              12 victims of Defendants’ conspiracies, fraudulent schemes, and acts of racketeering
              13 and who are the rightful owners of funds and assets unlawfully held by the
              14 Defendants and their co-conspirators in the United States.
              15                8.       Defendant Viktor was the mayor of Almaty from approximately June
              16 16, 1997 until approximately December 2004. In 2004, Viktor was nominated for
              17 the position of governor of the Pavlodar province in northeast Kazakhstan, a
              18 position he held until 2007, at which time he was appointed Minister of Emergency
              19 Measures. In late 2007, Viktor announced his retreat from all public functions and
              20 his retirement, ostensibly for health reasons.
              21                9.       Upon information and belief, in or about 1998, Viktor married
              22 Defendant Leila. Viktor and Leila are citizens of the Republic of Kazakhstan and,
              23 upon information and belief, currently reside in Switzerland.
              24                10.      Upon information and belief, Defendants Iliyas and Elvira are the son
              25 and daughter, respectively, of Leila, and stepson and stepdaughter, respectively, of
              26 Viktor.
              27                11.      Upon information and belief, Iliyas is married to Defendant Madina,
              28 while Elvira is married to Defendant Dmitry. Upon information and belief, Iliyas
                       US-DOCS\91976251.11                                     CONSOLIDATED AMENDED COMPLAINT
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  LOS ANGELES                                                         4           FOR DAMAGES, INJUNCTIVE RELIEF
                                                                                     AND OTHER EQUITABLE RELIEF
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                   1 and Madina are citizens of the Republic of Kazakhstan and currently reside in
                   2 Switzerland. Upon information and belief, Elvira is a citizen of the Republic of
                   3 Kazakhstan and of Switzerland, and currently resides in Irvine, California. Upon
                   4 information and belief, Dmitry is a citizen of the Russian Federation and currently
                   5 resides with Elvira in Irvine, California.
                   6            12.      Upon information and belief, Defendants Maro Design LLC, Haute
                   7 Hue LLC, and 628 Holdings LLC are corporations organized and existing under
                   8 the laws of the State of California. Upon information and belief, Defendants RPM
                   9 USA LLC and RPM-Maro LLC are corporations organized and existing under the
              10 laws of the State of New York. Upon information and belief, World Health
              11 Networks, formally known as Health Station Networks Inc. (“HSNI”), is a
              12 corporation organized and existing under the laws of the State of Delaware. Upon
              13 information and belief, Defendant Candian is an offshore corporation organized
              14 under the laws of the British Virgin Islands. Upon information and belief,
              15 Crownway is an offshore corporation organized under the laws of Belize. Upon
              16 information and belief, Vilder is an offshore company organized under the laws of
              17 Panama. Upon information and belief, Defendants Elvira Kudryashova as Trustee
              18 of The Kasan Family Trust and Dmitry Kudryashov as Trustee of The Kasan
              19 Family Trust have beneficial ownership and control over a property used by Iliyas
              20 and/or Elvira in furtherance of the racketeering scheme described below.
              21                13.      Upon information and belief, Maro Design, Haute Hue, 628 Holdings,
              22 RPM USA, RPM-Maro, World Health Networks, Candian, Crownway, Vilder, and
              23 The Kasan Family Trust (collectively, the “Entity Defendants”) all are or were at
              24 the relevant time owned or controlled by Iliyas, Elvira, and/or Dmitry and were
              25 misused by them and the other Individual Defendants in order to carry out the
              26 racketeering scheme described below.
              27                14.      Almaty is ignorant of the true names of defendants Does 1 through 10
              28 (the “Doe Defendants”), inclusive, and therefore sues those defendants by such
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                   1 fictitious names. Almaty is informed and believes, and on that basis alleges, that
                   2 the Doe Defendants, inclusive, are responsible for the acts alleged in this
                   3 Complaint. When the true names of such fictitious defendants are ascertained,
                   4 Almaty will seek leave of this Court to amend this Complaint to name those
                   5 individuals or entities.
                   6            15.      Almaty is informed and believes, and thereon alleges, that the
                   7 Defendants were at all times relevant herein the agents, servants, and/or employees
                   8 of the Individual Defendants, and each of them, and in performing the deeds herein
                   9 alleged, were acting at least in part within the course and scope of their authority as
              10 such agents, servants, and/or employees of Defendants and each of them.
              11 III.           JURISDICTION AND VENUE
              12                16.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331(a)
              13 and 18 U.S.C. § 1964(c) over the First and Second Claims for Relief of this
              14 Complaint for violation of the federal Racketeer Influenced and Corrupt
              15 Organizations Act (“RICO”), 18 U.S.C. §§ 1961 et seq. and for conspiracy to
              16 violate RICO. The Third through Seventh Claims for Relief allege violations of
              17 state law and of federal common law. This Court has pendent jurisdiction over
              18 such claims pursuant to 28 U.S.C. § 1367(a) because those claims are joined with
              19 substantially related claims under RICO and because those claims are so related to
              20 the RICO claims in the action that they form part of the same case or controversy
              21 under Article III of the United States Constitution and arise from a common
              22 nucleus of operative facts.
              23                17.      Venue is proper in this District and before this Court pursuant to 28
              24 U.S.C. § 1391(b)(2) because events giving rise to Almaty’s claims occurred in this
              25 District, including, among other things, Defendants’ purchase, in violation of U.S.
              26 law, of real estate and other assets located in Beverly Hills, Studio City, and
              27 Orange County, California.
              28
                       US-DOCS\91976251.11                                      CONSOLIDATED AMENDED COMPLAINT
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  LOS ANGELES                                                         6            FOR DAMAGES, INJUNCTIVE RELIEF
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                   1            18.      This Court has personal jurisdiction over Defendants because each of
                   2 them knowingly committed acts that form the basis of this Complaint in this
                   3 District, directed or conspired with others to commit acts in this District, or
                   4 purposely availed themselves of the privileges of doing business in this District, as
                   5 fully set forth herein.
                   6 IV.        FACTUAL ALLEGATIONS
                   7            A.       Overview of the Khrapunov Racketeering Enterprise and
                                         Conspiracy
                   8
                   9            19.      In 1991, Kazakhstan declared its independence from the former Soviet
              10 Union and initiated the process of becoming a free society. Rather than assist their
              11 country in embracing this move toward freedom, Viktor and his co-conspirators
              12 exploited Viktor’s position of trust and authority to steal hundreds of millions of
              13 dollars from the people of Almaty and laundered, hid, and spent this money in the
              14 United States.
              15       20. The Khrapunov Racketeering Enterprise is comprised of two
              16 interrelated parts. First, the Individual Defendants conspired together to have
              17 Viktor abuse his position as mayor of Almaty to convert and steal state-owned
              18 assets cumulatively valued at over $300 million. Second, the Individual
              19 Defendants conspired to transport and to launder those stolen assets out of
              20 Kazakhstan and into the United States, among other places, in order to escape the
              21 reach of the authorities and to attempt to prevent Almaty from recovering monies
              22 that rightfully belong to it. The transporting and laundering of the stolen assets to
              23 the United States was essential to the success of the enterprise because it enabled
              24 the Individual Defendants and their co-conspirators to use the stolen assets for their
              25 own personal benefit.
              26                21.      Viktor became mayor of Almaty on or about June 16, 1997, and
              27 remained in that position until approximately December 2004. Before Viktor
              28 assumed the office of the mayor of Almaty, he took an oath of office to strictly
                       US-DOCS\91976251.11                                    CONSOLIDATED AMENDED COMPLAINT
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                                                                                    AND OTHER EQUITABLE RELIEF
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                   1 obey the Constitution and laws of the Republic of Kazakhstan. Among other
                   2 things, Viktor expressly and impliedly promised and represented that he would
                   3 fulfill his fiduciary duties to the people of Almaty, would honor his obligation to
                   4 provide honest services, and would not convert money, property, or assets
                   5 belonging to Almaty for his own use or that of his family, friends, or associates.
                   6            22.      In fact, over the span of more than six years, Viktor repeatedly and
                   7 systematically violated those promises and abused his position of power and
                   8 authority to steal millions of dollars of real property and assets from the city and
                   9 people of Almaty and to launder and conceal that money in the United States and
              10 elsewhere in the hopes of escaping prosecution and seizure of funds that rightfully
              11 belong to the Almaty. Aided and abetted by his wife, children, associates,
              12 accomplices, and other co-conspirators, Viktor plundered the city’s wealth and
              13 industry to enrich himself, his family, and his co-conspirators at the expense of
              14 Almaty and its people, and the Individual Defendants and their co-conspirators
              15 now seek to conceal and enjoy their ill-gotten gains in the United States.
              16                23.      Defendants and their co-conspirators carried out the scheme through
              17 various means, including: (a) secretly acquiring property owned by Almaty
              18 through fictitious sham entities for a fraction of what the property was worth, then
              19 selling the property for tens of millions of dollars in illicit profits; (b) acquiring
              20 property without payment through sham transactions; and (c) secretly acquiring
              21 property at a discount then using Viktor’s position of power to take illegal
              22 government action that vastly increased the value of the property solely to benefit
              23 Viktor and his co-conspirators.
              24                24.      As mayor, Viktor was entrusted with the right to cause state-owned
              25 real estate to be sold to private parties at auction pursuant to established legal
              26 procedures, the right to cause privately-owned real estate to be taken for purported
              27 state use, and the right to control who could do business in Almaty through the
              28 granting of licenses, concessions, and permits. As mayor, Viktor did not have the
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                   1 authority to take these actions solely for his personal benefit or for the personal
                   2 benefit of his family members.
                   3            25.      In his capacity as mayor of Almaty, Viktor caused certain state-owned
                   4 real estate parcels to be made available for auction, ostensibly to generate revenue
                   5 for Almaty or to allow for the privatization of government assets. However, in
                   6 violation of Kazakh law and his duty to the people of Almaty, Viktor – aided and
                   7 abetted by others involved in the Khrapunov Racketeering Enterprise – corrupted
                   8 those auctions by: (a) improperly influencing and directing the actions of the
                   9 individuals responsible for administering the auctions; and (b) improperly causing
              10 confidential bid information to be disclosed to entities controlled by his co-
              11 conspirator Leila, which allowed these entities to adjust their bids in order to win
              12 the auction.
              13                26.      Through these corrupt activities, Viktor and Leila succeeded in
              14 purchasing real estate and other assets put up for auction by Almaty, often at
              15 artificially suppressed prices. In some instances, Viktor thereafter caused
              16 development permits to be issued in connection with the purchased sites, vastly
              17 increasing the market value of the real estate, which Viktor, Leila, and/or their co-
              18 conspirators then re-sold at a significant profit. In other instances, entities
              19 controlled by Leila simply ignored restrictions placed on parcels sold at auction in
              20 order to resell the parcels at a significant profit. In addition, in some instances,
              21 entities controlled directly or indirectly by Viktor and Leila simply failed to pay for
              22 the assets they acquired and subsequently re-sold them.
              23                27.      Viktor thus conspired with the other Individual Defendants and their
              24 co-conspirators to use his position of power and authority to convert and cause to
              25 be converted to his use and that of his family, friends and associates money, funds
              26 and property rightfully belonging to Almaty and its people.
              27                28.      After wrongfully appropriating assets belonging to the people of
              28 Almaty, Viktor, Leila, Elvira, and Iliyas, along with their families, friends,
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                   1 associates, and accomplices in the Khrapunov Racketeering Enterprise, devised
                   2 and executed schemes to systematically and secretly transfer their ill-gotten gains
                   3 out of Kazakhstan to escape the reach of the authorities and to prevent the seizure
                   4 and return of monies to Almaty. To that end, the Individual Defendants and their
                   5 co-conspirators ultimately transferred millions of dollars of Almaty’s stolen funds
                   6 into the United States in violation of U.S. law through accounts, sham companies,
                   7 and disguised entities owned or ultimately controlled by Elvira, Dmitry, Iliyas,
                   8 and/or Madina.
                   9            29.      The Individual Defendants and their co-conspirators first transferred
              10 Almaty’s funds to Switzerland, where Iliyas and Elvira were residing, and
              11 elsewhere using accounts and sham entities owned or ultimately controlled by
              12 Leila, Iliyas, Elvira, and/or their co-conspirators. Leila, Iliyas, and Elvira
              13 laundered hundreds of millions of dollars through various offshore holding
              14 companies with the goal of making the funds appear legitimate.
              15                30.      In an effort to further obscure the funneling of the stolen funds
              16 through sham entities and bank accounts based in Switzerland, Cyprus, and
              17 elsewhere, the Khrapunovs partnered with Madina’s father (Iliyas’ father-in-law)
              18 Mukhtar Ablyazov (“Ablyazov”). Ablyazov served as the Chairman of BTA bank,
              19 a Kazakh bank headquartered in Almaty, from 2005 to 2009. During his tenure,
              20 Ablyazov stole over $6 billion from BTA Bank through fraudulent loan schemes—
              21 for example, Ablyazov would issue enormous loans to valueless entities
              22 (ultimately owned by Ablyazov), which would then be obscured by transfers
              23 among different shell corporations and never repaid. BTA bank obtained a
              24 worldwide freezing order and a $4 billion dollar judgment in the United Kingdom
              25 against Ablyazov in 2012. Upon information and belief, the Khrapunovs
              26 comingled certain of their stolen assets with Ablyazov’s, and then Iliyas hid these
              27 funds in sham investments and entities through which he would move hundreds of
              28 millions of dollars in illicit proceeds for both families.
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ATTORNEYS AT LAW
  LOS ANGELES                                                         10           FOR DAMAGES, INJUNCTIVE RELIEF
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                   1            31.      In or around 2010, Leila, Iliyas, and Elvira began transferring portions
                   2 of the stolen funds out of bank accounts in Switzerland and Cyprus, through
                   3 various offshore holding companies, and ultimately into the United States in
                   4 violation of U.S. law via accounts and entities owned or ultimately controlled by
                   5 Elvira, Dmitry, Iliyas, and/or Madina. The Individual Defendants used an intricate
                   6 web of individuals and offshore holding companies to transfer the funds stolen
                   7 from Almaty into the United States, and caused further harm to Almaty by making
                   8 it significantly more difficult and costly for Almaty to trace and recover its funds
                   9 in the United States.
              10                32.      Iliyas, Madina, Elvira, and Dmitry conspired with the other Individual
              11 Defendants to use Almaty’s stolen funds in the United States to purchase real
              12 estate and other assets in California and New York, to fund U.S. holding
              13 companies owned or controlled by Leila, Iliyas, Madina, Elvira, and/or Dmitry,
              14 and to invest in United States businesses. Each new purchase and business
              15 investment Defendants made in the United States using Almaty’s money harmed
              16 Almaty in the United States by impeding Almaty’s attempts in the United States to
              17 trace and recover the stolen funds.
              18                33.      Upon information and belief, the Individual Defendants and their co-
              19 conspirators increased their efforts to transfer Almaty’s funds to and within the
              20 United States following the initiation of investigation of Viktor and Leila by Swiss
              21 authorities in mid-2012, which led to the Swiss authorities freezing Swiss bank
              22 accounts held by the Individual Defendants and their co-conspirators in November
              23 2012.
              24                34.      For years, Viktor and Leila took numerous steps to conceal their
              25 looting from Almaty and the Kazakh authorities. Among other things, Viktor and
              26 Leila each filed false annual tax returns with the Tax Committee of the Ministry of
              27 Finance of Kazakhstan, Kazakhstan’s taxation authority, which concealed the
              28 millions of dollars in monies, properties, and assets acquired through the
                       US-DOCS\91976251.11                                      CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                         11           FOR DAMAGES, INJUNCTIVE RELIEF
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                   1 Khrapunov Racketeering Enterprise. According to their 2007 tax returns, which
                   2 required Viktor and Leila to list their entire net worth accumulated through all
                   3 sources as of December 31, 2007, Viktor and Leila reported a combined net worth
                   4 of approximately $113,298 (13,671,665 ₸), in addition to three vehicles, five
                   5 modest pieces of real estate, and two parking stalls.
                   6            35.      Despite claiming to have a total net worth of less than $120,000,
                   7 Viktor and Leila amassed a fortune that reportedly exceeds $300 million by
                   8 systematically looting and plundering assets belonging to the people of Almaty.
                   9 Indeed, according to public news reports, in 2009 Viktor was one of the richest
              10 people in Switzerland with a fortune of over $300 million. Similarly, in 2012
              11 Viktor was among Switzerland’s 300 richest people with a fortune of
              12 approximately $324 – $432 million (300 – 400 million Swiss francs).
              13                B.       Pending Investigations: The Kazakh and Swiss Authorities Are
              14                         Proceeding Against the Individual Defendants and Their Co-
                                         Conspirators for Crimes Committed in Those Countries
              15
              16                36.      In approximately late 2007, Viktor became aware that the Kazakh
              17 government had begun investigating him and his family, friends, and associates for
              18 criminal violations. On or about November 9, 2007, Viktor and Leila fled
              19 Kazakhstan via private jet to Switzerland, where Iliyas and Elvira resided at the
              20 time.
              21                37.      On or about May 27, 2011, the Investigation Department of the
              22 Agency for Economic and Corruption-Related Crimes of Kazakhstan (the
              23 “Financial Police”) filed two criminal cases against Viktor on suspicion of abuse of
              24 power and fraudulent acts. On or about July 21, 2011, the Financial Police
              25 obtained a court-ordered arrest warrant for Viktor. In 2011 and 2012, additional
              26 charges were brought in Kazakhstan against Viktor, Leila, Iliyas, and Elvira
              27 stemming from the theft of public property and the ultimate laundering of funds.
              28
                       US-DOCS\91976251.11                                     CONSOLIDATED AMENDED COMPLAINT
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                   1            38.      On or about February 20, 2012 and September 14, 2012, the Financial
                   2 Police applied to the Federal Office of Justice in Switzerland for legal assistance in
                   3 connection with the effort to prosecute Viktor, Leila, Iliyas, and Elvira for their
                   4 crimes in Switzerland and Kazakhstan against Almaty and its people. In or about
                   5 mid-2012, the Public Prosecutor of Geneva opened an investigation into Viktor,
                   6 Leila, Iliyas, and Elvira on suspicion of money laundering in violation of Swiss
                   7 law. In or about November 2012, the Public Prosecutor of Geneva ordered Swiss
                   8 accounts and assets belonging to Viktor, Leila, Iliyas, and Elvira frozen, including
                   9 accounts held at Swiss banks Sarasin & Co. Ltd., Credit Suisse, and Schroeder &
              10 Co. The investigation by the Swiss authorities is ongoing. The various Swiss
              11 investigations contributed to the Individual Defendants’ attempts to direct their
              12 money laundering activities to the United States.
              13                39.      There currently are 24 criminal cases pending against Viktor in
              14 Kazakhstan for embezzlement, fraud, money laundering, establishing and directing
              15 an organized criminal group for criminal purposes, abuse of power, and bribery.
              16 There currently are five criminal cases pending against Leila in Kazakhstan for
              17 money laundering and establishing and directing an organized criminal group for
              18 criminal purposes. There also currently is a criminal case pending against Elvira in
              19 Kazakhstan for money laundering.
              20                C.       The Theft of Property: The Individual Defendants and Their Co-
              21                         Conspirators Unlawfully Converted Almaty’s Property and Sold
                                         it to Third Parties at an Enormous Profit
              22
              23                40.      Over the life of the Khrapunov Racketeering Enterprise, the
              24 Defendants and their co-conspirators carried out multiple acts all directed at the
              25 same goal: to convert property rightfully belonging to the people of Almaty, sell it
              26 for a profit, then launder the proceeds out of Kazakhstan in order to escape the
              27 reach of the authorities and get away with their crimes. As a result, Viktor, Leila,
              28 Iliyas, Elvira, and their co-conspirators stole hundreds of millions of dollars from
                       US-DOCS\91976251.11                                     CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                        13           FOR DAMAGES, INJUNCTIVE RELIEF
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                   1 Almaty and laundered these stolen funds into and within the United States in
                   2 violation of U.S. law.
                   3            41.      Five examples of Defendants’ illegal acquisition of property from
                   4 Almaty are set forth below. Through the five transactions detailed below, Viktor,
                   5 Leila, Iliyas, Elvira, their family and their co-conspirators generated millions in
                   6 illicit profits resulting from the illegal conversion and re-sale of several pieces of
                   7 property. In total, the Khrapunov Racketeering Enterprise is believed to have
                   8 illegally acquired over 80 pieces of real estate, valued at approximately $300
                   9 million, from Almaty and its people. They have sought to further their wrongdoing
              10 by hiding stolen funds in the United States.
              11                Fraudulent Transaction Example 1
              12                42.      In or about 2000, Viktor abused his position as Mayor of Almaty to
              13 cause a large tract of state-owned land near two rivers in Almaty located at 232
              14 Gornaya Street (the “Gornaya Property”) to be transferred to Leila for a total price
              15 of approximately $689,000 (101,886,477 ₸). The transfer was accomplished via a
              16 series of fraudulent transactions and front companies controlled by Leila and
              17 Iliyas. Through several more transfers designed to conceal the illegal conduct,
              18 Leila and Iliyas ultimately sold the Gornaya Property for a total of $15.57 million,
              19 yielding nearly $15 million in illicit profit as a result of this single transaction.
              20                43.      To carry out the illegal conversion of the Gornaya Property, Viktor,
              21 Leila, and Iliyas utilized at least six Kazakhstan entities controlled by Leila and
              22 Iliyas, including: (a) Almaty-Demalys; (b) Viled Establishment; (c) KazRealIncom
              23 LLP (“KRI”); (d) Karasha Plus LLP (“Karasha”); (e) Building Services Company
              24 (“BSC”); and (f) Asia Holding Development LLP (“Asia Holding”).
              25                44.      In 2000, Viktor unlawfully ordered the Gornaya Property to be
              26 transferred to Almaty-Demalys, an entity ultimately controlled by Leila. Almaty-
              27 Demalys purchased the Gornaya Property on or about November 20, 2001.
              28
                       US-DOCS\91976251.11                                     CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
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                   1            45.      Viktor’s transfer of the Gornaya Property violated the Land Code of
                   2 the Republic of Kazakhstan, which requires that public property be sold via
                   3 auction. Viktor’s transfer also violated the Water Code, which mandates that land
                   4 in water conservation zones may only be provided to private individuals and
                   5 entities for temporary use. The fraudulent transfer did not involve an auction nor
                   6 was the property provided for temporary use only.
                   7            46.      On or about August 29, 2003, Leila caused Almaty-Demalys to
                   8 transfer two small portions of land from the Gornaya Property directly to Leila.
                   9 Upon information and belief, although Leila purported to purchase these plots for
              10 approximately $72,000 (10,660,352 ₸), Leila never transferred money to Almaty-
              11 Demalys for these purchases.
              12                47.          On or about September 30, 2003, Leila caused Almaty-Demalys to
              13 transfer a separate, large portion of land from the Gornaya Property to Karasha, an
              14 entity ultimately controlled by Leila. Upon information and belief, Karasha
              15 purported to purchase the land for $613,000 (91,226,125 ₸). Karasha never paid
              16 for this purchase.
              17                48.      Days later, on or about October 3, 2003, Leila caused Karasha to
              18 transfer the land plot directly to Leila. Upon information and belief, Leila
              19 similarly never paid for the acquisition of this property.
              20                49.      On or about October 6, 2003, Leila contributed the same portion of
              21 the Gornaya Property to BSC, of which she was the sole owner. Ten days later,
              22 Leila sold her interest in BSC to a third party in a transaction that valued that
              23 portion of the Gornaya Property at approximately $8 million (1,179,999,980 ₸).
              24                50.      Leila transferred the proceeds to Elvira’s bank accounts in
              25 Switzerland, including Deutsch Bank and American Express Ltd. NY, and Viled
              26 Establishment’s bank accounts in Liechtenstein.
              27                51.          Leila caused the smaller portions of the Gornaya Property to be
              28 conveyed directly to Iliyas. Iliyas, in turn, contributed it to Asia Holding, and then
                       US-DOCS\91976251.11                                        CONSOLIDATED AMENDED COMPLAINT
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                   1 sold Asia Holding to a separate unrelated third party for approximately $7.57
                   2 million. Of the $7.57 million, Iliyas transferred approximately $2.21 million to
                   3 Elvira’s Swiss bank accounts, including accounts at Sarasin & Co. Ltd., Credit
                   4 Suisse, and Schroeder & Co., and retained the remainder for himself.
                   5            52.      Thus, Leila paid approximately $689,000 for the Gornaya Property,
                   6 which she and Iliyas later re-sold for a total of $15.57 million.
                   7            Fraudulent Transaction Example 2
                   8            53.      On or about April 16, 2001, Viktor used his position as mayor to
                   9 cause public land and a building in Almaty known as Kindergarten No. 186 to be
              10 auctioned and ultimately sold to Leila’s company, KRI, for approximately
              11 $347,000 (52,155,100 ₸). Viktor did so by manipulating a public auction, through
              12 members of the Territorial Committee and Investment Tender Committee, to
              13 ensure that KRI won the auction.
              14                54.      Under the laws of Kazakhstan, potential buyers of state-owned
              15 property are obligated to state how they intend to invest in and develop the
              16 property. In an attempt to make KRI’s bid appear legitimate and to ensure KRI
              17 won the bid, Leila caused KRI to fraudulently represent that KRI would invest
              18 more money than its competitors (based off inside information about the
              19 competitors’ bids) in Kindergarten No. 186 to build a health center for the benefit
              20 of the people of Almaty. That representation was false at the time it was made
              21 and, in fact, KRI never intended to and never did build any such health center.
              22                55.      Instead, on or about September 30, 2003, Leila caused KRI to sell
              23 Kindergarten No. 186 to Karasha and, three days later, Leila caused Karasha to sell
              24 Kindergarten No. 186 directly to her. The investment promise KRI used to win the
              25 bid was not passed on to Karasha or Leila in the subsequent purchase agreements.
              26 On or about October 6, 2003, Leila contributed Kindergarten No. 186 to BSC,
              27 which she then sold to an unrelated third party ten days later in a transaction that
              28 valued Kindergarten No. 186 at approximately $4.1 million (611,445,206 ₸). Leila
                       US-DOCS\91976251.11                                     CONSOLIDATED AMENDED COMPLAINT
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                   1 and Viktor thus obtained illegal profit of over $3.7 million as a result of their illicit
                   2 acquisition and re-sale of Kindergarten No. 186.
                   3            Fraudulent Transaction Example 3
                   4            56.      In addition to manufacturing the sale of state-owned assets to Leila
                   5 and other family members and co-conspirators, Viktor also abused his authority as
                   6 mayor to seize privately-owned land and transfer it to Leila and others for re-sale.
                   7            57.      On or about April 3, 2001, Viktor caused Almaty to seize land owned
                   8 by certain private unrelated individuals. On or about August 25, 2003, Viktor
                   9 caused Almaty to seize land owned by a private third party, Shadid Engineering
              10 LLP. On or about September 16, 2003, Viktor caused Almaty to seize land owned
              11 by various private entities, including Kazkommertsbank, Arman Garage, Bulat
              12 Enterprise, and Argymak LLP.
              13                58.      On or about September 23, 2003, Viktor combined all properties with
              14 an additional property into a single plot (the “Seized Property”) and caused the
              15 Seized Property to be sold to Leila’s company Karasha for approximately
              16 $105,000 (15,637,100 ₸). Leila then caused Karasha to sell the Seized Property
              17 directly to her on or about October 4, 2003. Two days later, Leila contributed the
              18 Seized Property to BSC, and sold BSC to an unrelated third party in a transaction
              19 that valued the Seized Property at approximately $2 million. As a result, Leila
              20 obtained nearly $1.9 million in illicit profit at the expense of Almaty and its
              21 people.
              22                Fraudulent Transaction Example 4
              23                59.      In or about November 2004, Viktor caused Almaty to sell two plots of
              24 land to two additional Kazakh companies owned and controlled by Leila,
              25 Ademytau-KMK LLP and Viktoriya-KMK LLP (the plot transferred to Ademytau-
              26 KMK LLP, the “Ademytau Property,” and the plot transferred to Viktoriya-KMK
              27 LLP, the “Viktoriya Property”). Both plots were located in a water conservation
              28 zone and, therefore, under Kazakh law (Part 1 of Article 119 of the Water Code of
                       US-DOCS\91976251.11                                      CONSOLIDATED AMENDED COMPLAINT
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                   1 the Republic of Kazakhstan), could be provided to private persons or entities only
                   2 for temporary use. Nevertheless, in violation of the law and his obligations as
                   3 mayor of Almaty, Viktor caused both the Ademytau Property and the Viktoriya
                   4 Property to be sold to Leila’s companies for 16,640,900 ₸ and 2,229,200 ₸,
                   5 respectively – approximately $1.3 million total (18,870,100 ₸).
                   6            60.          On or about April 12, 2005, Leila caused Ademytau-KMK LLP to
                   7 transfer the Ademytau Property to Elvira.
                   8            61.      On the same day, April 12, 2005, Leila caused Viktoriya-KMK LLP
                   9 to transfer the Viktoriya Property to Phoenix, VL., LLP, another entity that she
              10 owned and controlled. Two months after Leila transferred the property to Phoenix,
              11 VL., LLP, Phoenix, VL., LLP (previously known as Phenix-Kh Company LLP)
              12 proceeded to change its name a second time to Swiss Kazakh Phoenix Holding,
              13 LLP (“Swiss Kazakh”).
              14                62.          On or about December 23, 2005, Elvira transferred the Ademytau
              15 Property to a co-conspirator, Armen Sanasarovich Khachatryan (“Khachatryan”)
              16 for 16,640,900 ₸.
              17                63.      About one month later, on or about January 25, 2006, Leila caused
              18 Swiss Kazakh to transfer the Viktoriya Property to Khachatryan for 3,237,860 ₸.
              19 From December 2006 through May 2007, Khachatryan made payments, labeled as
              20 the return of temporary financial aid, totaling approximately $8.6 million
              21 (1,223,950,000 ₸) to Leila for the Ademytau and Viktoriya Properties and six
              22 additional properties. On information and belief, these illicit proceeds were
              23 transferred from Leila’s Kazakh bank accounts to Elvira’s Swiss bank accounts as
              24 “financial aid.”
              25                         Fraudulent Transaction Example 5
              26                64.          Between 2002 and 2005, Viktor sold more than 55 plots of public
              27 land to private companies for billboards to be used for outdoor advertisements.
              28 Viktor violated Kazakh law by privatizing these public lands, including Article 18
                       US-DOCS\91976251.11                                       CONSOLIDATED AMENDED COMPLAINT
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                   1 of the Law “On Land,” which provided that public land could not be in private
                   2 ownership. As part of this billboard scheme, Viktor ordered the privatization and
                   3 sale of public land to companies owned by or affiliated with himself and Leila.
                   4            65.      Viktor’s and Leila’s companies subsequently leased the land at
                   5 inflated prices to secure profits. Generally, the land would be sold to one company
                   6 in particular, GeFest LLP (“GeFest”), for a nominal price. GeFest was founded by
                   7 Leila and Viktor’s brother-in-law, Aijar Kadyrovich Ilyasov, who served as
                   8 GeFest’s Executive Director.
                   9            66.      GeFest sold the land to Swiss Kazakh. Swiss Kazakh also was
              10 founded by Leila.
              11                67.      Swiss Kazakh then sold the land to Vostochny Media Ekspress, LLC
              12 (“Vostochny”). Vostochny was founded by Aijar Ilyasov, Viktor’s brother-in-law.
              13                68.      Vostochny then leased the billboard space to third parties and
              14 collected profits.
              15                69.      As a specific example, on November 7, 2002, Viktor signed a
              16 “decision” to sell GeFest the public land described as south of Baitursynov St.,
              17 south of Satpaev St., in Bostandyk District. On January 15, 2004, Viktor and
              18 GeFest entered into a purchase agreement for this state-owned land plot. The
              19 purchase price was $11,472 ₸ (approximately $35.22 USD).
              20                70.      On July 18, 2005, GeFest entered into a purchase agreement to sell the
              21 land to Swiss Kazakh. Swiss Kazakh purchased the land for the same nominal
              22 price, $11,472 ₸ (approximately $35.22 USD).
              23                71.      On November 27, 2006, Swiss Kazakh entered into a purchase
              24 agreement to sell the land to Vostochny for $19,600 ₸ (approximately $60.00
              25 USD).
              26                72.      Vostochny then leased the outdoor advertising space for a profit. For
              27 example, on January 1, 2009, Vostochny entered into an agreement with F.I.R.S.T.
              28 Agency LLP to lease the billboard space for one month for $210,600 ₸
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  LOS ANGELES                                                        19           FOR DAMAGES, INJUNCTIVE RELIEF
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                   1 (approximately $646.55 USD) and an installation fee of $27,000 ₸ (approximately
                   2 $83.00 USD). Additional lease agreements were entered into and resulted in
                   3 increased profits over an extended period of time.
                   4            73.      As a result of this billboard scheme, Khrapunov-related companies
                   5 leased out billboard space for more than 55 plots of land for approximately 6 years.
                   6 Almaty alleges on information and belief that the Khrapunov family earned
                   7 millions of dollars in ill-gotten gains through their illegal billboard scheme.
                   8            74.      Together, the illegal conversion of properties described in Fraudulent
                   9 Transactions 1-5 and the ultimate sale of those properties to third parties, resulted
              10 in tens of millions in profits to Viktor, Leila, Iliyas, Elvira, their family members,
              11 and their co-conspirators. These are merely five examples of Viktor and his family
              12 and co-conspirators’ wrongdoing. In total, approximately 80 parcels of real estate
              13 rightfully belonging to Almaty and its people were illegally alienated by the
              14 Individual Defendants and their co-conspirators for their own personal gain. On
              15 information and belief, the Individual Defendants and their co-conspirators
              16 profited by over $300 million from these illegal transactions, all at the expense of
              17 the people of Almaty, and now are seeking to use the United States as a haven in
              18 which to enjoy their ill-gotten gains.
              19                D.       The Laundering of Stolen Funds: The Individual Defendants and
              20                         Their Co-Conspirators Laundered Illegally Obtained Funds in
                                         Switzerland and the United States
              21
              22                75.      The Individual Defendants and their co-conspirators laundered the
              23 proceeds of their crimes in Switzerland and the United States in order to hide the
              24 assets from authorities and reap the rewards of their wrongdoing. Once the Swiss
              25 authorities began to investigate the Individual Defendants and their co-conspirators
              26 and to freeze their assets, the Individual Defendants and their co-conspirators
              27 increased their illegal laundering activities in and through the United States to
              28 further conceal the proceeds and attempt to prevent their recovery by Almaty.
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                   1            76.      These funds rightfully belonged to, and still belong to, Almaty.
                   2 Defendants continue to hold funds belonging to Almaty without permission and via
                   3 constructive trust, and Defendants are obligated, by law, to return funds transferred
                   4 into and laundered in the United States in furtherance of the Khrapunov
                   5 Racketeering Enterprise. The continued movement of Almaty’s funds within the
                   6 United States has hindered and continues to hinder Almaty’s ability to trace and
                   7 recover its funds, thereby causing Almaty ongoing harm and damage in the United
                   8 States. Upon information and belief, the Individual Defendants and their co-
                   9 conspirators selected the United States as a jurisdiction in which to hide the stolen
              10 funds because they thought they would be immune from redress for their crimes
              11 here. At the time the laundering began, the United States did not have a mutual
              12 legal assistance treaty or extradition treaty with Kazakhstan.
              13                77.      The Individual Defendants and their co-conspirators have used and
              14 continue to use numerous holding companies in order to hide and to launder the
              15 illicit funds they siphoned out of Kazakhstan through Switzerland and other
              16 intermediary countries, and ultimately into and within the United States. Iliyas and
              17 Elvira owned and/or controlled a number of these companies, including
              18 Defendants Vilder, Crownway, and at least two Swiss companies, SDG Capital SA
              19 (“SDG”) and Swiss Promotion Group SA (“SPG”). In total, Iliyas, Elvira, and
              20 Leila have already transferred at least $125 million into these two Swiss companies
              21 alone.
              22                78.      Between 2008 and 2012, Iliyas, Elvira, Leila, and sham companies
              23 they control injected over $115 million into SDG. SDG was formed in or about
              24 July 2008 and, until approximately May 2009, was owned and controlled by
              25 Harlem Securities, a British Virgin Islands corporation that was, in turn, owned by
              26 Iliyas. In or about May 2009, Elvira purchased SDG from Harlem Securities for
              27 approximately $99,000. Following that purchase, Iliyas continued to exert full
              28 control over SDG.
                       US-DOCS\91976251.11                                      CONSOLIDATED AMENDED COMPLAINT
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  LOS ANGELES                                                         21           FOR DAMAGES, INJUNCTIVE RELIEF
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                   1            79.      Iliyas, Elvira, Leila, and sham companies they control also have
                   2 contributed substantial assets, believed to be in excess of $10 million, to SPG.
                   3 Iliyas is the ultimate beneficial owner of SPG via a variety of offshore holding
                   4 companies.
                   5            80.      Upon information and belief, Iliyas, Elvira, Leila, and the sham
                   6 companies they control have contributed substantial funds to Vilder, including
                   7 millions of dollars to Vilder’s account at FBME Bank (“FBME”).1
                   8            81.      Upon information and belief, Iliyas, Elvira, Leila, and the sham
                   9 companies they control have contributed substantial funds to Crownway, including
              10 millions of dollars to Crownway’s account at FBME.
              11                82.      All of the funds contributed to SDG, SPG, Vilder, Crownway, and
              12 other front companies controlled by Iliyas, Elvira, and Leila are traceable to the ill-
              13 gotten proceeds of Viktor’s and his co-conspirators’ looting of real estate and other
              14 assets.
              15                Funds Transferred to Defendants in the United States
              16                83.      In an ongoing effort to launder and conceal the source of the funds
              17 they stole from the people of Almaty, after moving the funds to various accounts
              18 and holding companies in Switzerland and elsewhere, Defendants and their co-
              19 conspirators began transferring the stolen funds into the United States by using an
              20 intricate web of individuals and offshore holding companies to launder Almaty’s
              21 funds.
              22                84.      Defendants harmed Almaty by concealing those funds from Almaty,
              23 and thereby causing Almaty to have to devote substantial monies and time and use
              24
                        1
              25   The U.S. Treasury’s Financial Crimes Enforcement Network (“FinCEN”) has
                 alleged that FBME engaged in large-scale money laundering. FinCEN first
              26 reported concerns regarding FBME’s role in money laundering in July of 2014. In
                 March 2016, FinCEN imposed the “fifth special measure” against FBME, aimed at
              27 blocking FBME from doing business in the United States or using U.S. currency.
                 On or around May 8, 2017, Tanzania’s central bank revoked FBME Bank’s
              28 business license.
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                   1 extraordinary means in the United States to trace and recover their funds in the
                   2 United States. The ongoing detention in the United States of funds belonging to
                   3 Almaty causes ongoing harm and damage to Almaty.
                   4            85.      For example, on or about July 20, 2012, Individual Defendants and
                   5 their co-conspirators caused over $3 million to be transferred from Defendant
                   6 Crownway’s FBME account into Defendant RPM-Maro LLC’s United States bank
                   7 account. Upon information and belief, this bank account was owned or controlled
                   8 by Elvira, and at all times all Individual Defendants and their co-conspirators knew
                   9 that was stolen money.
              10                86.      On the date of this transfer, RPM-Maro was owned and controlled by
              11 Elvira and Iliyas. Indeed, from June through August 2012, RPM-Maro was jointly
              12 owned by Defendant RPM USA – which was controlled by Iliyas through RPM
              13 USA’s sole member, SPG, and Defendant Maro Enterprises – which was wholly
              14 owned and controlled by Elvira. Upon information and belief, before transferring
              15 these funds into the United States, the Individual Defendants and their co-
              16 conspirators caused the funds to be moved through various offshore bank accounts,
              17 including accounts held by sham holding companies, for the sole purpose of
              18 illicitly concealing the source of the stolen funds to make the stolen funds appear
              19 legitimate. Upon information and belief, this $3 million transferred into the United
              20 States by the Individual Defendants is traceable to the funds they looted from
              21 Almaty.
              22                87.      The Individual Defendants made use of the United States wires and
              23 United States mail in furtherance of this illegal $3 million transaction. The
              24 Individual Defendants harmed Almaty by transferring Almaty’s stolen funds into
              25 the United States, concealing the illegitimate source of the funds, and impeding
              26 and seeking to prevent Almaty from recovering the stolen funds in furtherance of
              27 the goals of the Khrapunov Racketeering Enterprise.
              28
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  LOS ANGELES                                                       23           FOR DAMAGES, INJUNCTIVE RELIEF
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                   1            88.      As another example, on or about November 7, 2012, Individual
                   2 Defendants and their co-conspirators caused approximately $1.27 million to be
                   3 transferred from Defendant Vilder’s offshore account, into a United States bank
                   4 account owned by Defendant RPM USA and controlled by Iliyas through RPM
                   5 USA’s sole member, SPG. At all times, all Individual Defendants and their co-
                   6 conspirators knew that money to have been stolen from the people of the City of
                   7 Almaty.
                   8            89.      Upon information and belief, before transferring the $1.27 million
                   9 into the United States, Individual Defendants and their co-conspirators caused the
              10 funds to be moved through various offshore bank accounts, including accounts
              11 held by sham holding companies, for the sole purpose of illicitly concealing the
              12 source of the stolen funds to make the stolen funds appear legitimate. Upon
              13 information and belief, this $1.27 million transferred into the United States by the
              14 Individual Defendants and their co-conspirators is traceable to the funds they
              15 looted from Almaty.
              16                90.      The Individual Defendants and their co-conspirators made use of the
              17 United States wires and United States mail in furtherance of this illegal $1.27
              18 million transaction. The Individual Defendants harmed Almaty by transferring
              19 Almaty’s stolen funds into the United States, concealing the illegitimate source of
              20 the funds, and impeding and seeking to prevent Almaty from recovering the stolen
              21 funds in furtherance of the goals of the Khrapunov Racketeering Enterprise.
              22                91.      Six days after the transfer of $1.27 million from Vilder to RPM-USA,
              23 RPM-USA transferred $1.2 million to RPM-USA’s New York-based attorney to be
              24 held in escrow. Upon information and belief, Defendants regularly used this
              25 attorney, who also served as attorney for RPM-Maro and World Health Networks,
              26 to assist in laundering money between various sham entities and into sham
              27 investments.
              28
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                   1            92.      As a third example, on or about January 9, 2013, Individual
                   2 Defendants and their co-conspirators caused Defendant Vilder to transfer $1
                   3 million from an offshore bank account into Defendant RPM-Maro’s United States
                   4 bank account, which was owned or controlled by Elvira. At all times all Individual
                   5 Defendants and their co-conspirators knew that money to have been stolen from
                   6 the people of the City of Almaty.
                   7            93.      Elvira officially owned 100% interest in RPM-Maro, but Iliyas
                   8 exerted informal control over the company. Upon information and belief, before
                   9 transferring these funds into the United States, the Individual Defendants and their
              10 co-conspirators caused the funds to be moved through various offshore bank
              11 accounts, including accounts held by sham holding companies, for the sole purpose
              12 of illicitly concealing the source of the stolen funds to make the stolen funds
              13 appear legitimate. Upon information and belief, this $1 million transferred into the
              14 United States by the Individual Defendants is traceable to the funds they looted
              15 from Almaty.
              16
                                94.      The Individual Defendants made use of the United States wires and
              17
                        United States mail in furtherance of this illegal transaction. The Individual
              18
                        Defendants harmed Almaty by transferring Almaty’s funds into the United States,
              19
                        concealing the illegitimate source of the funds, and impeding and seeking to
              20
                        prevent Almaty from recovering the stolen funds in furtherance of the goals of the
              21
                        Khrapunov Racketeering Enterprise.
              22
                                95.      As a fourth example, on or about February 28 and March 1, 2013,
              23
                        Individual Defendants and their co-conspirators caused Vilder to transfer a total of
              24
                        $1 million from an offshore bank account to a United States bank account owned
              25
                        by RPM-USA and controlled by Iliyas. At all times, all Individual Defendants and
              26
                        their co-conspirators knew that money to have been stolen from the people of the
              27
                        City of Almaty.
              28
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                   1            96.      Upon information and belief, before transferring the $1 million into
                   2 the United States, Individual Defendants and their co-conspirators caused the funds
                   3 to be moved through various offshore bank accounts – including accounts held by
                   4 their sham holding companies – for the sole purpose of illicitly concealing the
                   5 source of the stolen funds to make the stolen funds appear legitimate. Upon
                   6 information and belief, this $1 million transferred into the United States by the
                   7 Individual Defendants and their co-conspirators is traceable to the funds they stole
                   8 from Almaty.
                   9            97.      The Individual Defendants made use of the United States wires and
              10 United States mail in furtherance of this illegal transaction. The Individual
              11 Defendants harmed and continue to harm Almaty by transferring Almaty’s funds
              12 into the United States, concealing the illegitimate source of the funds, and
              13 impeding and seeking to prevent Almaty from recovering the stolen funds in
              14 furtherance of the goals of the Khrapunov Racketeering Enterprise.
              15                98.      As a fifth example, on or about August 5, 2013 Individual Defendants
              16 and their co-conspirators caused Vilder to transfer $1 million from its FBME bank
              17 account to Elvira’s United States bank account. Upon information and belief,
              18 before transferring these funds into the United States, the Individual Defendants
              19 and their co-conspirators caused the funds to be moved through various offshore
              20 bank accounts, including accounts held by sham holding companies, for the sole
              21 purpose of illicitly concealing the source of the stolen funds and with the goal of
              22 making the stolen funds appear legitimate. Upon information and belief, this $1
              23 million transferred into the United States by the Individual Defendants is traceable
              24 to the funds they looted from Almaty.
              25                99.      The Individual Defendants made use of the United States wires and
              26 United States mail in furtherance of this illegal $1 million transaction. The
              27 Individual Defendants harmed Almaty by transferring Almaty’s funds into the
              28 United States, concealing the illegitimate source of the funds, and impeding and
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  LOS ANGELES                                                        26           FOR DAMAGES, INJUNCTIVE RELIEF
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                   1 seeking to prevent Almaty from recovering the stolen funds in furtherance of the
                   2 goals of the Khrapunov Racketeering Enterprise.
                   3            100. As a sixth example, upon information and belief, throughout the
                   4 course of 2014, Individual Defendants and their co-conspirators caused a total of
                   5 over $1 million to be transferred from offshore companies – including Vilder, SDG
                   6 Capital, and another sham company Adlux Sarl SA, a subsidiary of SPG – directly
                   7 to United States bank accounts owned by Elvira.
                   8            101. Upon information and belief, before transferring these funds into the
                   9 United States, Individual Defendants and their co-conspirators caused the funds to
              10 be moved through various offshore bank accounts, including accounts held by their
              11 sham holding companies, for the sole purpose of illicitly concealing the source of
              12 the stolen funds to make the stolen funds appear legitimate. Upon information and
              13 belief, these funds transferred into the United States by the Individual Defendants
              14 and their co-conspirators is traceable to the funds they stole from Almaty.
              15                102. The Individual Defendants made use of the United States wires and
              16 United States mail in furtherance of this illegal transaction. The Individual
              17 Defendants harmed, and continue to harm, Almaty by transferring Almaty’s funds
              18 into the United States, concealing the illegitimate source of the funds, and
              19 impeding and seeking to prevent Almaty from recovering the stolen funds in
              20 furtherance of the goals of the Khrapunov Racketeering Enterprise.
              21                103. The funds identified in the above six examples, in addition to all other
              22 funds stolen from Almaty and transferred into the United States in furtherance of
              23 the Khrapunov Racketeering Enterprise, rightfully belonged and still belong to
              24 Almaty, and Defendants hold these funds without permission and through a
              25 constructive trust or otherwise. The continued movement of Almaty’s funds
              26 within the United States continues to cause Almaty harm and damage by hindering
              27 Almaty’s ability to trace and recover its funds and forcing Almaty to expend
              28 substantial assets and time in its efforts to do so.
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                   1            104. Elvira, Dmitry, Iliyas, and Madina have laundered the funds
                   2 transferred into the United States by making investments in multiple U.S.
                   3 companies, including World Health Networks. Upon information and belief,
                   4 between July 2012 and October 2014, Defendants invested approximately $6.3
                   5 million in a World Health Networks, a medical device company registered to do
                   6 business in New York and California. The funds are traceable to the money the
                   7 Individual Defendants and their co-conspirators stole from Almaty and laundered
                   8 through various offshore bank accounts, before Defendants transferred the funds
                   9 into the United States. Approximately $1.9 million of the $6.3 million investment
              10 was provided by Defendant RPM USA – which is owned or controlled by Iliyas
              11 and is a wholly owned subsidiary of SPG – on RPM-Maro’s behalf. The
              12 remainder of the funds came from RPM-Maro, and directly from Elvira and
              13 Dmitry. All of these funds had been transferred into the United States from
              14 offshore companies controlled by Individual Defendants, as described in the six
              15 examples above. The individual defendants, along with Defendants RPM-Maro
              16 and RPM USA, used those funds to invest in the medical device company with the
              17 intent to conceal further the illicit source of those funds.
              18                105. Upon information and belief, Individual Defendants used this sham
              19 investment into World Health Networks as a front for obtaining United States visas
              20 for Elvira and Dmitry.
              21                106. Furthermore, upon information and belief, Elvira, Dmitry, Iliyas, and
              22 Madina made use of the United States mail and wires, as well as United States
              23 financial institutions, to engage in these investments. As a result, Elvira, Dmitry,
              24 Iliyas, and Madina again acted in violation of 18 U.S.C. §§ 1956, 1957, 2314,
              25 1341, and 1343.
              26                107. They at all times acted with the agreement and knowledge of Viktor
              27 and Leila, and as a result, all Individual Defendants also violated 18 U.S.C. § 371.
              28
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                   1            108. In or about October 2014 – months after Almaty first filed its initial
                   2 complaint against the Khrapunovs in this action in May 2014 – Elvira caused
                   3 RPM-Maro to sell its interest in World Health Networks to Techvest S.A, an entity
                   4 based in Luxembourg. Upon information and belief, Elvira sold its interest in
                   5 World Health Networks in a further attempt to launder and conceal the source of
                   6 the funds, causing additional harm to Almaty by making it more costly and
                   7 difficult for Almaty to trace and recover its U.S.-based assets.
                   8            Funds Laundered Into Real Estate and Other Assets
                   9            109. As part of their ongoing effort to launder and conceal the source of the
              10 funds they stole from Almaty, after moving funds to various offshore accounts and
              11 holding companies, Defendants and their co-conspirators injected funds directly
              12 into real estate located in the United States.
              13                110. Defendants harmed Almaty by concealing those funds from Almaty,
              14 and thereby causing Almaty to have to devote substantial monies and time, and to
              15 use extraordinary means in the United States to trace and recover their stolen funds
              16 hidden in the United States. The ongoing detention in the United States of funds
              17 belonging to Almaty causes ongoing harm and damage to Almaty.
              18                111. On or about October 20, 2010 and December 2, 2010, Elvira and
              19 Dmitry caused $365 thousand and $3.3 million, respectively, to be transferred from
              20 their Swiss bank accounts at Schroder & Co. Bank AG and Bank Sarasin and Co.
              21 Ltd., respectively, directly to Escrow of the West, an escrow company based in Los
              22 Angeles, California. Elvira and Dmitry used these laundered funds to purchase a
              23 luxurious single-family home located at 2578 Hutton Drive in Beverly Hills,
              24 California, for approximately $3.65 million.
              25                112. Elvira and Dmitry knew that the money they used to engage in this
              26 transaction was stolen from Almaty and illegally laundered to appear legitimate.
              27 Upon information and belief, before transferring these funds into the United States,
              28 the Individual Defendants and their co-conspirators caused the funds to be moved
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                   1 through various offshore bank accounts, including accounts held by sham holding
                   2 companies, for the sole purpose of illicitly concealing the source of the stolen
                   3 funds to make the stolen funds appear legitimate. They purchased this property
                   4 with the intent to use the transaction to further conceal the illegitimate source of
                   5 the funds, which are traceable to the funds the Individual Defendants and their co-
                   6 conspirators embezzled from Almaty.
                   7            113. Because the funds used to purchase this property were wrongfully
                   8 detained from Almaty, Elvira and Dmitry held this real property as constructive
                   9 trustees for the benefit of Almaty. The unlawful purchase of this property caused
              10 additional harm to Almaty in the United States by preventing Almaty access to its
              11 property and made it more difficult and costly for Almaty to trace and recover its
              12 U.S.-based assets.
              13                114. Furthermore, Elvira and Dmitry made use of the United States mail
              14 and wires, as well as United States financial institutions, to engage in this
              15 transaction. As a result of the foregoing, Elvira and Dmitry violated, among other
              16 U.S. laws, 18 U.S.C. §§ 1956 (money laundering and conspiracy to commit money
              17 laundering), 1957 (transactions in property derived from unlawful activity), 2314
              18 (transport of stolen money), 1341 (mail fraud), and 1343 (wire fraud).
              19                115. Elvira and Dmitry acted with the agreement and knowledge of Viktor,
              20 Leila, Iliyas, and Madina, and as a result, all Individual Defendants also violated
              21 18 U.S.C. § 371 (conspiracy).
              22                116. On or about December 30, 2011 and March 15, 2012, Iliyas and
              23 Madina caused Defendant Candian to transfer $163 thousand and $5.366 million,
              24 respectively, directly to Granite Escrow Services (“Granite Escrow”) in Beverly
              25 Hills, California from its Swiss bank account. Iliyas and Madina used these funds
              26 to purchase a lavish single-family home located at 606 North Alta Drive in Beverly
              27 Hills, California, for approximately $5.45 million.
              28
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                   1            117. Iliyas and Madina knew that the money they used to engage in this
                   2 transaction was stolen from the people of Almaty, and illegally laundered to appear
                   3 legitimate. Indeed, Iliyas and Madina attempted to further conceal the source of
                   4 the stolen funds used to make this purchase by using Defendant Candian to
                   5 complete the purchase, and they purchased this property with the intent to use the
                   6 transaction to further conceal the illegitimate source of the funds, which are
                   7 traceable to the funds the Individual Defendants and their co-conspirators
                   8 embezzled from the people of Almaty. Upon information and belief, before
                   9 transferring these funds into the United States, the Individual Defendants and their
              10 co-conspirators caused the funds to be moved through various offshore bank
              11 accounts, including accounts held by sham holding companies, for the sole purpose
              12 of illicitly concealing the source of the stolen funds to make the stolen funds
              13 appear legitimate.
              14                118. Because the funds used to purchase this property were wrongfully
              15 detained from Almaty, Iliyas, Madina, and/or Candian International Ltd. held this
              16 real property as constructive trustees for the benefit of Almaty. The unlawful
              17 purchase of this property caused additional harm to Almaty in the United States by
              18 preventing Almaty access to its property and making it more difficult and costly
              19 for Almaty to trace and recover its U.S.-based assets.
              20                119. Furthermore, Iliyas and Madina made use of the United States mail
              21 and wires, as well as United States financial institutions, to engage in this
              22 transaction. As a result of the foregoing, Iliyas and Madina violated, among other
              23 U.S. laws, 18 U.S.C. §§ 1956, 1957, 2314, 1341, and 1343.
              24                120. Iliyas and Madina acted with the agreement and knowledge of Viktor,
              25 Leila, Elvira, and Dmitry, and as a result, all Individual Defendants also violated
              26 18 U.S.C. § 371.
              27                121. In or about mid-2012, the Public Prosecutor of Geneva opened an
              28 investigation into Viktor, Leila, Iliyas, and Elvira on suspicion of money
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                   1 laundering in violation of Swiss law. In or about November 2012, the Public
                   2 Prosecutor of Geneva ordered frozen certain Swiss accounts and assets belonging
                   3 to Viktor, Leila, Iliyas, and Elvira. After this action by Swiss government
                   4 authorities, the Individual Defendants and their co-conspirators continued and
                   5 increased their laundering activities in the United States.
                   6            122. For example, Iliyas moved significant amounts of money into New
                   7 York real estate investments. On or around November 2012, Iliyas began
                   8 investing tens of millions (of the equivalent) of dollars stolen from the people of
                   9 Almaty and others to purchase a partial interest in a luxury hotel in New York.
              10 Additionally, in order to conceal the source of the funds used to make this
              11 investment, Iliyas used Luxembourg shell entity Triadou SPV S.A. (“Triadou”),
              12 together with a series of at least four Delaware holding companies, all of which
              13 were ultimately owned by SDG and controlled by Iliyas. Iliyas invested additional
              14 funds in the Cabrini Medical Center in New York.
              15                123. Individual Defendants also increased their laundering of the stolen
              16 funds into California at this time as well. On or about November 30, 2012 and
              17 January 18, 2013, Individual Defendants caused Defendant Vilder to transfer $186
              18 thousand and $6 million, respectively, from its FBME bank account located in
              19 Cyprus directly to Granite Escrow in Beverly Hills, California. Iliyas and Madina
              20 used these funds to purchase a second mansion in Beverly Hills using Almaty’s
              21 funds illegally obtained through the Khrapunov Racketeering Enterprise’s criminal
              22 activity and laundered through various offshore bank accounts and entities into the
              23 U.S. Iliyas and Madina knew that the money they used to engage in this
              24 transaction was stolen from the people of Almaty and illegally laundered to appear
              25 legitimate.
              26                124. Indeed, Iliyas and Madina, with Elvira’s assistance, used another
              27 sham holding company, Defendant 628 Holdings LLC, to launder and conceal the
              28 source of the illicit funds. To that end, Iliyas and Madina caused 628 Holdings
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                   1 LLC to purchase with Almaty’s money a $6.2 million five-bedroom single-family
                   2 home located at 628 North Alta Drive in Beverly Hills, California for the benefit
                   3 and use of Iliyas and Madina. Elvira is listed in public records as an officer of
                   4 Defendant 628 Holdings LLC.
                   5            125. Iliyas and Madina purchased this property with the intent to use the
                   6 transaction to further conceal the illegitimate source of the funds, which are
                   7 traceable to the funds the Individual Defendants and their co-conspirators
                   8 embezzled from the people of Almaty. Because the funds used to purchase this
                   9 property were wrongfully detained from Almaty, Iliyas, Madina, and/or 628
              10 Holdings LLC held this real property as constructive trustees for the benefit of
              11 Almaty. The unlawful purchase of this property caused additional harm to Almaty
              12 in the United States by preventing Almaty access to its property and making it
              13 more costly and difficult for Almaty to trace and recover its U.S.-based assets.
              14                126. Furthermore, Iliyas and Madina made use of the United States mail
              15 and wires, as well as United States financial institutions, to engage in this
              16 transaction. As a result of the foregoing, Iliyas, Madina, and Elvira violated,
              17 among other U.S. laws, 18 U.S.C. §§ 1956, 1957, 2314, 1341, and 1343.
              18                127. Iliyas, Madina, and Elvira acted with the agreement and knowledge of
              19 Viktor, Leila, and Dmitry, and as a result, all Individual Defendants also violated
              20 18 U.S.C. § 371.
              21                128. On or about April 5, 2013 and April 28, 2013, Elvira, with the full
              22 knowledge and assistance of the other Individual Defendants and their co-
              23 conspirators, caused Defendant Crownway to transfer over $5 million and $250
              24 thousand, respectively, from its FBME bank account into Elvira’s United States
              25 bank account. Upon information and belief, before transferring these funds into
              26 the United States, the Individual Defendants and their co-conspirators caused the
              27 funds to be moved through various offshore bank accounts, including accounts
              28 held by sham holding companies, for the sole purpose of illicitly concealing the
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                   1 source of the stolen funds to make the stolen funds appear legitimate. Upon
                   2 information and belief, this $5 million transferred into the United States by the
                   3 Individual Defendants is traceable to the funds they stole from Almaty.
                   4            129. On or about April 16, April 25, and April 29, 2013, Elvira transferred
                   5 a total of approximately $3.2 million of the funds moved into the U.S. by
                   6 Crownway to a New York-based real estate attorney, Martin Jajan, for the
                   7 purchase of three condominiums – units 3203, 3310, and 3311 – in the Trump
                   8 Soho tower located at 246 Spring Street, New York, New York. All three units
                   9 were purchased on or about April 30, 2013 for $879,833, $1,407,321 and $829,351
              10 respectively. Elvira knew that the funds they used to engage in this transaction
              11 were stolen from the people of Almaty, and illegally laundered to appear
              12 legitimate. Indeed, in a further attempt to conceal their wrongful possession and
              13 use of Almaty’s funds, Elvira used three separate LLCs – Soho 3203 LLC, Soho
              14 3310 LLC, and Soho 3311 LLC – to make these purchases.
              15                130. Elvira purchased these properties with the intent to use the transaction
              16 to further conceal the illegitimate source of the funds, which are traceable to the
              17 funds the Individual Defendants and their co-conspirators embezzled from the
              18 people of Almaty. Because the funds used to purchase these properties were
              19 wrongfully detained from Almaty, Elvira held these real properties as constructive
              20 trustees for the benefit of Almaty. The unlawful purchase of these properties
              21 caused additional harm to Almaty in the United States by preventing Almaty
              22 access to its property and making it more costly and difficult for Almaty to trace
              23 and recover its U.S.-based assets.
              24                131. Furthermore, Elvira made use of the United States mail and wires, as
              25 well as United States financial institutions, to engage in this transaction. As a
              26 result of the foregoing, Elvira violated, among other U.S. laws, 18 U.S.C. §§ 1956,
              27 1957, 2314, 1341, and 1343.
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                   1            132. Elvira acted with the agreement and knowledge of Iliyas, Madina,
                   2 Viktor, Leila, and Dmitry, and as a result, all Individual Defendants also violated
                   3 18 U.S.C. § 371.
                   4            133. In attempts to bury Almaty’s money deeper in California, on or about
                   5 July 19, 2013, Elvira and Dmitry sold the house at 2578 Hutton Drive for
                   6 approximately $4.97 million. Upon information and belief, Elvira and Dmitry sold
                   7 this property in furtherance of the Khrapunov Racketeering Enterprise, causing
                   8 additional harm to Almaty by making it more costly and difficult for Almaty to
                   9 trace and recover its U.S.-based assets.
              10                134. That same day, Elvira and Dmitry purchased an expansive, two-acre
              11 estate located at 11986 Lockridge Road in Studio City, California for
              12 approximately $5.7 million. Upon information and belief, nearly $1 million of the
              13 funds used to effectuate this purchase were derived from Crownway’s $5.25
              14 million transfer in April 2013. The remainder was funded by the proceeds from
              15 the sale of 2578 Hutton Drive.
              16                135. Elvira and Dmitry knew that the money they used to engage in this
              17 transaction was stolen from the people of Almaty, and illegally laundered to appear
              18 legitimate. Indeed, shortly after they purchased this property, in a further attempt
              19 to conceal their wrongful possession and use of Almaty’s funds, Elvira and Dmitry
              20 transferred it to The Kasan Family Trust, a trust for which they serve as trustees.
              21                136. Elvira and Dmitry purchased this property with the intent to use the
              22 transaction to further conceal the illegitimate source of the funds, which are
              23 traceable to the funds the Individual Defendants and their co-conspirators
              24 embezzled from the people of Almaty. Because the funds used to purchase this
              25 property were wrongfully detained from Almaty, Elvira, Dmitry, and/or The Kasan
              26 Family Trust held this real property as constructive trustees for the benefit of
              27 Almaty. The unlawful purchase of this property caused additional harm to Almaty
              28
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                   1 in the United States by preventing Almaty access to its property and making it
                   2 more costly and difficult for Almaty to trace and recover its U.S.-based assets.
                   3            137. Furthermore, Elvira and Dmitry made use of the United States mail
                   4 and wires, as well as United States financial institutions, to engage in this
                   5 transaction. As a result of the foregoing, Elvira and Dmitry violated, among other
                   6 U.S. laws, 18 U.S.C. §§ 1956, 1957, 2314, 1341, and 1343.
                   7            138. Elvira and Dmitry acted with the agreement and knowledge of Viktor,
                   8 Leila, Iliyas, and Madina, and as a result, all Individual Defendants also violated
                   9 18 U.S.C. § 371.
              10                139. On or about July 30, 2013, Iliyas and Madina sold the house at 606
              11 North Alta Drive for approximately $6.975 million. Upon information and belief,
              12 Iliyas and Madina sold this property less than 18 months after they purchased it in
              13 a further attempt to launder and conceal the source of the funds, causing additional
              14 harm to Almaty by making it more costly and difficult for Almaty to trace and
              15 recover its U.S.-based assets.
              16                140. Almaty filed its initial complaint in this present action on or about
              17 May 13, 2014. Elvira was served that same day, and Dmitry was served the day
              18 after.
              19                141. On or about May 27, 2014, the Elvira caused Soho 3310 LLC to sell
              20 the Soho 3310 property for $1.4 million. Upon information and belief, Elvira sold
              21 this property a little more than a year after she purchased it in a further attempt to
              22 launder and conceal the source of the funds, causing additional harm to Almaty by
              23 making it more costly and difficult for Almaty to trace and recover its U.S.-based
              24 assets.
              25                142. On or about August 4, 2014, Elvira and Dmitry as trustees of the
              26 Kasan Family Trust caused the Kasan Family Trust to sell the house at 11986
              27 Lockridge Rd. for approximately $6.5 million. As Almaty already had filed the
              28 present action at this time, the parties entered into a stipulation agreement to ensure
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                   1 that the proceeds from the sale were not transferred outside of the Central District
                   2 of California. In accordance with that stipulation, the proceeds were placed in an
                   3 escrow account.
                   4            143. That same day, without Almaty’s knowledge, Triadou assigned its
                   5 partial interest in the New York luxury hotel to the developers of the hotel for a
                   6 fraction of the initial investment. Upon information and belief, Iliyas caused
                   7 Triadou to make this assignment in an attempt to move millions of Almaty’s
                   8 money out of the United States and further conceal it from Almaty.
                   9            144. On or about September 8, 2014, Elvira and Dmitry purchased a
              10 property located at 2 Narbonne in Newport Beach, California for approximately
              11 $4.1 million, using a portion of the proceeds from the sale of 11986 Lockridge Rd.
              12 property. These funds were derived from the funds stolen from Almaty and
              13 laundered through various offshore bank accounts and entities into the U.S. Elvira
              14 and Dmitry knew that the money they used to engage in this transaction was stolen
              15 from the people of Almaty, and illegally laundered to appear legitimate. Elvira and
              16 Dmitry named The Kasan Family Trust as owner, a trust for which they serve as
              17 trustees.
              18                145. Because the funds used to purchase this property were wrongfully
              19 detained from Almaty, Elvira, Dmitry, and/or The Kasan Family Trust held this
              20 real property as constructive trustees for the benefit of Almaty. The unlawful
              21 purchase of this property caused additional harm to Almaty in the United States by
              22 preventing Almaty access to its property and making it more costly and difficult
              23 for Almaty to trace and recover its U.S.-based assets.
              24                146. Furthermore, Elvira and Dmitry made use of the United States mail
              25 and wires, as well as United States financial institutions, to engage in this
              26 transaction. As a result of the foregoing, Elvira and Dmitry violated, among other
              27 U.S. laws, 18 U.S.C. §§ 1956, 1957, 2314, 1341, and 1343.
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                   1            147. Elvira and Dmitry acted with the agreement and knowledge of Viktor,
                   2 Leila, Iliyas, and Madina, and as a result, all Individual Defendants also violated
                   3 18 U.S.C. § 371.
                   4            148. On or about September 24, 2014 – a little over four months after
                   5 Almaty initially brought this action – Elvira caused Soho 3203 LLC to sell the
                   6 Soho 3203 property for $840 thousand. Upon information and belief, Elvira sold
                   7 this property less than 18 months after she purchased it in a further attempt to
                   8 launder and conceal the source of the funds, causing additional harm to Almaty by
                   9 making it more costly and difficult for Almaty to trace and recover its U.S.-based
              10 assets.
              11                149. On or about October 16, 2015, Elvira caused Soho 3311 LLC to sell
              12 the Soho 3311 property for $777,000. Upon information and belief, Elvira sold
              13 this property it in a further attempt to launder and conceal the source of the funds,
              14 causing additional harm to Almaty by making it more costly and difficult for
              15 Almaty to trace and recover its U.S.-based assets.
              16                150. On or about March 29, 2016, Iliyas and Madina caused 628 Holdings
              17 to sell the house at 628 N. Alta for approximately $7.2 million. Upon information
              18 and belief, Iliyas and Madina sold this property in furtherance of the Khrapunov
              19 Racketeering Enterprise, causing additional harm to Almaty by making it more
              20 costly and difficult for Almaty to trace and recover its U.S.-based assets.
              21                151. On or about August 26, 2016, Elvira and Dmitry as trustees of the
              22 Kasan Family Trust caused the Kasan Family Trust to sell the house at 2 Narbonne
              23 for approximately $6.375 million. Upon information and belief, Elvira and Dmitry
              24 sold this property in furtherance of the Khrapunov Racketeering Enterprise,
              25 causing additional harm to Almaty by making it more costly difficult for Almaty to
              26 trace and recover its U.S.-based assets.
              27                152. The Individual Defendants’ luxurious lifestyles in the United States
              28 were not limited to the purchase of Beverly Hills mansions. In or about April
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                   1 2013, Elvira leased a 2013 Rolls Royce sedan valued at approximately $302,000.
                   2 In addition to the Rolls Royce, Elvira leased a 2013 Bentley sedan valued at
                   3 approximately $320,000. Elvira is also the registered owner of a 2013 Mercedes
                   4 Benz sport utility vehicle valued at approximately $114,000 and a 2011 Cadillac
                   5 sport utility vehicle valued at approximately $75,000. Upon information and
                   6 belief, Individual Defendants also purchased numerous pieces of valuable art and
                   7 home furnishings.
                   8            153. Elvira used funds stolen from Almaty and laundered through various
                   9 offshore bank accounts and entities to acquire these vehicles and other personal
              10 assets, and appear legitimate, while knowing those funds were stolen.
              11                154. Upon information and belief, the funds used to purchase or lease these
              12 vehicles, artwork, and other property are traceable to the funds stolen from Almaty.
              13 Because the funds used to purchase and lease these assets were wrongfully
              14 detained from Almaty, Elvira held and continues to hold these assets as
              15 constructive trustee for the benefit of Almaty. The unlawful purchase of this
              16 property caused additional harm to Almaty in the United States by preventing
              17 Almaty access to its property and making it more costly and difficult for Almaty to
              18 trace and recover its U.S.-based assets.
              19                155. Furthermore, upon information and belief, Elvira made use of the
              20 United States mail and wires, as well as United States financial institutions, to
              21 engage in these purchase and lease transactions. As a result of the foregoing,
              22 Elvira violated, among other U.S. laws, 18 U.S.C. §§ 1956, 1957, 2314, 1341, and
              23 1343.
              24                156. Elvira engaged in these transactions with the agreement and
              25 knowledge of Viktor, Leila, Dmitry, Iliyas, and Madina, and as a result, all
              26 Individual Defendants also violated 18 U.S.C. § 371.
              27
              28
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                   1            157. Each U.S. investment and transaction made in furtherance of the
                   2 Khrapunov Racketeering Enterprise harmed Almaty by making it significantly
                   3 more difficult and costly for Almaty to trace and recover its U.S.-based assets.
                   4            158. By this lawsuit, Almaty seeks to hold Defendants responsible for their
                   5 illegal conduct in the United States in violation of U.S. law. Almaty further seeks
                   6 to hold Defendants liable for the ongoing harm they have caused Almaty in the
                   7 United States and continue to cause Almaty in the United States.
                   8                              FIRST CLAIM FOR RELIEF
                   9        (For Violations of RICO, 18 U.S.C. §§ 1962(c), 1962(d), 1964(c), against all
              10                                            Defendants)
              11                159. Almaty hereby incorporates by reference the allegations in paragraphs
              12 1 through 158, as though fully set forth herein.
              13                160. From in or about 1997 and continuing to the present, by reason of its
              14 organization, structure, and activities, the Khrapunov Racketeering Enterprise
              15 constituted a RICO enterprise within the meaning of 18 U.S.C. § 1961(4). The
              16 Khrapunov Racketeering Enterprise was comprised of myriad individuals and
              17 entities, all associated in fact as part of the Khrapunov Racketeering Enterprise,
              18 including but not limited to the Individual Defendants and Entity Defendants
              19 named herein. The Khrapunov Racketeering Enterprise was engaged in, and the
              20 activities of the Khrapunov Racketeering Enterprise affected, interstate and foreign
              21 commerce.
              22                161. As alleged herein, the Khrapunov Racketeering Enterprise
              23 participants, including Defendants and each of them, engaged and conspired to
              24 engage in acts in the United States to further the goals of their criminal enterprise,
              25 in violation of U.S. law.
              26                162. Defendants engaged and conspired to engage in money laundering in
              27 violation of 18 U.S.C. § 1956 by conducting numerous financial transactions using
              28 illegally obtained funds laundered through various off-shore accounts and entities
                       US-DOCS\91976251.11                                  CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                     40           FOR DAMAGES, INJUNCTIVE RELIEF
                                                                                  AND OTHER EQUITABLE RELIEF
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                   1 to, among other things, purchase real estate and other assets in Beverly Hills,
                   2 Studio City, and elsewhere and to fund business entities, including the Entity
                   3 Defendants, in furtherance of the Khrapunov Racketeering Enterprise, knowing
                   4 that such funds were stolen from the people of Almaty and with the intent of
                   5 concealing the source of those funds.
                   6            163. Defendants further engaged and conspired to engage in money
                   7 laundering in violation of 18 U.S.C. § 1956 by transporting, transmitting, and/or
                   8 transferring funds stolen from the people of Almaty and laundered through various
                   9 off-shore accounts and entities into and within the United States in order to, among
              10 other things, purchase real estate and assets in Beverly Hills, Studio City, and
              11 elsewhere and to fund business entities, including the Entity Defendants, in
              12 furtherance of the Khrapunov Racketeering Enterprise, knowing that such funds
              13 were stolen from the people of Almaty and with the intent of concealing the source
              14 of those funds.
              15                164. Defendants further engaged and conspired to engage in money
              16 laundering in violation of 18 U.S.C. § 1956 by conducting financial transactions
              17 using those stolen funds by, among other things, using stolen funds laundered
              18 through various off-shore accounts and entities to purchase real estate and other
              19 assets in Beverly Hills, Studio City, and elsewhere and to fund business entities,
              20 including the Entity Defendants, in furtherance of the Khrapunov Racketeering
              21 Enterprise, knowing that such funds were stolen from the people of Almaty and
              22 with the intent of concealing the source of those funds.
              23                165. Defendants engaged and conspired to engage in money transactions in
              24 property derived from specified unlawful activity in violation of 18 U.S.C. § 1957
              25 by, among other things, knowingly transferring funds in excess of $10,000 stolen
              26 from Almaty into and within the United States via United States financial
              27 institutions to purchase real estate and other assets in Beverly Hills, Studio City,
              28 and elsewhere and to fund business entities, including the Entity Defendants,
                       US-DOCS\91976251.11                                CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                    41          FOR DAMAGES, INJUNCTIVE RELIEF
                                                                                AND OTHER EQUITABLE RELIEF
      Case
    Case   8:20-mc-00126-DOC-DFM
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                   1 knowing that such funds were derived from and traceable to funds stolen from the
                   2 people of Almaty.
                   3            166. Defendants engaged and conspired to engage in the foreign transport
                   4 of stolen money or property known to be stolen, converted or taken by fraud in
                   5 violation of 18 U.S.C. § 2314 by transferring funds derived from and traceable to
                   6 funds stolen from the people of Almaty into and within the United States, in excess
                   7 of $5,000, knowing those funds to have been stolen from the people of Almaty
                   8 and/or obtained from the people of Almaty by means of false or fraudulent
                   9 pretenses, representations, or promises by, among other things, transferring such
              10 funds from bank accounts in Switzerland into the United States via United States
              11 financial institutions and using those funds to purchase real estate and other assets
              12 in Beverly Hills, Studio City, and elsewhere and to fund business entities,
              13 including the Entity Defendants.
              14                167. Defendants, and each of them, conspired to commit the violations of
              15 U.S. law described herein, and one or more of the Defendants or their co-
              16 conspirators acted to violate such laws. Defendants, and each of them, thus also
              17 violated 18 U.S.C. § 371.
              18                168. Defendants engaged and conspired to engage in mail fraud in
              19 violation of 18 U.S.C. § 1341 and wire fraud in violation of 18 U.S.C. § 1343 by
              20 knowingly using the United States mails and wires to transfer illegally obtained
              21 funds into and within the United States, for the purpose of furthering the
              22 Khrapunov Racketeering Enterprise and, while concealing the funds’ illegal
              23 source, used those funds to purchase real estate in Beverly Hills and Studio City,
              24 California and to fund business entities, including the Entity Defendants, to enable
              25 those entities to conduct business in the United States using the illegally-obtained
              26 funds.
              27                169. Defendants engaged and conspired to engage in the above violations
              28 of U.S. law in order to implement the objectives and accomplish the unlawful
                       US-DOCS\91976251.11                                 CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                    42           FOR DAMAGES, INJUNCTIVE RELIEF
                                                                                 AND OTHER EQUITABLE RELIEF
      Case
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                   1 purposes of the Khrapunov Racketeering Enterprise as set forth herein, and thereby
                   2 engaged in predicate acts of racketeering within the meaning of 18 U.S.C. §
                   3 1961(1)(B).
                   4            170. Each of the Defendants conducted or participated, directly or
                   5 indirectly, in the conduct of the affairs of the Khrapunov Racketeering Enterprise
                   6 through a pattern of racketeering activity, within the meaning of 18 U.S.C. §
                   7 1961(5) in violation of 18 U.S.C. § 1962(c), consisting as applicable of multiple
                   8 acts of money laundering, conducting money transactions in property derived from
                   9 specified unlawful activity, foreign transport of stolen money or property known to
              10 be stolen, converted or taken by fraud, mail fraud, and/or wire fraud, as specified
              11 herein. Each of the Defendants engaged in two or more predicate acts of
              12 racketeering, and each committed at least one such act of racketeering after the
              13 effective date of RICO (i.e., October 15, 1970).
              14                171. From in or about 1997, and continuing to the present, Defendants
              15 associated together, with one another and with others, and acted in concert for the
              16 common and unlawful purposes of the Khrapunov Racketeering Enterprise and in
              17 order to implement the schemes and employ the devices described herein.
              18                172. In so doing, Defendants unlawfully, willfully, and knowingly did
              19 combine, conspire, confederate, and agree together, with each other and with
              20 others to commit RICO violations under 18 U.S.C. § 1962(c) and, thereby, violated
              21 18 U.S.C. § 1962(d). In furtherance of the conspiracy and to effect the objects
              22 thereof, Defendants committed in the Central District of California and elsewhere
              23 the overt acts as described herein, among others.
              24                173. As a direct and proximate result of RICO violations by the Defendants
              25 of 18 U.S.C. §§ 1962(a), 1962(b), 1962(c), and/or 1962(d), Almaty has suffered
              26 damages in an amount to be determined at trial and presently estimated to be not
              27 less than $300 million. Almaty has been injured in its business or property by
              28 reason of each such Defendant’s violations and, pursuant to the civil remedy
                       US-DOCS\91976251.11                                 CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                     43          FOR DAMAGES, INJUNCTIVE RELIEF
                                                                                 AND OTHER EQUITABLE RELIEF
      Case
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                   1 provisions of 18 U.S.C. § 1964(c), is thereby entitled to recover threefold the
                   2 damages it has suffered, together with its costs of suit and reasonable attorneys’
                   3 fees.
                   4                             SECOND CLAIM FOR RELIEF
                   5        (For Violations of RICO, 18 U.S.C. §§ 1962(a), 1962(d), 1964(c), against all
                   6                                        Defendants)
                   7            174. Almaty hereby incorporates by reference the allegations in paragraphs
                   8 1 through 173, as though fully set forth herein.
                   9            175. From in or about 1997 and continuing to the present, by reason of its
              10 organization, structure, and activities, the Khrapunov Racketeering Enterprise
              11 constituted a RICO enterprise within the meaning of 18 U.S.C. § 1961(4). The
              12 Khrapunov Racketeering Enterprise was comprised of myriad individuals and
              13 entities, all associated in fact as part of the Khrapunov Racketeering Enterprise,
              14 including but not limited to the Individual Defendants and Entity Defendants
              15 named herein. The Khrapunov Racketeering Enterprise was engaged in, and the
              16 activities of the Khrapunov Racketeering Enterprise affected, interstate and foreign
              17 commerce.
              18                176. Each of the Defendants was at the center of and was a principal
              19 perpetrator of a fraudulent scheme and is liable under 18 U.S.C. § 1962(a) as a
              20 direct and indirect beneficiary of the pattern of racketeering herein alleged.
              21                177. As alleged herein, the Khrapunov Racketeering Enterprise
              22 participants, including Defendants and each of them, engaged and conspired to
              23 engage in acts in the United States to further the goals of their criminal enterprise,
              24 in violation of U.S. law.
              25                178. Defendants engaged and conspired to engage in money laundering in
              26 violation of 18 U.S.C. § 1956 by conducting numerous financial transactions using
              27 illegally obtained funds laundered through various off-shore accounts and entities
              28 to, among other things, purchase real estate and other assets in Beverly Hills,
                       US-DOCS\91976251.11                                  CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                     44           FOR DAMAGES, INJUNCTIVE RELIEF
                                                                                  AND OTHER EQUITABLE RELIEF
      Case
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                   1 Studio City, and elsewhere and to fund business entities, including the Entity
                   2 Defendants, in furtherance of the Khrapunov Racketeering Enterprise, knowing
                   3 that such funds were stolen from the people of Almaty and with the intent of
                   4 concealing the source of those funds.
                   5            179. Defendants further engaged and conspired to engage in money
                   6 laundering in violation of 18 U.S.C. § 1956 by transporting, transmitting, and/or
                   7 transferring funds stolen from the people of Almaty and laundered through various
                   8 off-shore accounts and entities into and within the United States in order to, among
                   9 other things, purchase real estate and assets in Beverly Hills, Studio City, and
              10 elsewhere and to fund business entities, including the Entity Defendants, in
              11 furtherance of the Khrapunov Racketeering Enterprise, knowing that such funds
              12 were stolen from the people of Almaty and with the intent of concealing the source
              13 of those funds.
              14                180. Defendants further engaged and conspired to engage in money
              15 laundering in violation of 18 U.S.C. § 1956 by conducting financial transactions
              16 using those stolen funds by, among other things, using stolen funds laundered
              17 through various off-shore accounts and entities to purchase real estate and other
              18 assets in Beverly Hills, Studio City, and elsewhere and to fund business entities,
              19 including the Entity Defendants, in furtherance of the Khrapunov Racketeering
              20 Enterprise, knowing that such funds were stolen from the people of Almaty and
              21 with the intent of concealing the source of those funds.
              22                181. Defendants engaged and conspired to engage in money transactions in
              23 property derived from specified unlawful activity in violation of 18 U.S.C. § 1957
              24 by, among other things, knowingly transferring funds in excess of $10,000 stolen
              25 from Almaty into and within the United States via United States financial
              26 institutions to purchase real estate and other assets in Beverly Hills, Studio City,
              27 and elsewhere and to fund business entities, including the Entity Defendants,
              28
                       US-DOCS\91976251.11                                CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                    45          FOR DAMAGES, INJUNCTIVE RELIEF
                                                                                AND OTHER EQUITABLE RELIEF
      Case
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                   1 knowing that such funds were derived from and traceable to funds stolen from the
                   2 people of Almaty.
                   3            182. Defendants engaged and conspired to engage in the foreign transport
                   4 of stolen money or property known to be stolen, converted or taken by fraud in
                   5 violation of 18 U.S.C. § 2314 by transferring funds derived from and traceable to
                   6 funds stolen from the people of Almaty into and within the United States, in excess
                   7 of $5,000, knowing those funds to have been stolen from the people of Almaty
                   8 and/or obtained from the people of Almaty by means of false or fraudulent
                   9 pretenses, representations, or promises by, among other things, transferring such
              10 funds from bank accounts in Switzerland into the United States via United States
              11 financial institutions and using those funds to purchase real estate and other assets
              12 in Beverly Hills, Studio City, and elsewhere and to fund business entities,
              13 including the Entity Defendants.
              14                183. Defendants, and each of them, conspired with each other and with
              15 others to commit the violations of U.S. law described herein, and one or more of
              16 the Defendants or their co-conspirators acted to violate such laws. Defendants, and
              17 each of them, thus also violated 18 U.S.C. § 371.
              18                184. Defendants engaged and conspired to engage in mail fraud in
              19 violation of 18 U.S.C. § 1341 and wire fraud in violation of 18 U.S.C. § 1343 by
              20 knowingly using the United States mails and wires to transfer illegally obtained
              21 funds into and within the United States, for the purpose of furthering the
              22 Khrapunov Racketeering Enterprise and, while concealing the funds’ illegal
              23 source, used those funds to purchase real estate in Beverly Hills and Studio City,
              24 California and to fund business entities, including the Entity Defendants, to enable
              25 those entities to conduct business in the United States using the illegally-obtained
              26 funds.
              27                185. Defendants engaged and conspired to engage in the above violations
              28 of U.S. law in order to implement the objectives and accomplish the unlawful
                       US-DOCS\91976251.11                                 CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                    46           FOR DAMAGES, INJUNCTIVE RELIEF
                                                                                 AND OTHER EQUITABLE RELIEF
      Case
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                   1 purposes of the Khrapunov Racketeering Enterprise as set forth herein, and thereby
                   2 engaged in predicate acts of racketeering within the meaning of 18 U.S.C. §
                   3 1961(1)(B).
                   4            186. Furthermore, each Defendant received income derived directly or
                   5 indirectly from a pattern of racketeering in which each of said Defendants
                   6 participated as a principal within the meaning of 18 U.S.C. § 2.
                   7            187. During the period commencing in or about 1997 and continuing to the
                   8 present, the Defendants, having received income derived, directly or indirectly,
                   9 from a pattern of racketeering activity, used or invested, directly or indirectly, in
              10 violation of 18 U.S.C. § 1962(a), income or the proceeds of income from said
              11 illegal racketeering activity in the acquisition of an interest in, or the establishment
              12 or operation of the Khrapunov Racketeering Enterprise or one or more affiliated
              13 entities, including without limitation, the Entity Defendants. Said uses and
              14 investments in enterprises affecting interstate or foreign commerce include without
              15 limitation the uses and investments described herein.
              16                188. In so doing, Defendants unlawfully, willfully, and knowingly did
              17 combine, conspire, confederate, and agree together, with each other and with
              18 others to commit RICO violations under 18 U.S.C. § 1962(c) and, thereby, violated
              19 18 U.S.C. § 1962(d). In furtherance of the conspiracy and to effect the objects
              20 thereof, Defendants and their co-conspirators committed in the Central District of
              21 California and elsewhere the overt acts as described herein, among others.
              22                189. As a direct and proximate result of RICO violations by the Defendants
              23 of 18 U.S.C. § 1962(a) and/or 18 U.S.C. § 1962(d), Almaty has suffered damages
              24 in an amount to be determined at trial and presently estimated to be not less than
              25 $300 million. Almaty has been injured in its business or property by reason of
              26 each such Defendant’s violations in that financial assets stolen or otherwise
              27 diverted from and thereby lost to Almaty have been used and invested, directly or
              28 indirectly, to acquire an interest in and to establish and operate numerous
                       US-DOCS\91976251.11                                 CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                    47           FOR DAMAGES, INJUNCTIVE RELIEF
                                                                                 AND OTHER EQUITABLE RELIEF
      Case
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                   1 enterprises affecting interstate or foreign commerce without benefit to Almaty or
                   2 its people. Accordingly, pursuant to the civil remedy provisions of 18 U.S.C. §
                   3 1964(c), Almaty is entitled to recover threefold the damages it has suffered,
                   4 together with its costs of suit and reasonable attorneys’ fees.
                   5                               THIRD CLAIM FOR RELIEF
                   6                         (For Breach of Fiduciary Duty against Viktor)
                   7            190. Almaty hereby incorporates by reference the allegations in paragraphs
                   8 1 through 189, as though fully set forth herein.
                   9            191. As alleged above, Viktor owed a fiduciary duty to Almaty and its
              10 people to hold and control the assets of the Almaty government for the benefit of
              11 Almaty and its people, and not for his personal benefit or the personal benefit of
              12 his relatives, associates, and accomplices.
              13                192. By engaging in the acts alleged above, Viktor breached his fiduciary
              14 duty to Almaty and its people. As a direct and proximate result of such breaches,
              15 Almaty has suffered damages in an amount to be determined at trial and presently
              16 estimated to be not less than $300 million.
              17                193. In committing the acts and perpetrating the schemes alleged herein,
              18 Viktor intended to injure Almaty and acted with malice and oppression and with a
              19 willful and conscious disregard for the rights of Almaty and its people. In so
              20 doing, Viktor has acted toward Almaty and its people in such manner as to warrant
              21 disgorgement of his uses and investments of Almaty’s money and property
              22 together with an award of punitive and exemplary damages in an amount no less
              23 than $300 million.
              24                                  FOURTH CLAIM FOR RELIEF
              25                  (For Conversion and Conspiracy to Convert against all Defendants)
              26                194. Almaty hereby incorporates by reference the allegations in paragraphs
              27 1 through 193, as though fully set forth herein.
              28
                       US-DOCS\91976251.11                                  CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                      48          FOR DAMAGES, INJUNCTIVE RELIEF
                                                                                  AND OTHER EQUITABLE RELIEF
      Case
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                   1            195. Defendants, and each of them, have wrongfully converted, aided and
                   2 abetted, and caused to be converted, to their own use, and that of their friends,
                   3 families, associates, and accomplices, money, funds, and property belonging to
                   4 Almaty and its people. Such conversions have been for the benefit of the
                   5 Defendants and their friends, families, associates, and accomplices, and to the
                   6 detriment of the true owners of the property, Almaty and its people. Such acts of
                   7 conversion include the acts alleged herein.
                   8            196. Defendants unlawfully, willfully, and knowingly did combine,
                   9 conspire, confederate, and agree together, with each other, and with others to
              10 convert money, funds, and property belonging to Almaty and its people to their
              11 own use, and that of their friends, families, associates, and accomplices. In
              12 furtherance of the conspiracy and to affect the objects thereof, Defendants
              13 committed the overt acts, among others, referenced above.
              14                197. As a direct and proximate result of these acts of conversion by
              15 Defendants, Almaty has suffered damages in an amount to be determined at trial,
              16 and presently estimated to be not less than $300 million.
              17                198. In committing the acts and perpetrating the schemes alleged herein,
              18 Defendants intended to injure Almaty and acted with malice and oppression and
              19 with a willful and conscious disregard for the rights of Almaty and its people. In
              20 so doing, Defendants acted toward Almaty and its people in such manner as to
              21 warrant disgorgement of their uses and investments of Almaty’s money and
              22 property together with an award of punitive and exemplary damages in an amount
              23 no less than $300 million.
              24                                  FIFTH CLAIM FOR RELIEF
              25             (For Fraud and Deceit and Conspiracy to Defraud against Viktor and Leila)
              26                199. Almaty hereby incorporates by reference the allegations in paragraphs
              27 1 through 198, as though fully set forth herein.
              28
                       US-DOCS\91976251.11                                  CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                     49           FOR DAMAGES, INJUNCTIVE RELIEF
                                                                                  AND OTHER EQUITABLE RELIEF
      Case
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                   1            200. In the course of conducting and participating in the conduct of the
                   2 affairs of the Khrapunov Racketeering Enterprise, Viktor and Leila made
                   3 representations to Almaty and others, which representations were false and
                   4 necessary to implement the unlawful looting, laundering, investment and
                   5 obstruction schemes described above.
                   6            201. As set forth above, Viktor, who owed a fiduciary duty to Almaty, and
                   7 Leila failed to disclose and otherwise concealed facts from Almaty and others, the
                   8 disclosure of which was necessary to make the representations made by them to
                   9 Almaty not materially misleading. Viktor and Leila knew that said facts were not
              10 being disclosed and were material, and they intended by concealment of these facts
              11 to facilitate continuation of their unlawful diversion of assets belonging to Almaty
              12 and its people.
              13                202. Almaty relied to its detriment on the representations of integrity by
              14 Viktor and Leila. Viktor and Leila flagrantly breached the trust and confidence of
              15 Almaty by committing numerous acts of fraud, deceit, conversion, and
              16 racketeering alleged herein, through which they plundered the assets of Almaty.
              17                203. In the course of developing their elaborate scheme to defraud, Viktor
              18 and Leila secured the assistance, among others, of associates and accomplices, who
              19 with Viktor and Leila unlawfully, willfully and knowingly did combine, conspire,
              20 confederate, and agree together, with each other and with others to facilitate, aid
              21 and abet, and conceal the scheme and artifice to defraud, and to obtain money and
              22 property by false representations and promises, thereby enabling the massive
              23 diversions and concealment of looted funds identified in this Complaint.
              24                204. As a direct and proximate result of the foregoing fraudulent conduct
              25 and conspiracy to defraud, Almaty has suffered damages in an amount to be
              26 determined at trial, and presently estimated to be not less than $300 million.
              27                205. In committing the acts and perpetrating the schemes alleged herein,
              28 Viktor and Leila intended to injure Almaty and acted with malice and oppression
                       US-DOCS\91976251.11                                   CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                      50           FOR DAMAGES, INJUNCTIVE RELIEF
                                                                                   AND OTHER EQUITABLE RELIEF
      Case
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                   1 and with a willful and conscious disregard for the rights of Almaty and its people.
                   2 In so doing, Defendants acted toward Almaty and its people in such manner as to
                   3 warrant disgorgement of their uses and investments of Almaty’s money and
                   4 property together with an award of punitive and exemplary damages in an amount
                   5 no less than $300 million.
                   6                              SIXTH CLAIM FOR RELIEF
                   7    (For an Accounting, Imposition of a Constructive Trust and Equitable Lien against
                   8                                      all Defendants)
                   9            206. Almaty hereby incorporates by reference the allegations in paragraphs
              10 1 through 205, as though fully set forth herein.
              11                207. During Viktor’s mayoralty of Almaty, he, acting as mayor, controlled
              12 virtually all of the valuable assets of the Almaty government. These assets
              13 included money and real and personal property owned by the Almaty government,
              14 the right to convey, for the benefit of the people of Almaty, real and personal
              15 property owned by the Almaty government, and the right to decide who could do
              16 business in Almaty through the granting of licenses, concessions, and permits.
              17 Viktor further was entrusted with the ability to cause privately owned property to
              18 be seized by the Almaty government, purportedly for the benefit of Almaty and its
              19 people.
              20                208. Viktor owed a fiduciary duty to Almaty and its people to hold and
              21 control these assets for the benefit of Almaty and its people, and not for his
              22 personal benefit or the personal benefit of his friends, families, associates, and
              23 accomplices. As alleged above, Viktor, aided and abetted by the other Defendants
              24 and co-conspirators, converted the assets of the Almaty government to his personal
              25 benefit and the personal benefit of his friends, families, associates, and
              26 accomplices. They did so by looting money and property owned by the Almaty
              27 government and/or by private parties and by accepting bribes, kickbacks,
              28 gratuities, and commissions in exchange for the granting of the legal right to do
                       US-DOCS\91976251.11                                  CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                    51            FOR DAMAGES, INJUNCTIVE RELIEF
                                                                                  AND OTHER EQUITABLE RELIEF
      Case
    Case   8:20-mc-00126-DOC-DFM
         2:14-cv-03650-FMO-CW     Document
                               Document 144 1-4
                                             FiledFiled 12/02/20
                                                    08/21/17     Page
                                                              Page     7154
                                                                   53 of  of 149
                                                                             PagePage  ID
                                                                                  ID #:6743
                                          #:216

                   1 business in Almaty. All such conversions of assets were done in violation of
                   2 Viktor’s duties to the beneficial owners of such assets, Almaty and its people. If
                   3 Viktor or the other Defendants are permitted to retain these assets, they will be
                   4 unjustly enriched at Almaty’s expense.
                   5            209. Defendants other than Viktor received money and property stolen
                   6 from the Almaty government by Viktor and other economic benefits taken or
                   7 conferred upon them by Viktor in violation of his fiduciary duty. These
                   8 Defendants received such money, property, and other economic benefits without
                   9 giving value for them or with notice to Almaty that such assets had been stolen or
              10 otherwise acquired in violation of Viktor’s duties to Almaty and its people. If
              11 these Defendants are permitted to retain such assets, they will be unjustly enriched
              12 at Almaty’s expense.
              13                210. As a result of the foregoing, Almaty is entitled to an accounting by
              14 each of the Defendants of all real and personal property held, acquired, or disposed
              15 of by them at any time since 1997.
              16                211. As a result of the foregoing, Almaty is entitled to an imposition of a
              17 constructive trust for the benefit of Almaty over all monies or assets belonging to
              18 Almaty currently held or controlled by Defendants and Almaty is further entitled to
              19 an equitable lien upon all real and personal property of Defendants, wherever
              20 located worldwide.
              21                212. Defendants regularly misused and continue to misuse the corporate
              22 and other forms of business organization as a cloak for committing fraud and as a
              23 means of perpetrating injustice. By reason of the elaborate and fraudulent schemes
              24 used by Defendants to conceal transfers of stolen money and property and to
              25 conceal ownership of Defendants’ assets, it would be unjust and inequitable to
              26 require Almaty to trace the source of money used to acquire specific assets, or to
              27 prove that specific assets were acquired with money or property stolen from
              28 Almaty. Instead, the burden should be shifted to Defendants to prove that they had
                       US-DOCS\91976251.11                                   CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                      52           FOR DAMAGES, INJUNCTIVE RELIEF
                                                                                   AND OTHER EQUITABLE RELIEF
      Case
    Case   8:20-mc-00126-DOC-DFM
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                                                              Page     7254
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                                                                                  ID #:6744
                                          #:217

                   1 sources of income other than the unlawful looting and investment schemes
                   2 described herein, and to prove that particular assets were acquired by them with
                   3 such independent, lawful income.
                   4                                              PRAYER
                   5            WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
                   6            A.       For compensatory damages;
                   7            B.       For treble damages;
                   8            C.       For punitive damages;
                   9            D.       For prejudgment interest;
              10                E.       For a constructive trust;
              11                F.       For an accounting;
              12                G.       For injunctive relief;
              13                H.       For disgorgement;
              14                I.       For all costs and fees incurred in prosecuting this Complaint; and
              15                J.       For such other and further relief as this Court deems just and proper.
              16                                              JURY DEMAND
              17                Pursuant to Rule 38 of the Federal Rules of Civil Procedure and Civil L.R.
              18 38-1, Plaintiff hereby demands a trial by jury.
              19 Dated: August 21, 2017                                    LATHAM & WATKINS LLP
              20
                                                                           By: /s/ David J. Schindler___
              21                                                              David J. Schindler
                                                                              Julie R. F. Gerchik
              22                                                              Kendall M. Howes
              23                                                              Attorneys for Plaintiff
                                                                              The City of Almaty
              24
              25
              26
              27
              28
                       US-DOCS\91976251.11                                       CONSOLIDATED AMENDED COMPLAINT
ATTORNEYS AT LAW
  LOS ANGELES                                                         53            FOR DAMAGES, INJUNCTIVE RELIEF
                                                                                       AND OTHER EQUITABLE RELIEF
Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 73 of 149 Page ID
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                      Exhibit C
         Case
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                                     CaliforniaDocument      1-4 Filed
                                                Mansion With Abstract         12/02/20
                                                                      Art - Abstract Art Home Page      74 of 149 Page ID
                                                                                              Interior Design
                                                          #:219
                                                                                                      SUBSCRIBE     SIGN IN



   This California Manor Has a Thing for Abstract Art
   Each room is more striking and one-of-a-kind than the last.

   BY LAUREN SMITH MCDONOUGH                           APR 25, 2016




   ZILLOW                                                                                                                   


   When you walk through the halls of this Newport Beach, California mansion, each
   room feels like a different piece of work in an abstract art gallery. The reason it's so
   unique is because Elvira Kud, the homeowner and interior designer at Style Life
   Decor, custom-designed nearly every inch by taking the house down to its
   studs. With seven bedrooms, nine bathrooms, and precisely 7,542-square-feet, she
   had a huge blank canvas to work with.

   From the outside, it looks like any other English manor-style home — well, with the
   exception of the ornate animal statues by the front door. Once you walk inside,
   everything changes. We're talking about a bright green jungle-inspired dining room,
   deer "heads" in every color of the rainbow on the living room walls, and a kitchen
   table and chair set covered in graffiti art. And some of the details are even a bit more



https://www.housebeautiful.com/design-inspiration/house-tours/a6087/california-mansion-abstract-art/                        1/18
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                                                Mansion With Abstract         12/02/20
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                                                                                              Interior Design
                                                          #:220
   personal, like the walls in the teen room covered in Hulk comic book pages (perhaps
   her kiddo has a favorite hero?).

   MORE FROM HOUSE BEAUTIFUL
   Max Humphrey has created the ultimate hang-out zon




   But it's no surprise that Kud's favorite room in the house is the kitchen, which used
   to be three different rooms until she got ahold of it. Now it's a true chef's
   space amenity-wise, and a black and white masterpiece design-wise. The
   black and white subway tile walls, patterned floors, and a marbled countertop work
   surprisingly together seamlessly. Brass finishings add a modern touch to the eclectic
   space, which is big enough to meet any party host's standards.

   Take a look:




https://www.housebeautiful.com/design-inspiration/house-tours/a6087/california-mansion-abstract-art/                        2/18
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   ZILLOW




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                                                                                                                            
   ZILLOW



   Like what you see? Well, prepare yourself: The home will cost you a steep $7.395
   million. But when you consider that it's also a wise investment into your art
   collection, it's so worth it.

   [via Zillow


    LAUREN SMITH MCDONOUGH Senior Editor
    Lauren is a senior editor at Hearst.




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Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 88 of 149 Page ID
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                      Exhibit D
         Case
11/30/2020         8:20-mc-00126-DOC-DFM Document
                                           Bruno Mars1-4   FiledCity12/02/20
                                                     Buys Studio                    Page 89 of 149 Page ID
                                                                     Estate - Variety

___                                               #:234

                                                                                                                $49.99 $89.99




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  H O M E > D I RT > R E A L E S TA L K E R                                                  Dec 29, 2014 11:00am PT



  Bruno Mars Buys Big Studio City Estate
  By Mark David




  View
  Gallery


  BUYER: Bruno Mars
  LOCATION: Studio City, Calif.
  PRICE: $6,500,000
  SIZE: 9,033 square feet, 7 bedrooms, 8 bathrooms




https://variety.com/2014/dirt/real-estalker/bruno-mars-buys-studio-city-estate-1201388860/                                            1/13
         Case
11/30/2020   8:20-mc-00126-DOC-DFM Document         Bruno Mars1-4     FiledCity12/02/20
                                                                Buys Studio                    Page 90 of 149 Page ID
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                                                            #:235
  YOUR MAMA’S NOTES: Thanks to an entirely unexpected but certainly most welcomed Christmas Day communique
  from tireless real estate yenta Yolanda Yakketyyak, Your Mama learned that wildly popular singer-songwriter-
  choreographer and budding voice actor Bruno Mars recently made an under-the-radar, $6.5 million acquisition — via
  an opaque corporate entity — of a private, multi-acre estate in a discreet gated enclave in the heavily celebri ed
  Fryman Canyon area of Studio City, Calif.

  The famously fancy-footed, two-time Grammy winner purchased the property, as per public records, from Elvira
  Kudryashova, a young gal otherwise known as the daughter of immensely rich and allegedly shady Kazakh oligarch
  Viktor Khrapunov. Miz Kudryashova, who apparently goes by at least a couple other names, purchased the property,
  along with a man who we’ll just assume without any direct knowledge is or was her husband, in July 2013 for $5.7
  million and ipped it back on the market just eight months later with an optimistic asking price of $7.787 million.

                                                              A D V E RT I S E M E N T




  Related Stories

                        VIP
                        Twitter “Fleets” Meet Tepid Early Reception: Survey




                        ‘All Arts Organizations Are Media Companies Now’: How the Pandemic Is Transforming Theater




  A long, hedge-lined and tree-shaded driveway leads up from the gated cul-de-sac to a roomy motor court and a front-
  facing, three-bay garage that will shelter six cars, per digital marketing materials. A double-height rotunda entry links
  to generous formal living and dining rooms done up for the seller by and unnamed “European interior designer” with
  a brazen and unrestrained thing for jewel-toned furnishings and intricately patterned wallpaper set off against
  intricately patterned rugs and intricately patterned window treatments. It’s really quite something, ain’t it, kids?

  Anyhoodles, poodles, the sprawling manse also includes a wood-paneled of ce, a spacious family room with
  muscular coffered ceiling treatment and built-in bar; a temperature controlled wine room; and a center-island
  kitchen and an adjoining breakfast room lined with a curving wall of glass doors that open to the poolside
  entertainment areas.

  A discrete guest wing has four en suite bedrooms, according to the listing description, and a separate a children’s
  wing offers two more en suite bedrooms plus a children’s family room and kitchenette. The sizable master suite is
  complete with a replace regrettably set a sad, cock-eyed angle just a little too close to the bed for this property
  gossip’s personal taste, as well as a private of ce/sitting room, a kitchenette/coffee bar, dual walk-in closets and a pair
  of bathrooms decked out with both steam and dry saunas.

  The backyard has over the shrubbery and roof top views over the San Fernando Valley and resort-style amenities that
  include an in nity-edged swimming pool and spa, a built-in grill station and outdoor kitchen, and children’s

https://variety.com/2014/dirt/real-estalker/bruno-mars-buys-studio-city-estate-1201388860/                                      2/13
         Case
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                                                                  Buys Studio                    Page 91 of 149 Page ID
                                                                                  Estate - Variety
                                                              #:236
  playground, and an open-air cabana with stone replace and built-in heaters.

  Fryman Canyon, at the northern mouth of Laurel Canyon, has long been a draw to a slew of Tinseltowners such as
  George Clooney, Teri Hatcher, Alex Trebek and “Modern Family” star Julie Bowen; other residents of Mister Mars’ itty-
  bitty gated enclave include sitcom veteran and famous ex-Scientologist Leah Remini and lm and television
  soundtrack guru Kathy Nelson.

                                                              A D V E RT I S E M E N T




             Top Videos
             by Variety




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        'Time' Director Garrett
        Bradley on Variety's Doc...
                                                                                                                           SKIP AD




  Our research shows Mister Mars continues to own a 4,000-square-foot-plus, modern-minded quasi-Hollywood
  Regency-style residence above Laurel Canyon that he scooped up over the summer of 2012 for $3.254 million. Mister
  Mars also continues to own a 4,300-square-foot-plus home in the af uent eastern suburbs of Honolulu that he bought
  from the heir to a rearms fortune in early 2012 for $3.1 million and, coincidentally enough, had listed on the open
  market late in 2013 and for a good part of this year, rst at $3.5 million and later at $3.35 million.

  Listing photos: Hilton & Hyland (via Zillow)


                                                                     COMMENTS




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                                                    MORE FROM VARIETY


https://variety.com/2014/dirt/real-estalker/bruno-mars-buys-studio-city-estate-1201388860/                                           3/13
Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 92 of 149 Page ID
                                 #:237




                       Exhibit E
         Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 93 of 149 Page ID
Application Notice                        #:238In the		     High Court of Justice
                                                                                                          Queen’s Bench Division
   • You must complete Parts A and B, and Part C                                                          Commercial Court
     if applicable                                                                                        Royal Courts of Justice
   • Send any relevant fee and the completed                                                               Claim No. CL-2015-000549
                                                                                     Claim No.
     application notice to the court with any draft order,
     witness statement or other evidence                                             Warrant no.
                                                                                     (if applicable)
   • It is for you (and not the court) to serve this
     application notice                                                              Claimant(s)            JSC BTA Bank
                                                                                     (including ref.)



               You should provide this information
                    for listing the application
  Time estimate		            2    (hours)		            (mins)

  Is this agreed by all parties?              Yes X No
                                                                                     Defendant(s)          (1) MUKHTAR ABLYAZOV; (2) ILYAS
  Please always refer to the Commercial Court Guide for                              (including ref.)      KHRAPUNOV (Defendants)
  details of how applications should be prepared and will                                                   (3) BULAT UTEMURATOV; (4) ELVIRA
  be heard, or in a small number of exceptional cases can                                                  KUDRYASHOVA; (5) CHRISTOPHE
  be dealt with on paper.                                                                                  KOSMAN; (6) XAVIER DE SARRAU; (7)
                                                                                                           VERNY CAPITAL JSC; (8) PANOLOS
                                                                                                           LIMITED; (9) DARELIA LIMITED; (10)
                                                                                                           JANUS SARL; (11) VILDER COMPANY SA
                                                                                                           (12) CROWNWAY LIMITED (intended
                                                                                                           defendants)

                                                                                     Date                  12 November 2020
               Part A



         The Claimant intends to apply for the following orders (drafts of which are attached):

         (a)     an order that the stay of these proceedings ordered by Mr Justice Baker on 28 September 2018 shall be
         lifted;

        (b)    permission to add the following parties to the proceedings as Defendants: Bulat Utemuratov; Elvira
        Kudryashova; Christophe Kosman; Xavier de Sarrau; Verny Capital JSC; Panolos Limited; Darelia Limited;
        Janus SARL; Vilder Company SA; Crownway Limited (the “Further Defendants”);

         (c)       permission to re-amend the Claim Form in accordance with the draft attached to this application notice;

        (d)     a freezing order and an order for disclosure of assets by affidavit against the Third, Fourth, Seventh,
        Eighth, Ninth, Tenth, Eleventh and Twelfth Further Defendants;

         (e)     permission to serve the Further Defendants out of the jurisdiction as set out in the attached draft order
         at paragraph 4; and

         (f)     permission to serve the Further Defendants by alternative service as set out in the attached draft order
         at paragraphs 5-6,


         for the reasons set out in the attached first affidavits of Rifat Anvarovich Samigullin and of Masoud Zabeti both
         dated 12 November 2020.


The court office at the Admiralty and Commercial Registry, The Rolls Building, 7 Rolls Building, Fetter Lane, London, EC2A 1NL is open from 10am to 4.30pm Monday to
Friday. When corresponding with the court please address forms or letters to the Clerk to the Commercial Court and quote the claim number.

N244(CC) Application Notice (04.14)                                                                                                          © Crown copyright 2014
         Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 94 of 149 Page ID
                                          #:239
                Part B

                *(The claimant)(The defendant)(1) wishes to rely on: tick one

                the attached (witness statement)(affidavit) X             (the claimant)(the defendant)’s(1) statement of case

                evidence in Part C overleaf in support of this application


                Signed					                                         Position or
                                                                    office held
                          (Applicant) (’s legal representative)     (if signing on
                                                                    behalf of firm,
                                                                    company or
                                                                    corporation)




4. If you are   Address to which documents about this claim should be sent (including reference if appropriate)(4)
not already a
party to the                                                                                         If applicable
proceedings,     Greenberg Traurig LLP
you must         The Shard, Level 8                                        Tel. no.    020 3349 8700
provide an       32 London Bridge Street
address for
                 London
service of                                                                 Fax no.
documents
                                                                                      144373 SOUTHWARK 4
                                                                           DX no.
                                                     SE1 9SG
                                         Postcode                          e-mail
 Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 95 of 149 Page ID
                                  #:240
Part C                                           Claim No.

(Note: Part C should only be used where it is convenient to enter here the evidence in support of
the application, rather than to use witness statements or affidavits)

*(The claimant)(The defendant)(1) wishes to rely on the following evidence in support of this application:




                                                                                  Statement of Truth

  *(I believe)(The applicant believes) that the facts stated in this application notice are true

  *I am duly authorised by the applicant to sign this statement



  Full name...................................................................................................................................................


  Name of*(Applicant)(’s litigation friend)(’s legal representative)............................................................................

  ......................................................................................................................................................................



  Signed					                                                                           Position or
                                                                                        office held
                    *(Applicant)(’s legal representative)                               (if signing on
                                                                                        behalf of firm,
                                                                                        company or
                                                                                        corporation)



  *delete as appropriate                                                                Date
Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 96 of 149 Page ID
                                 #:241




                       Exhibit F
          Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 97 of 149 Page ID
                                           #:242      In the High Court of Justice
                                                             Queen’s Bench Division
                                                             Commercial Court
                            Claim Form                       Royal Courts of Justice
                                                                                                                                        for court use only

      Name and address of Defendant receiving this claim form                                      Claim no.                        CL-2015-000549

                                                                                                   Issue date
                                                                                                                                       17 July 2015

     Claimant

              JSC BTA BANK
              97 Zholdasbekova
              Samal-2
              Almaty 05001
              Kazakhstan
                                                                                                                                       SEAL
     Defendant(s)

              (1) Mukhtar Ablyazov




              (2) Ilyas Khrapunov
              (3) Bulat Utemuratov
              (4) Elvira Kudryashova
              (5) Christophe Kosman
              (6) Xavier de Sarrau
              (7) Verny Capital JSC
              (8) Panolos Limited
              (9) Darelia Limited
              (10) Janus SARL
              (11) Vilder Company SA
              (12) Crownway Limited

              See further Schedule 1 attached




                                                                                                                                                     £
                                                                                            Amount claimed
                                                                                            Court fee
                                                                                            Legal representative’s costs
                                                                                                                Total amount


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Monday to Friday. When corresponding with the court, please address forms or letters to the Court Manager and quote the claim number.
N1(CC) Claim form (CPR Part 7) (04.14)                                                                                                          © Crown copyright 2014
      Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 98 of 149 Page ID
                                       #:243
                                                                                    Claim No.

Brief details of claim

This claim is for:

(1)     an injunction restraining further acts in furtherance of conspiracy;

(2)     damages;

(2A) relief under section 423 of the Insolvency Act 1986;

(2B) declarations concerning any assets they hold as nominees for the First and/or Second Defendants and orders for
payment;

(3)     interest on any sums due to it at such rate and for such period as the Court thinks fit pursuant to section 35A of
        the Senior Courts Act 1981;

(4)     such further or other relief as the Court deems appropriate; and

(5)     costs

Amended Particulars of Claim attached.

(SEE CONTINUATION SHEET)




 Statement of Truth
 * The claimant believes that the facts stated in this claim form are true. I understand that
 proceedings for contempt of court may be brought against anyone who makes, or causes to be
 made, a false statement in a document verified by a statement of truth without an honest belief
 in its truth.
 * I am duly authorised by the claimant to sign this statement
 Full name Masoud Zabeti (Greenberg Traurig, LLP)
 Name of *(claimant)(’s legal representative’s firm)


 Claimant’s legal                                             (if signing on behalf of firm, company or corporation)
 representative


                                                               Claimant’s or legal representative’s address
                                                               to which documents or payments should be
                                                               sent if different from overleaf including (if
                                                               appropriate) details of DX, fax or e-mail.
Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 99 of 149 Page ID
                       SCHEDULE 1 – DEFENDANTS
                                      #:244


(1) Mukhtar Ablyazov




(2) Ilyas Khrapunov




(3) Bulat Utemuratov




(4) Elvira Kudryashova
    Ant Hill ShopNplay
    1800 Newport Blvd
    Costa Mesa
    CA 92627
    United States

(5) Christophe Kosman




(6) Xavier de Sarrau
    Gordon S Blair




(7) Verny Capital JSC
    Talan Towers
    16 Dostyk Street
    010000
    Nur-Sultan
    Kazakhstan

(8) Panolos Limited
    Trust House
    112 Bonadie Street
    Kingstown
    St Vincent
Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 100 of 149 Page ID
(9) Darelia Limited                   #:245
    Maples Corporate Services Limited
    PO Box 309
    Ugland House
    Grand Cayman
    KY KY1-1104

(10)   Janus SARL
       Le Panorama
       57 Rue Grimaldi
       Monaco

(11)   Vilder Company SA
       53 E Street
       Urbanization Marbella
       MMG Tower
       16th Floor
       Panama City
       Republic of Panama

(12)   Crownway Limited
       Accord Consulting Inc
       1 Mapp Street
       Belize City
       Belize
 Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 101 of 149 Page ID
                                   #:246
                      BRIEF DETAILS OF CLAIM – CONTINUATION SHEET

Between around 2005 and 2009, the First Defendant, who was the majority shareholder and chairman of
the Claimant, misappropriated from it sums estimated at over US$6 billion.

Starting in August 2009, the Claimant commenced a number of sets of proceedings against the First
Defendant and from August 2009 sought and obtained worldwide freezing orders against him and from
August 2010 sought and obtained receivership orders which ultimately covered 1000 companies and other
assets believed to be beneficially owned by him. These proceedings ultimately resulted in judgments for
sums in excess of US$4.6 billion and freezing and receivership orders over approximately 1000 companies.

In 2015, the Claimant commenced these proceedings against the Second Defendant and obtained judgment
in relation to parts of its claim for the sum of US$499.9 million under an order dated 21 June 2018.

In about 2009, the First and Second Defendant entered into a combination or understanding with each other
with the intention to injure or cause financial loss to the Claimant (by hindering or preventing the Claimant
from recovering the monies that the First Defendant had misappropriated from it) by the use of unlawful
measures and/or reached an understanding to embark upon concerted action with an intention to use
unlawful means to injure the Claimant and as a consequence loss and damage has been caused to the
Claimant.

On dates unknown (but by the latest 2016) each of the Third to Twelfth Defendants joined in that
combination and/or understanding and/or reached an understanding to embark on concerted action with the
same intention to injure or cause financial loss to the Claimant (by hindering or preventing the Claimant
from recovering the monies that the First Defendant misappropriated from it and in particular to prevent
the Claimant from enforcing the judgments it was seeking to obtain and did subsequently obtain against the
First and/or Second Defendants) by the use of unlawful measures or means and as a consequence loss and
damage to the Claimant has continued. The Defendants (alternatively any two or more of them) combined
to use unlawful means, including the contempt of court orders, the laundering of the proceeds of crime
and/or the entering into of transactions whose purpose was to defraud the Claimant as creditor, with the
intention to injure the Claimant and such unlawful means caused loss and damage to the Claimant, including
damage to the value of the freezing and receivership orders made in its favour and the value of its choses
in action and judgments against the First and Second Defendants and the costs the Claimant has and will
incur in attempting to enforce its judgments against the First and/or Second Defendant. The Defendants are
jointly and severally liable in tort to the Claimant for that loss and damage.

Further or alternatively, the First and/or Second Defendants have entered into transactions with the Second,
Third, Fourth, Seventh, Eighth, Ninth, Tenth, Eleventh and/or Twelfth Defendants at an undervalue for the
purpose of putting their assets beyond reach of the Claimant and/or for the purpose of otherwise prejudicing
the Claimant’s interests as creditor (alternatively, such purpose was one of the purposes of those
transactions). As a result of these transactions the assets of the First and/or Second Defendant (or a
substantial portion of them) have been put beyond reach of the Claimant, with the effect that it has been
prevented from enforcing the judgment debts it holds against the First and/or Second Defendants. The
Claimant therefore seeks orders under section 423 of the Insolvency Act 1986 against the Second, Third,
Fourth, Seventh, Eighth, Ninth, Tenth, Eleventh and/or Twelfth Defendants to restore the position to what
it would have been if the transactions had not been entered into and/or to protect its interests as the victim
of these transactions.
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                                  #:247




                       Exhibit G
Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 103 of 149 Page ID
                                  #:248



                                                         CL-2015-000549
   IN THE HIGH COURT OF JUSTICE

   BUSINESS AND PROPERTY COURTS OF ENGLAND AND WALES

   QUEEN’S BENCH DIVISION

   COMMERCIAL COURT

   IN PRIVATE

   Before: Mr Justice Calver

   13 November 2020

   BETWEEN:


                                JSC BTA BANK
                                                                 Claimant

                                   - and –


                         (1) MUKHTAR ABLYAZOV
                           (2) ILYAS KHRAPUNOV
                          (3) BULAT UTEMURATOV
                        (4) ELVIRA KUDRYASHOVA
                         (5) CHRISTOPHE KOSMAN
                          (6) XAVIER DE SARRAU
                          (7) VERNY CAPITAL JSC
                           (8) PANOLOS LIMITED
                           (9) DARELIA LIMITED
                               (10) JANUS SARL
                         (11) VILDER COMPANY SA
                         (12) CROWNWAY LIMITED

                                                              Defendants




                                   ORDER
Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 104 of 149 Page ID
                                  #:249




   UPON THE CLAIMANT’S APPLICATION BY APPLICATION NOTICE

   AND UPON HEARING LEADING COUNSEL FOR THE CLAIMANT

   IT IS ORDERED THAT:

      1. The Claimant’s new solicitors shall file a notice of change by 4pm on
         20 November 2020 and shall then serve notice of change on the First
         and Second Defendants and the Claimant’s existing solicitors as soon
         as practicable thereafter.

      2. The stay of these proceedings ordered by Mr Justice Baker on 28
         September 2018 shall be lifted.

      3. The Claimant be permitted to add the following parties to the
         proceedings as Defendants:

            a. Bulat Utemuratov;
            b. Elvira Kudryashova;
            c. Christophe Kosman;
            d. Xavier de Sarrau;
            e. Verny Capital JSC;
            f. Panolos Limited;
            g. Darelia Limited;
            h. Janus SARL;
            i. Vilder Company SA;
            j. Crownway Limited.

         “the Further Defendants”.

      4. The Claimant be permitted to re-amend the Claim Form in accordance
         with the draft provided to the Court.

      5. The Claimant be permitted to serve the application notice, this Order,
         the Re-Amended Claim Form, the Re-Amended Particulars of Claim,
         the Freezing Injunction (and all associated papers) and the
         application notice for the return date out of the jurisdiction on the
         Further Defendants as follows:

            a. Bulat Utemuratov in Kazakhstan;
            b. Elvira Kudryashova in the United States of America;
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                                  #:250



           c. Christophe Kosman in Monaco;
           d. Xavier de Sarrau in Monaco;
           e. Verny Capital JSC in Kazakhstan;
           f. Panolos Limited in St Vincents and the Grenadines;
           g. Darelia Limited in the Cayman Islands;
           h. Janus SARL in Monaco;
           i. Vilder Company SA in Panama;
           j. Crownway Limited in Belize.

      6. The Claimant be permitted pursuant to CPR 6.15 and 6.27 to serve:
            a. The application notice, this Order, the Freezing Injunction (and
               all associated papers) and the application notice for the return
               date on the Further Defendants by alternative service in
               accordance with paragraph 7 below.
            b. The Re-Amended Claim Form and the Re-Amended Particulars
               of Claim on the Further Defendants (apart from the Fifth and
               Sixth Defendants) by alternative service in accordance with
               paragraph 7 below.
      7. The forms of alternative service permitted in relation to the Further
         Defendants are as follows:
           a. Bulat Utemuratov: by hand to the Bulat Utemuratov Foundation
              at 77 Kunayev Street, Park View BC, Almaty, Kazakhstan or by
              email to office@utemuratovfund.org

           b. Elvira Kudryashova: by hand at Ant Hill ShopNplay 1800
              Newport Blvd, Costa Mesa, CA 92627, United States or by email
              to elvirakudryashova@me.com

           c. Christophe Kosman: by hand at
                                    or      his       Linked-In   account
              (https://mc.linkedin.com/in/christophe-kosman-600a251)

           d. Xavier de Sarrau: by hand to the office of Gordon S Blair at Gildo
              Pastor Center, 7, Rue du Gabian, BP 449, MC 98011 Monaco or
              his Linked-In account (https://uk.linkedin.com/in/xavier-de-
              sarrau-1403b6158)

           e. Verny Capital JSC: by hand at Talan Towers, 16 Dostyk Street,
              010000,    Nur-Sultan,   Kazakhstan    or    by   email    at
              info@vernycapital.com

           f. Panolos Limited: by hand at Trust House, 112 Bonadie Street,
              Kingstown, St Vincent or by service on Mr Ablyazov
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                                  #:251



            g. Darelia Limited: by hand to Maples Corporate Services Limited
               at PO Box 309, Ugland House, Grand Cayman, KY KY1-1104 or
               by hand to Bulat Utemuratov Foundation at 77 Kunayev Street,
               Park View BC, Almaty, Kazakhstan

            h. Janus SARL: by hand at Le Panorama - 57, rue Grimaldi –
               Monaco or the Bulat Utemuratov Foundation at 77 Kunayev
               Street, Park View BC, Almaty, Kazakhstan

            i. Vilder Company SA: by hand at 53 E Street, Urbanization
               Marbella – MMG Tower 16th Floor, panama, Republic of Panama
               or by email to mg@chabrier.ch

            j. Crownway Limited: by hand at Accord Consulting Inc at 1 Mapp
               Street, Belize City, Belize or by email to dzoulficar@blueline.mg

      8. The Freezing Order shall be deemed served on each Defendant
         immediately upon that Defendant becoming aware that a Freezing
         Order has been made against him/her/it.

      9. The Claim Form and Particulars of Claim shall be deemed served on
         each Defendant on the second business day after the date on which
         the documents are delivered by hand or the relevant electronic
         communication is sent (whichever is earlier).

      10.     Each of the Third, Fourth, Fifth, Sixth, Seventh and Tenth
         Defendants shall:

            a. File an acknowledgment of service or admission within 21 days
               of service of the re-amended Claim Form upon that party;

            b. File a defence within 35 days of service of the Particulars of
               Claim.

      11.      The Eighth Defendant shall:

            a. File an acknowledgment of service or admission within 24 days
               of service of the re-amended Claim Form;

            b. File a defence within 38 days of service of the Particulars of
               Claim.

      12.      The Ninth Defendant shall:

            a. File an acknowledgment of service or admission within 31 days
               of service of the re-amended Claim Form;

            b. File a defence within 45 days of service of the Particulars of
               Claim.
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      13.     The Eleventh Defendant shall:

            a. File an acknowledgment of service or admission within 26 days
               of service of the re-amended Claim Form;

            b. File a defence within 40 days of service of the Particulars of
               Claim.

      14.     The Twelfth Defendant shall:

            a. File an acknowledgment of service or admission within 23 days
               of service of the re-amended Claim Form;

            b. File a defence within 37 days of service of the Particulars of
               Claim.

      15.     Costs Reserved.
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                                  #:253




                       Exhibit H
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                                  #:254



                                                         CL-2015-000549
   IN THE HIGH COURT OF JUSTICE

   BUSINESS AND PROPERTY COURTS OF ENGLAND AND WALES

   QUEEN’S BENCH DIVISION

   COMMERCIAL COURT

   IN PRIVATE

   Before: Mr Justice Calver

   13 November 2020

   BETWEEN:

                                JSC BTA BANK

                                                                 Claimant

                                   - and -

                         (1) MUKHTAR ABLYAZOV

                            (2) ILYAS KHRAPUNOV

                         (3) BULAT UTEMURATOV

                        (4) ELVIRA KUDRYASHOVA

                         (5) CHRISTOPHE KOSMAN

                          (6) XAVIER DE SARRAU

                          (7) VERNY CAPITAL JSC

                           (8) PANALOS LIMITED

                           (9) DARELIA LIMITED

                               (10) JANUS SARL

                         (11) VILDER COMPANY SA
                         (12) CROWNWAY LIMITED

                                                              Defendants


                    WORLDWIDE FREEZING INJUNCTION
Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 110 of 149 Page ID
                                  #:255




                                 PENAL NOTICE

   IF YOU ILYAS KHRAPUNOV DISOBEY THIS ORDER YOU MAY BE
   HELD TO BE IN CONTEMPT OF COURT AND MAY BE IMPRISONED,
   FINED OR HAVE YOUR ASSETS SEIZED.
   ANY OTHER PERSON WHO KNOWS OF THIS ORDER AND DOES
   ANYTHING WHICH HELPS OR PERMITS THE RESPONDENT TO
   BREACH THE TERMS OF THIS ORDER MAY ALSO BE HELD TO BE IN
   CONTEMPT OF COURT AND MAY BE IMPRISONED, FINED OR HAVE
   THEIR ASSETS SEIZED.

   1.   This order is made on 13 November 2020 by Mr Justice Calver on the
        application of JSC BTA BANK (“the Applicant”) against the Second
        Defendant, ILYAS KHRAPUNOV (“the Respondent”). The Judge read
        the Affidavits listed in Schedule A.

   2.   The Worldwide Freezing Order against the Second Defendant, ILYAS
        KHRAPUNOV, made by Mr Justice Teare on 23 March 2016 (as
        attached at Annex A hereto) (“the Freezing Order”) is hereby
        amended so as to add the assets set out below to paragraph 5 of the
        Freezing Order which sets out a list of assets specifically covered by
        the Freezing Injunction in paragraph 3 thereof. The inclusion of these
        assets is without prejudice to the generality on the prohibition in
        paragraph 3 of the Freezing Order. The terms of the Freezing Order
        otherwise remain in full force and effect.

   3.   The prohibition in paragraph 3 of the Freezing Order includes any
        direct or indirect interest of the Second Defendant, ILYAS
        KHRAPUNOV, or the First Defendant, MUKHTAR ABLYAZOV, in the
        following assets:

          (1) Bank accounts in the name of Ilyas Khrapunov with:
              (a) Pictet & SIE with unknown account number(s);
              (b)EFG International Monaco with unknown account
                  number(s);
              (c) CFM Indosuez Monaco with unknown account number(s);
              (d)LGT Bank (Lichtenstein) with unknown account number(s);
              (e) Swiss Banks with unknown account number(s);
              (f) UBS Park Avenue, with account number
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                                  #:256



          (2) The shares in and assets of:

              (a) Vilder Foundation (of which Mr. Khrapunov has previously
                  affirmed he is the sole-beneficiary) and the shares and
                  assets if its subsidiaries including Vilder Company SA, a
                  company incorporated in Panama.

              (b)Swiss Development Group SA (a Swiss company, currently
                 in liquidation, with registered number CHE-113.751.926);

              (c) SDG Capital SA (a Swiss company, currently in liquidation,
                  with registered number CH-660.6.685.008-6) including the
                  shares and assets of its subsidiaries HDP Hotel du Parc;
                  Holding SARL; Mont Pelerin SA; SaaFee Hotels and
                  Residence Development Group SA; Thermal Developments
                  SA; and Thermals Developments 2SA.

   4.   This order was made at a hearing without notice to the Respondent.
        The Respondent has a right to apply to the Court to vary or discharge
        the order—see paragraph 5 below.

   VARIATION OR DISCHARGE OF THIS ORDER

   5.   Anyone served with or notified of this order may apply to the Court at
        any time to vary or discharge this order (or so much of it as affects
        that person), but they must first inform the Applicant’s solicitors. If
        any evidence is to be relied upon in support of the application, the
        substance of it must be communicated in writing to the Applicant’s
        solicitors in advance.

   DISPENSE WITH PERSONAL SERVICE

   6.   For the avoidance of doubt, there is no requirement for the Claimant
        to effect personal service of this order on the Respondent and the
        Claimant will be free to bring contempt proceedings in relation to any
        breach of this order regardless of the fact that personal service was
        not effected.

   SERVICE

   7.   The Claimant be permitted pursuant to CPR 6.27 to serve this Order,
        the Freezing Order against the new Defendants and all associated
        papers on the Second Defendant by alternative service by:
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                                  #:257




        (a) Sending a message to his Facebook account notifying him that
            an order has been made against him by the English Court and
            providing a link to the documents; and

        (b)Delivery by email to Andrew Todd of Solomon & Cramer LLP at
           asolomon@solomoncramer.com.

   8.   Certificates be issued, pursuant to CPR 74.12 and Article 54 of the
        Lugano Convention in relation to this Order. Such certificates shall, as
        appropriate, attach an office copy of the relevant order. The said
        certificates shall be signed by Mr Justice Calver or a Master of the
        Queen’s Bench Division.

   9.   Costs Reserved.
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                                  #:258



       NAME AND ADDRESS OF APPLICANT’S LEGAL
       REPRESENTATIVES

       The Applicant’s legal representatives are—

                Greenberg Traurig, LLP
                Level 8, The Shard
                32 London Bridge Street
                London
                SE1 9SG

                Office Hours: 9:00 AM to 6:00 PM

                Attn: Masoud Zabeti
                T +44 (0) 203 349 8891
                M +44 (0) 781 313 9961
                zabetim@gtlaw.com



   Schedule A – Affidavits

       (1) The (unsworn) First Affidavit of Rifat Anvarovich Samigullin dated
       12 November 2020.

       (2) The (unsworn) First Affidavit of Masoud Zabeti dated 12 November
       2020.
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                                  #:259




                        Exhibit I
Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 115 of 149 Page ID
                                  #:260



                                                          CL-2015-000549
    IN THE HIGH COURT OF JUSTICE

    BUSINESS AND PROPERTY COURTS OF ENGLAND AND WALES

    QUEEN’S BENCH DIVISION

    COMMERCIAL COURT

    IN PRIVATE

    Before: Mr Justice Calver

    BETWEEN:

                                 JSC BTA BANK

                                                                  Claimant

                                  -     and -



                            (1) MUKHTAR ABLYAZOV

                              (2) ILYAS KHRAPUNOV

                            (3) BULAT UTEMURATOV

                           (4) ELVIRA KUDRYASHOVA

                           (5) CHRISTOPHE KOSMAN

                             (6) XAVIER DE SARRAU

                             (7) VERNY CAPITAL JSC

                             (8) PANOLOS LIMITED

                              (9) DARELIA LIMITED

                                (10) JANUS SARL

                            (11) VILDER COMPANY SA
                           (12) CROWNWAY LIMITED

                                                               Defendants


                      WORLDWIDE FREEZING INJUNCTION AND
                             DISCLOSURE ORDER



    LON 579778543v2
Case 8:20-mc-00126-DOC-DFM Document 1-4 Filed 12/02/20 Page 116 of 149 Page ID
                                  #:261




                                PENAL NOTICE

    IF YOU BULAT UTEMURATOV DISOBEY THIS ORDER YOU MAY BE
    HELD TO BE IN CONTEMPT OF COURT AND MAY BE IMPRISONED,
    FINED OR HAVE YOUR ASSETS SEIZED.
    IF YOU ELVIRA KUDRYASHOVA DISOBEY THIS ORDER YOU MAY BE
    HELD TO BE IN CONTEMPT OF COURT AND MAY BE IMPRISONED,
    FINED OR HAVE YOUR ASSETS SEIZED.
    IF YOU VERNY CAPITAL JSC DISOBEY THIS ORDER YOU AND/OR
    YOUR DIRECTORS MAY BE HELD IN CONTEMPT OF COURT, YOU
    MAY BE FINED OR HAVE YOUR ASSETS SEIZED AND YOUR DIRECTORS
    MAY BE IMPRISONED, FINED OR HAVE THEIR ASSETS SEIZED.
    IF YOU PANOLOS LIMITED DISOBEY THIS ORDER YOU AND/OR
    YOUR DIRECTORS MAY BE HELD IN CONTEMPT OF COURT, YOU
    MAY BE FINED OR HAVE YOUR ASSETS SEIZED AND YOUR DIRECTORS
    MAY BE IMPRISONED, FINED OR HAVE THEIR ASSETS SEIZED.
    IF YOU DARELIA LIMITED DISOBEY THIS ORDER YOU AND/OR YOUR
    DIRECTORS MAY BE HELD IN CONTEMPT OF COURT, YOU MAY BE
    FINED OR HAVE YOUR ASSETS SEIZED AND YOUR DIRECTORS MAY BE
    IMPRISONED, FINED OR HAVE THEIR ASSETS SEIZED.
    IF YOU JANUS SARL DISOBEY THIS ORDER YOU AND/OR YOUR
    DIRECTORS MAY BE HELD IN CONTEMPT OF COURT, YOU MAY BE
    FINED OR HAVE YOUR ASSETS SEIZED AND YOUR DIRECTORS MAY BE
    IMPRISONED, FINED OR HAVE THEIR ASSETS SEIZED.
    IF YOU VILDER COMPANY SA DISOBEY THIS ORDER YOU AND/OR
    YOUR DIRECTORS MAY BE HELD IN CONTEMPT OF COURT, YOU
    MAY BE FINED OR HAVE YOUR ASSETS SEIZED AND YOUR DIRECTORS
    MAY BE IMPRISONED, FINED OR HAVE THEIR ASSETS SEIZED.
    IF YOU CROWNWAY LIMITED DISOBEY THIS ORDER YOU AND/OR
    YOUR DIRECTORS MAY BE HELD IN CONTEMPT OF COURT, YOU
    MAY BE FINED OR HAVE YOUR ASSETS SEIZED AND YOUR DIRECTORS
    MAY BE IMPRISONED, FINED OR HAVE THEIR ASSETS SEIZED.
    ANY OTHER PERSON WHO KNOWS OF THIS ORDER AND DOES
    ANYTHING WHICH HELPS OR PERMITS THE RESPONDENT TO
    BREACH THE TERMS OF THIS ORDER MAY ALSO BE HELD TO BE IN
    CONTEMPT OF COURT AND MAY BE IMPRISONED, FINED OR HAVE


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    THEIR ASSETS SEIZED.




    LON 579778543v2
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                                  #:263



    THIS ORDER

    1.    This is a Freezing Injunction made against:

               -      The Third Defendant, BULAT UTEMURATOV

               -      The Fourth Defendant, ELVIRA KUDRYASHOVA

               -      The Seventh Defendant, VERNY CAPITAL JSC

               -      The Eighth Defendant, PANOLOS LIMITED

               -      The Ninth Defendant, DARELIA LIMITED

               -      The Tenth Defendant, JANUS SARL

               -      The Eleventh Defendant, VILDER COMPANY SA

               -      The Twelfth Defendant, CROWNWAY LIMITED

          (“the Respondents”)

          on 13 November 2020 by Mr Justice Calver on the application of JSC
          BTA BANK (“the Applicant”). The Judge read the Affidavits listed in
          Schedule A and accepted the undertakings set out in Schedule B at
          the end of this Order.

    2.    This order was made at a hearing without notice to the Respondent.
          The Respondent has a right to apply to the Court to vary or discharge
          the order—see paragraph 21 below.

    3.    There will be a further hearing in respect of this order on 4 December
          2020 (“the return date” ).

    4.    If there is more than one Respondent— (a) unless otherwise stated,
          references in this order to “the Respondents” mean all of them; and
          (b) this order is effective against any Respondent on whom it is served
          or who is given notice of it.

    FREEZING INJUNCTION

    5.    Until the return date or further order of the Court, each of the
          Respondents must not—



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          (1) remove from England and Wales any of its, her or his assets which
          are in England and Wales; or

          (2) in any way dispose of, deal with or diminish the value of any of its,
          her or his assets whether they are in or outside England and Wales.

          (3) in any way dispose of, deal with or diminish the value of any of
          Mukhtar Ablyazov’s assets or any of Ilyas Khrapunov’s assets whether
          they are in or outside England and Wales.

    6.    In relation to each Respondent, paragraph 5 applies to all of that
          Respondent’s assets and all of Mukhtar Ablyazov’s assets and all of
          Ilyas Khrapunov’s assets whether or not they are in the Respondent’s
          own name or in the name of Mukhtar Ablyazov or Ilyas Khrapunov,
          whether they are solely or jointly owned and whether the Respondent
          or Mukhtar Ablyazov or Ilyas Khrapunov is interested in them legally,
          beneficially or otherwise (which for the avoidance of doubt and without
          limitation includes assets held as nominee or trustee). For the purpose
          of this order each Respondent’s assets, Mukhtar Ablyazov’s assets and
          Ilyas Khrapunov’s assets include any asset which the relevant
          Respondent or Mukhtar Ablyazov or Ilyas Khrapunov has the power,
          directly or indirectly, to dispose of or deal with as if it were its, her or
          his own. Each Respondent, Mukhtar Ablyazov and Ilyas Khrapunov is
          to be regarded as having such power if a third party (which shall
          include any body corporate) holds, controls, deals with or administers
          the asset in accordance with the direct or indirect instructions of the
          relevant person or entity.

    7.    In relation to the Third Defendant, BULAT UTEMURATOV, the
          prohibition in paragraph 5 includes the following assets in particular
          (without prejudice to the generality of that prohibition) —

                  a. The shares in, and/or ownership interest and/or participation
                     interest and/or partnership interest in, and the assets of, the
                     following companies and/ entities, namely:

                        i. Verny Investments Holding LLP (a Kazakhstan entity);

                       ii. The Seventh Defendant, Verny Capital JSC (a Kazakhstan
                           company with registered offices at Talan Towers, 16,
                           Dostyk Street, 010000 Nur-Sultar, Kazakhstan) including
                           the following assets of Verny Capital or its subsidiaries:
                           (i) the blocking stake in KaR-Tel LLP; (ii) the 40% interest
                           in Sky Service LLP; (iii) the interest in Bank Kassa Nova


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                          JSC; and (iv) the businesses trading under the following
                          names, ForteBank, Global Development, The Ritz
                          Carlton, Moscow, The Ritz Carlton, Vienna, The Ritz
                          Carlton, Astana, Rixos Borovoe, Astana Property
                          Management, Sary-Arka airport, RG Gold, 31 Channel, Vi
                          Kazakhstan, InformBuro, Burger King franchise
                          Kazakhstan;

                       iii. Crowell Investments Limited (a Cypriot company with
                            registered number HE115669) and its subsidiaries,
                            including but not limited to, its interest in KaR-Tel LLP;

                       iv. Myrina Services Sarl (a Swiss company with registered
                           number ch-660.0.475.009-5) and its subsidiaries;

                       v. the Thyrea Trust (a Swiss entity);

                       vi. Cannana Limited (a Cypriot company with registered
                           number UN 365622), and its subsidiaries;

                      vii. KEA Holding SA (a Swiss company with registered
                           number CHE-319.336.159), and its subsidiaries;

                      viii. Galaxy SA (a French company with registered number
                            533 332 904), and its subsidiaries;

                       ix. Aureglia Limited (a Hong Kong company with
                           company number 1880340), and its subsidiaries;

                       x. Timberlay SA (a Swiss company with registered number
                          993888);

                       xi. Verny International SA SICAR (a Luxembourg entity with
                           registered number B224479);

                      xii. Notus Sarl (a Luxembourg company with registered
                           number B196106), and its subsidiaries;

                      xiii. Pantech Sarl (a Luxembourg company with registered
                            offices at 1 Rue Hildegard Von Bingen Luxembourg, with
                            universal entity code 2626-7152-1025-6451), and its
                            subsidiaries;

                      xiv. Leria Sarl (a Luxembourg company with company code
                           2271-2899-1860-2774), and its subsidiaries;




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                         xv. Thala SA (a Swiss company with registered number CH-
                             600.5.840.008-5), and its subsidiaries;

                        xvi. the Ninth Defendant, Darelia Limited (a Cayman Islands
                             company with registered number 223996) and its
                             subsidiaries;

                        xvii. the Tenth Defendant, Janus SARL, (a Monaco company
                              with registered offices Le Panorama - 57, rue Grimaldi
                              Monaco) and its subsidiaries, including but not limited,
                              to its 5 percent interest in SAM L'Anse du Portier
                              development in Monaco;

          (b)         the property known as Villa La Carriere, Saint-Jean-Cap-
                      Ferrat France or the net sale money after payment of any
                      mortgages if it has been sold;

          (c)         any money in the following bank accounts in the name of the
                      Third Defendant:
                           i. Bank Account with UBS Geneva with an unknown
                              account number;

                          ii. Bank Account with Credit Suisse Geneva with an
                              unknown account number;

                         iii. Bank Account with EFG International Monaco with an
                              unknown account number;

                         iv. Bank Accounts with Compagnie Monegasque de Banque
                             with an unknown account numbers (Mr Utemuratov is
                             believed to have at least 10 bank accounts with
                             Compagnie Monegasque de Banque);

                          v. Bank Account with DBS Bank HK with account number:
                                       ;

                         vi. Bank Account with DBS Bank HK with account number:


                         vii. Bank Account with DBS Bank HK with account number:
                                        ;

                        viii. Bank Account with DBS Bank HK with account number:
                                        ;

                         ix. Bank Account with DBS Bank HK with account number:
                                       ;


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                          x. Bank Accounts with DBS Bank HK with unknown account
                             numbers; and

                          xi. Bank Accounts with DBS Bank Singapore with unknown
                              account numbers.


          (d)         Money in the following bank accounts over which the Third
                      Defendant is in a position of influence so as to be able to
                      procure the company to receive or make payments as
                      required:

                           i. KEA Holding SA /Tortola Bay Sarl Bank Account with UBS
                              Geneva with account number:                    ;

                          ii. Thala SA Bank Account with LGT Geneva with account
                              number:           ;

                          iii. Crowell Investments Limited Bank Account with UBS
                               Geneva with account number:               ;

                          iv. Notus Sarl Bank Account with Credit Suisse Geneva with
                              account number:                   ;

                          v. Myrina Services Sarl Bank Account with UBS Geneva with
                             an unknown account number;

                          vi. Myrina Services Sarl Bank Account with Credit Suisse
                              with account number:                 ;

                         vii. KEA Holding SA/Tortola Bay Sarl Bank Account with CFM
                              Indosuez with account number:

                        viii. KEA Holding SA/Tortola Bay Sarl Bank Account with HSBC
                              Monaco with account number 3                     (latest
                              intelligence states that this is now the above account
                              with CFM Indosuez);

                          ix. KEA Holding SA/Tortola Bay Sarl Bank Account with
                              Credit Agricole with an unknown account number;

                          x. KEA Holding SA/ Tortola Bay Sarl Bank Account with
                             Compagnie Monegasque de Banque with an unknown
                             account number;

                          xi. Cannana Limited Bank Account with CMB Monaco with
                              account number:                        ;


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                       xii. Crowell Investments Limited Bank Account with CMB
                            Monaco with an unknown account number

                       xiii. Crowell Investments Limited Bank Account with EFG
                             International Monaco with account number:        ;

                       xiv. Galaxy SC Bank Accounts with SMC Monaco, with an
                            unknown account number;

                       xv. Galaxy SC Bank Accounts with Credit Agricole with
                           unknown account numbers (at least two accounts with
                           this bank);

                       xvi. Galaxy SC Bank Accounts with HSBC Monaco, with an
                            unknown account number;

                      xvii. Galaxy SC Bank Accounts with CFM Indosuez Monaco,
                            with an unknown account numbers (at least two
                            accounts with this bank);

                      xviii. Notus Sarl Bank Account with BGL BNP Paribas with
                             account number:               ;

                       xix. Pantech Limited Bank Account with Compagnie
                            Monegasque de Banque with an unknown account
                            number;

                       xx. Timberlay SA Bank Account with Compagnie
                           Monegasque de Banque with an unknown account
                           number;

                       xxi. Tortola Inc. Bank Account with Credit Agricole Monaco,
                            with an unknown account number;

                      xxii. Tortola Corp Bank Account with HSBC Monaco, with an
                            unknown account number;

                      xxiii. KEA Holding SA/Tortola Bay Sarl Bank Account with ICBC
                             Hong Kong with account number:            ;

                      xxiv. Cannana Limited Bank Account with DBS Bank HK with
                            account number:          ;

                      xxv. Cannana Limited Bank Account with DBS Bank HK with
                           account number:               ;

                      xxvi. Cannana Limited Bank Account with DBS Bank HK with
                            unknown account number;


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                       xxvii. Cannana Limited Bank Account with DBS Bank in
                              Singapore;

                      xxviii. Cannana Limited Bank Account with HSBC with account
                              number:                ;

                       xxix. Cannana Limited Bank Account with Bank of East Asia
                             with unknown account number;

                        xxx. Leria Sarl Bank Account with DBS Bank HK with account
                             number:             ;

                       xxxi. Crowell Investments Limited Bank Account with DBS
                             Bank HK with account number:          ;

                       xxxii. Aureglia Limited Bank Account with DBS Bank HK, with
                              unknown account number;

                      xxxiii. Cannana Limited Bank Account with DBS              Bank
                              Singapore with an unknown account number;

                      xxxiv. Pantech Limited Bank Account with National Commercial
                             Bank Cayman Islands, with account number:
                                ;

                       xxxv. Timberlay SA Bank Account with National Commercial
                             Bank Caymans with unknown account number;

                      xxxvi. Notus Sarl Bank Account with Banque de Luxembourg
                             with account number:               ;

                      xxxvii. Thyrea Trust Bank Account with ING Luxembourg, with
                              unknown account number; and

                  xxxviii. Cannana Limited Bank Account with Bank of China, with
                           an unknown account number.

          (e)         any interest under any trust or similar entity including any
                      interest which can arise by virtue of the exercise of any power
                      of appointment, discretion or otherwise howsoever.

    8.    In relation to the Fourth Defendant, ELVIRA KUDRYASHOVA, the
          prohibition in paragraph 5 includes the following assets in particular
          (without prejudice to the generality of that prohibition):

          (a)         The property and assets of the Fourth Defendant's business
                      known as Anthill shopNplay, 1800 Newport Blvd, Costa Mesa,


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                      CA 92627 or the sale money if any of them have been sold.

          (b)         any money in the following bank accounts in the name of the
                      Fourth Defendant:
                           i. Bank Account with EFG International Monaco, with
                              account number:             ;

                          ii. Bank Account with Wells Fargo Newport Beach with
                              account number     ;

                          iii. Bank Account with Wells Fargo Newport Beach with
                               account number     ;

                          iv. Bank Account with Barclays Bank (UK) with account
                              number          ;

                          v. Bank Account with SG Monaco with unknown account
                             number;

                          vi. Further bank accounts in Switzerland specific details of
                              which are unknown;

                         vii. Bank account in Panama specific details of which are
                              unknown;

          (c)         Money in the Kasan Family Trust Bank Account with EFG
                      International Monaco, with an unknown account number, over
                      which the Fourth Defendant is in a position of influence so as
                      to be able to procure the company to receive or make
                      payments as required.

    9.    In relation to the Seventh Defendant, VERNY CAPITAL JSC, the
          prohibition in paragraph 5 includes the following assets in particular
          (without prejudice to the generality of that prohibition):

                  a. The shares in, and/or ownership interest and/or participation
                     interest and/or partnership interest in the following assets: (i)
                     the blocking stake in KaR-Tel LLP; (ii) the 40% interest in Sky
                     Service LLP; (iii) the interest in Bank Kassa Nova JSC; and (iv)
                     the businesses trading under the following names, ForteBank,
                     Global Development, The Ritz Carlton, Moscow, The Ritz
                     Carlton, Vienna, The Ritz Carlton, Astana, Rixos Borovoe,
                     Astana Property Management, Sary-Arka airport, RG Gold, 31
                     Channel, Vi Kazakhstan, InformBuro, Burger King franchise
                     Kazakhstan.



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                  b. any money in the following bank accounts in the name of the
                     Seventh Defendant:

                              i. Bank Account with UBS Monaco with an unknown
                                 account number;

                             ii. Bank Account with Compagnie Monegasque de Banque
                                 with an unknown account number;

                             iii. Bank Account with Danske Bank Estonia, with an
                                  unknown account number;

                             iv. Bank Account with DBS Bank HK with account number:
                                           ;

                             v. Bank Account with DBS Bank HK with account number:
                                              ;

                             vi. Bank Account with DBS Bank HK with account number:
                                           ; and

                           vii. Bank Account with Unicredit Banca Milano with account
                                number             .

    10. In relation to the Eighth Defendant, PANOLOS LIMITED, the
        prohibition in paragraph 5 includes the following assets in particular
        (without prejudice to the generality of that prohibition):

                  a. any money in the following bank accounts in the name of the
                     Eighth Defendant:

                       i.       Bank Account with National Commercial Bank Cayman
                                Islands, with unknown account number;

                      ii.       Bank Account with Credit Suisse Geneva with account
                                number:                  ; and

                      iii.      Bank Account with Credit Suisse with an unknown
                                account number.

    11. In relation to the Ninth Defendant, DARELIA LIMITED, the prohibition
        in paragraph 5 includes the following assets in particular (without
        prejudice to the generality of that prohibition):
               a. any money in the following bank accounts in the name of the
                  Ninth Defendant:

                      i.        Bank Account with Compagnie Monegasque de Banque
                                with an unknown account number;

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                       ii.    Bank Account with National Commercial Bank, Cayman
                              Islands, with unknown account number; and

                      iii.    Account with Pireaus Bank (UK) with account number
                                         .

    12. In relation to the Tenth Defendant, JANUS SARL, the prohibition in
        paragraph 5 includes the following assets in particular (without
        prejudice to the generality of that prohibition):
               a. any money in the following bank accounts in the name of the
                  Tenth Defendant:

                        i.    Janus Sarl Bank Account with UBS Zurich with account
                              number:                    ;

                       ii.    Janus Sarl Bank Account with Pilatus Bank with unknown
                              account number.

                      b. Any shares in, and/or ownership interest and/or participation
                         interest and/or partnership interest in the Tenth Defendant's
                         interest in the SAM L'Anse du Portier development in Monaco.


    13. In relation to the Eleventh Defendant, VILDER COMPANY SA, the
        prohibition in paragraph 5 includes the following assets in particular
        (without prejudice to the generality of that prohibition): Any money in
        bank accounts in the name of the Eleventh Defendant at Credit
        Andorra Panama including account number                .

    14. In relation to the Twelfth Defendant, CROWNWAY LIMITED, the
        prohibition in paragraph 5 includes the following assets in particular
        (without prejudice to the generality of that prohibition): Any money in
        bank accounts in the name of the Twelfth Defendant at Credit Suisse
        Zurich including account number:                       .


    PROVISION OF INFORMATION

    15. (1) Unless paragraph (2) applies, each the Respondent must within 10
        days of service of this order and to the best of her, his or its ability
        inform the Applicant’s solicitors of:

          (a) all its, her or his assets worldwide exceeding £50,000 in value
              whether in its, her or his own name or not and whether solely or
              jointly owned and whether the Respondent is interested in said


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              assets legally, beneficially or otherwise, giving the value, location
              and details of all such assets.

          (b)The most up-to-date information available to that Respondent (in
             any capacity) relating to the value, location and details of all assets
             exceeding $200,000 in value which the Respondent, any entity
             which is owned (legally, beneficially or otherwise) or controlled by
             it, her or him, or any individual acting on its, her or his instructions,
             has received, administered or otherwise dealt with since 1 August
             2009 and which meet one or more of the following criteria:

                      (i)     Assets which the Respondent believes or suspects
                              belong or belonged to or are or were controlled by Mr
                              Ablyazov (whether directly or indirectly) or by a company
                              which the Respondent believes or suspects belongs or
                              belonged to or are or were controlled by Mr Ablyazov
                              (whether directly or indirectly);

                      (ii)    Assets which the Respondent believes or suspects
                              belong or belonged to or are or were controlled by Mr
                              Khrapunov (whether directly or indirectly) or by a
                              company which the Respondent believes or suspects
                              belongs or belonged to or are or were controlled by Mr
                              Khrapunov (whether directly or indirectly);

                      (iii)   Assets which were administered or dealt with in
                              accordance with the direct or indirect instructions of Mr
                              Ablyazov and/or Mr Khrapunov;

                      (iv)    Assets which have at any time since 1 August 2009 been
                              held (whether directly or indirectly) by any of the
                              following:

                              -   Tortola Bay Sarl / Tortola Bay SA / Kea Holding SA;

                              -   Crowell Invesments Ltd;

                              -   Pantech Sarl.

          (c) (Insofar as not provided pursuant to paragraph (b) above), the
              nature of the instructions received or given by that Respondent (in
              any capacity) in relation to the administration or dealing with the
              assets identified in paragraph (b) above and the manner in which
              that Respondent, any entity which is owned (legally, beneficially or


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              otherwise) or controlled by it, her or him, or any individual acting
              on its, her or his instructions, has (in any capacity), administered or
              dealt with those assets.

    16. Within 5 days after providing the information pursuant to paragraph 9
        above, that Respondent must swear and serve on the Applicant’s
        solicitors an affidavit confirming the truth of the information provided.
        The said affidavit shall be prepared to the best of that Respondent’s
        ability and shall exhibit all such documents in that Respondent’s
        control (which shall mean documents, as defined by CPR 31.4, which
        are at the moment of service in its, her or his physical possession or
        readily available to him) which evidence the information required to
        be provided pursuant to paragraphs 15(b) and (c) above.

    17. To the extent that the information and documents required to be
        provided pursuant to paragraphs 15 and 16 above cannot reasonably
        be collated within the time periods provided, that Respondent shall
        provide such information and documents as can be collated within
        these time periods and (absent agreement with the Applicant) shall
        provide all further information and documents required to be provided
        within such further time as the Court shall direct.

    18. If the provision of any of this information or documents is likely to
        incriminate a Respondent in any jurisdiction or disclose matters which
        are subject to legal professional privilege, she or he may be entitled
        to refuse to provide it, but is recommended to take legal advice before
        so doing. Wrongful refusal to provide the information and documents
        is contempt of Court and may render the Respondent liable to be
        imprisoned, fined or have its, her or his assets seized.

    EXCEPTIONS TO THIS ORDER

    19.
          (1) This order does not prohibit each of the Third and Fourth
          Defendants from spending £10,000 a week towards her or his ordinary
          living expenses.

          (2) This order does not prohibit the Respondents from each spending
          a reasonable sum on legal advice and representation.

          (3) This order does not prohibit the Third Defendant, Bulat
          Utemuratov, the Fourth Defendant, Elvira Kudryashova, the Seventh
          Defendant, Verny Capital JSC or the Tenth Defendant, Janus Sarl, from


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          dealing with or disposing of any of its, her or his assets in the ordinary
          and proper course of business, but (in relation to any dealing or
          disposal or series of connected dealings or disposals with a value
          exceeding $200,000 the relevant Defendant must give the Applicant’s
          legal representatives 3 clear days’ written notice of the nature and
          value of the proposed transaction.

          (4) In relation to the Eighth Defendant, Panolos Limited, the Ninth
          Defendant, Darelia Limited, the Eleventh Defendant, Vilder Company
          SA and the Twelfth Defendant, Crownway Limited, this order prohibits
          each of them from in any way disposing of, dealing with or diminishing
          the value of their assets (save as set out in sub-paragraph (2) above),
          unless they produce to the Applicant’s legal representatives written
          evidence with supporting evidence that they do conduct ongoing
          business. 3 clear days after the provision of such evidence, that
          Respondent will be free to deal with or dispose of any of its assets in
          the ordinary and proper course of business in accordance with
          paragraph (3) above, unless the Court has made an order to the
          contrary.

          (3) Each Respondent may agree with the Applicant’s legal
          representatives that the above spending limits should be increased or
          that this order should be varied in any other respect, but any
          agreement must be in writing.



    COSTS

    20. The costs of this application are reserved to the Judge hearing the
        application on the return date.

    VARIATION OR DISCHARGE OF THIS ORDER

    21. Anyone served with or notified of this order may apply to the Court at
        any time to vary or discharge this order (or so much of it as affects
        that person), but they must first inform the Applicant’s solicitors. If any
        evidence is to be relied upon in support of the application, the
        substance of it must be communicated in writing to the Applicant’s
        solicitors in advance.

    DISPENSE WITH PERSONAL SERVICE

    22. For the avoidance of doubt, there is no requirement for the Claimant


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          to effect personal service of this order on any of the Defendants and
          the Claimant will be free to bring contempt proceedings in relation to
          any breach of this order regardless of the fact that personal service
          was not effected.

    INTERPRETATION OF THIS ORDER

    23. A Respondent who is an individual who is ordered not to do something
        must not do it herself or himself or in any other way. She/he must not
        do it through others acting on his/her behalf or on his/her instructions
        or with his/her encouragement.

    24. A Respondent which is not an individual which is ordered not to do
        something must not do it itself or by its directors, officers, partners,
        employees or agents or in any other way.

    PARTIES OTHER THAN THE APPLICANT AND RESPONDENT

    25. Effect of this order

          It is a contempt of Court for any person notified of this order knowingly
          to assist in or permit a breach of this order. Any person doing so may
          be imprisoned, fined or have their assets seized.

    26. Set off by banks

          This injunction does not prevent any bank from exercising any right of
          set of it may have in respect of any facility which it gave to the
          respondent before it was notified of this order.

    27. Withdrawals by the Respondent

          No bank need enquire as to the application or proposed application of
          any money withdrawn by the Respondent if the withdrawal appears to
          be permitted by this order.

    28. Persons outside England and Wales

          (1)         Except as provided in paragraph (2) below, the terms of this
                      order do not affect or concern anyone outside the jurisdiction
                      of this Court.

          (2)         The terms of this order will affect the following persons in a


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                      country or state outside the jurisdiction of this Court —

                      (a)   the Respondent or its officer or its, her or his agent
                            appointed by power of attorney;

                      (b)   any person who–
                            (i)   is subject to the jurisdiction of this Court;
                            (ii)  has been given written notice of this order at it, her
                                  or his residence or place of business within the
                                  jurisdiction of this Court; and
                            (iii) is able to prevent acts or omissions outside the
                                  jurisdiction of this Court which constitute or assist
                                  in a breach of the terms of this order; and

                      (c)   any other person, only to the extent that this order is
                            declared enforceable by or is enforced by a Court in that
                            country or state.



    29. Assets located outside England and Wales

          Nothing in this order shall, in respect of assets located outside England
          and Wales, prevent any third party (save for the persons referred to in
          paragraph 28(2) above) from complying with—

          (1)         what it reasonably believes to be its obligations, contractual or
                      otherwise, under the laws and obligations of the country or
                      state in which those assets are situated or under the proper law
                      of any contract between itself and the Respondent; and

          (2)         any orders of the Courts of that country or state, provided that
                      reasonable notice of any application for such an order is given
                      to the Applicant’s solicitors.



    30. Certificate

          Certificates be issued, pursuant to CPR 74.12 and Article 54 of the
          Lugano Convention in relation to this Order. Such certificates shall, as
          appropriate, attach an office copy of the relevant order. The said
          certificates shall be signed by Mr Justice Calver or a Master of the
          Queen’s Bench Division.



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    COMMUNICATIONS WITH THE COURT

    All communications to the Court about this order should be sent to the
    Admiralty and Commercial Court Listing Office, 7 Rolls Building, Fetter
    Lane, London, EC4A 1NL quoting the case number. The telephone number
    is 020 7947 6826. The offices are open between 10 a.m. and 4.30 p.m.
    Monday to Friday.




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          SCHEDULE A—AFFIDAVITS

          The Applicant relied on the following (unsworn) affidavits —



          (1) The First Affidavit of Rifat Anvarovich Samigullin dated 12
          November 2020.

          (2) The First Affidavit of Masoud Zabeti dated 12 November 2020.




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          SCHEDULE B—UNDERTAKINGS GIVEN TO THE COURT BY THE
          APPLICANT

          (1)         If the Court later finds that this order has caused loss to the
                      Respondent, and decides that the Respondent should be
                      compensated for that loss, the Applicant will comply with any
                      order the Court may make.

          (2)         The Applicant will, within 7 days, pay the sum of $10,000,000
                      into the client account of its legal representatives, Greenberg
                      Traurig, LLP, to be held in respect of any order the Court may
                      make pursuant to paragraph (1) above and (7) below.

          (2A)        The Applicant will, as soon as practicable, cause the affidavits
                      listed in Schedule A to be sworn.

          (3)         The Applicant will, within 7 days (unless an extension of time is
                      granted by the Court), issue and serve an amended claim form
                      in the form of the draft produced to the Court.

          (4)         The Applicant will, within 7 days (unless an extension of time is
                      granted by the Court), make arrangements through the
                      appropriate channels for the service of a copy of this Order
                      upon each Respondent together with—
                      (i)   copies of the affidavits and exhibits containing the
                            evidence relied upon by the Applicant, and any other
                            documents provided to the Court on the making of the
                            application;
                      (ii)  the amended claim form; and
                      (iii) an application notice for continuation of the order.

          (5)         Anyone notified of this order will be given a copy of it by the
                      Applicant’s legal representatives.

          (6)         The Applicant will pay the reasonable costs of anyone other
                      than the Respondent which have been incurred as a result of
                      this order including the costs of finding out whether that person
                      holds any of the Respondent’s assets and if the Court later finds
                      that this order has caused such person loss, and decides that
                      such person should be compensated for that loss, the Applicant
                      will comply with any order the Court may make.

          (7)         If this order ceases to have effect (for example, if the


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                      Respondent provides security or the Applicant does not provide
                      a bank guarantee as provided for above) the Applicant will
                      immediately take all reasonable steps to inform in writing
                      anyone to whom he has given notice of this order, or who she,
                      he or it has reasonable grounds for supposing may act upon
                      this order, that it has ceased to have effect.

          (8)         The Applicant will not without the permission of the Court use
                      any information obtained as a result of this order for the
                      purpose of any civil or criminal proceedings, either in England
                      and Wales or in any other jurisdiction, other than this claim or
                      civil proceedings in any jurisdiction against the First or Second
                      Defendants and/or the taking of steps in any jurisdiction to
                      secure and/or enforce the judgments in the Applicant’s favour
                      against the assets of the First or Second Defendants.



          NAME AND ADDRESS OF APPLICANT’S LEGAL
          REPRESENTATIVES

          The Applicant’s legal representatives are—

                       Greenberg Traurig, LLP
                       Level 8, The Shard
                       32 London Bridge Street
                       London
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                       zabetim@gtlaw.com




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                        Exhibit J
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             FT Investigation: Trump and the Russian-born ﬁxer

             FT Investigations World
             Dirty money: Trump and the Kazakh connection
             FT probe ﬁnds evidence a Trump venture has links to alleged laundering network




             Donald Trump and his Trump Soho tower © FT montage

             Tom Burgis OCTOBER 19 2016


             Ever since a series of bankruptcies left banks unwilling to lend to him, Donald Trump
             has been on the lookout for partners willing to fund the buildings that bear his name.

             Over the years the US presidential candidate has assembled an eclectic collection of
             backers and collaborators. Some had chequered pasts, with links to organised crime
             or fraud schemes. But perhaps the biggest risk for Mr Trump’s complex, often opaque,
             business empire was that it might be used for a purpose US officials fear is rife in the
             country’s real estate sector: laundering dirty money.

             A Financial Times investigation has found evidence that one Trump venture has
             multiple ties to an alleged international money laundering network. Title deeds, bank
             records and correspondence show that a Kazakh family accused of laundering
             hundreds of millions of stolen dollars bought luxury apartments in a Manhattan tower
             part-owned by Mr Trump and embarked on major business ventures with one of the
             tycoon’s partners.


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             As Mr Trump runs for the White House, the revelations raise questions about what
             steps his business takes to ensure that the funds that pour through it are clean.

             Jennifer Shasky Calvery, then director of the US Financial Crimes Enforcement
             Network, warned in January that “corrupt foreign officials, or transnational criminals,
             may be using premium US real estate to secretly invest millions in dirty money”.

             One former executive at a developer that worked with Mr Trump accused him of
             “wilful obliviousness” to the details of his partners’ dealings. But a spokesman for the
             Trump Organisation said it conducted “extensive” background checks on its partners,
             including hiring outside investigators.

             One of those partners, Bayrock, has already been a source of controversy. Now the
             details of Bayrock’s association with the family of Viktor Khrapunov, a former Kazakh
             energy minister and ex-mayor of the city of Almaty, show it was connected to an
             alleged laundering scheme at the same time as it was collaborating with Mr Trump.

             Lawyers for Almaty told a US court in March that Mr Khrapunov and his family
             “conspired to systematically loot hundreds of millions of dollars of public assets . . .
             and to launder their ill-gotten gains through a complex web of bank accounts and
             shell companies . . . particularly in the United States”.




             Viktor Khrapunov denies the Kazakh government's allegations that he and his family laundered millions of dollars
             Mr Khrapunov, who now lives in Switzerland, says he is being targeted for opposing
             the man he used to serve, President Nursultan Nazarbayev, Kazakhstan’s
             authoritarian ruler since 1989. His supporters say the family’s fortune comes from
             business success, not embezzlement.



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             Among the dozens of companies the Almaty lawyers say the Khrapunov laundering
             network used were three called Soho 3310, Soho 3311 and Soho 3203. Each was a
             limited liability company, meaning their ownership could easily be concealed.

             The companies were created in April 2013 in New York. A week later, property records
             show, they paid a total of $3.1m to buy the apartments that corresponded with their
             names in the Trump Soho, a 46-storey luxury hotel-condominium completed in 2010
             in a chic corner of Manhattan.

                                                                  Bank statements submitted by Almaty’s
                                                                  lawyers indicate that the ultimate
                Trump’s Russian                                   beneficiary of the Soho companies was
                connections                                       Elvira Kudryashova, Mr Khrapunov’s
                                                                  California-based daughter. According to
                                                                  the Kazakh government, she, with her
                                                                  brother Ilyas, is a key link in the
                                                                  family’s laundering network.

                                                                  Shortly before the Soho companies
                                                                  bought the apartments, more than
                                                                  $3.1m flowed out of Ms Kudryashova’s
             © Ben Kirchner
                                                                  Wells Fargo account to the firm of
                Read our guide to the Republican
                                                                  Martin Jajan, a New York lawyer. Mr
                candidate’s links to Russia over                  Jajan proceeded to sign purchase
                the past 30 years                                 documents for the Trump Soho
                                                                  apartments as buyer’s agent. Other
                                                                  bank records show further links
             between Ms Kudryashova and her relatives and the Soho shell companies. Mr Jajan
             did not respond to a request for comment.

             On the face of it, Mr Trump was not a beneficiary of the apartment sales. The vendor
             was another limited liability company, Bayrock/Sapir Organization LLC. It was
             named after the developers that jointly built Trump Soho: the Sapir Organisation,
             founded by Tamir Sapir, from Georgia, and Bayrock, founded by Tevfik Arif, a
             Kazakhstan-born former Soviet official.

             According to regulatory filings, however, Bayrock/Sapir Organization LLC had a third
             co-owner — the man who licensed his personal brand to the project.




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             The Trump Soho, announced in 2006, was an early example of a building that bore
             the Trump name but was built by someone else. Mr Trump’s access to finance had
             been curtailed by bankruptcies. But as the star of The Apprentice, his celebrity stock
             was rising. Partners such as Sapir and Bayrock were prepared to pay to license his
             name.




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             Until it fell into financial trouble and changed hands in a 2014 foreclosure sale, Mr
             Trump enjoyed an 18 per cent share of the profits of the Trump Soho. Alan Garten,
             general counsel of the Trump Organisation, said Bayrock and the Sapir Organisation
             were responsible for apartment sales and for conducting due diligence on buyers.
             Both companies declined to comment.

             Mr Garten said he had “no doubt” that “every legal requirement” had been fulfilled.
             Asked how a member of the Khrapunov family could nonetheless have bought
             apartments in the Trump Soho — two years after the family was charged in
             Kazakhstan with financial crimes — he said: “Maybe there’s something wrong with the
             law but we can’t fault [Bayrock and Sapir] for complying with the laws.”

             The laws regulating US real estate deals are scant, experts say. Provisions against
             terrorism financing in the Patriot Act, passed in the aftermath of the September 11
             2001 attacks, obliged mortgage lenders to conduct “know your customer” research.
             But money launderers pay in cash. Sales such as those of the Trump Soho apartments
             have passed through this loophole, which was partially closed only this year.

             In January, the US launched a pilot programme designed to identify the ultimate
             owners of shell companies used to buy premium property in Manhattan and Miami.
             In July officials reported that the new rules had corroborated concerns that “all-cash
             luxury purchases of residential property by a legal entity are highly vulnerable to
             abuse for money laundering”.

             A spokesman for the Khrapunov family declined to answer detailed questions about
             the Soho apartment transactions and other deals. “Kazakhstan is using the legal
             systems of western countries to harass, wear down and destroy political opponents,”
             the spokesman said. All the Khrapunov family’s business activities “have been
             conducted in full accordance with Swiss laws,” he added.

                                                                    Mr Garten of the Trump Organisation
                                                                    said: “We have no knowledge of who
                US election poll tracker                            [the Khrapunov family] are and have
                                                                    done no business with them.”

                                                                    Mr Trump’s former partners Bayrock,
                                                                    however, have dealt with them.




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                Which White House candidate is                As work on Trump Soho got under way
                leading in the polls?                                             in 2007, the partnership between Mr
                                                                                  Trump and Bayrock was gathering
                                                                                  momentum. Another tower, in Fort
             Lauderdale, was rising. A 2008 Bayrock presentation includes a picture of Mr Trump
             grinning beside Mr Arif and names him as a referee. Bayrock had its office on the 24th
             floor of Trump Tower and calls the Trump Organisation a “strategic partner”.

             The same presentation says Bayrock was one of the backers of the redevelopment of
             the 101-year-old Hotel du Parc on the shores of Lake Geneva, owned by Swiss
             Development Group, a Geneva-based company. In May this year, Nicolas Bourg, a
             Belgian businessman who says he worked with Viktor Khrapunov’s son Ilyas on US
             real estate deals, claimed in a separate dispute that Swiss Development Group was
             “owned and controlled by Ilyas and his family and used to conceal the movement and
             investment of his family’s money”.




             Donald Trump and three of his children with representatives of Bayrock and Sapir at the launch of Trump Soho in 2007, including
             Tevﬁk Arif (second from left)
             Swiss Development Group said it had been sold in 2013 but that it was still suffering
             “relentless and unsubstantiated pressure . . . for the sole reason [that] it was linked at
             some point in time to someone the Kazakh government wants to prosecute”.

             The Kazakh government has also accused Helvetic Capital SA, another Swiss
             company, of being a vehicle for Khrapunov laundering. According to a 2007 draft
             contract, seen by the FT, Helvetic Capital planned to enter a $1.5m joint venture
             called KazBay. Its partner was to be Bayrock.




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             In a 2011 deposition, given in a dispute over the Fort Lauderdale project, Mr Trump
             said he had “never really understood who owned Bayrock”. Jody Kriss, a former
             Bayrock finance director, has claimed in racketeering lawsuits against his former
             employer that Bayrock’s backers included “hidden interests in Russia and
             Kazakhstan”. Bayrock has denied Mr Kriss’s allegations but declined to answer
             questions about the source of its funds and its relationship with the Khrapunovs.

             Asked if the Trump Organisation had known where Bayrock’s money came from, Mr
             Garten said: “No. I had no reason to question the source of funds. Its principal
             investor [Mr Arif] had a successful track record.” He added: “When you do due
             diligence you act in good faith and try to look at all relevant material but there’s only a
             certain degree that you can look at things. You can do as much as possible but you are
             limited to public records.”



                   Bayrock-Trump alumni worked for Khrapunovs
                   At least two alumni of the Bayrock-Trump partnership have gone on
                   to work directly with the Khrapunovs.
                   One is Daniel Ridloff, whose LinkedIn profile says he worked for
                   Bayrock for five years until 2010, then spent eight months in
                   “acquisitions and finance” at the Trump Organisation. The other is
                   Felix Sater, a Russian-born convicted fraudster and FBI informant
                   with mob connections who was number two at Bayrock until 2008.
                   On his LinkedIn profile, Mr Sater says he spent 2010 working at the
                   Trump Organisation as “Senior Advisor to Donald Trump”. Mr
                   Ridloff did not respond to a request for comment; Mr Sater declined
                   to comment.
                   According to correspondence and company documents seen by the
                   FT, both Mr Sater and Mr Ridloff worked closely with Elvira
                   Kudryashova in 2012. They agreed to serve as directors of a
                   company through which she would pour $3m into a business
                   venture as part of her efforts to secure a US investor visa. The idea
                   was to put vending machines selling gadgets on US military bases.
                   Mr Sater even offered to take Ms Kudryashova and her husband out
                   for dinner along with his own wife.


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                      Welcoming Bradshaw Residential Group to Coldwell
                        Banker Residential Brokerage Newport Beach
                                                                  Published on December 21, 2017




                                                                C            oldwell Banker Residential Brokerage


                                                                             Newport Beach is excited to welcome


                                                                Bradshaw Residential Group to the brokerage. Learn


                                                                more at Bradshaw Residential Group's website, get in


                             touch via email or connect by phone at 949.433.3001. For more information about


                             Coldwell Banker Newport Beach, please contact branch manager Debbie


                             Lewandowski at 9496441600 or Debbie.Lewandowski@camoves.com.




                             Bradshaw Residential Group is the Number


                             One Real Estate Team in Newport Coast




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                             for the most homes sold for the second consecutive year in a row. With over a quarter


                             of a billion dollars since 2015 alone, Bradshaw Residential Group is on the cutting edge


                             of luxury. Coupled with Coldwell Banker Residential Brokerage®’s renowned


                             international luxury brand power, the alliance solidifies the team’s position in the global


                             luxury market as an unstoppable force. "The choice was simple…with phenomenal


                             management, support staff and the talented in-house marketing team coupled with a


                             vast 100+ year national network, Coldwell Banker was an indisputable decision," Jason


                             C. Bradshaw, Bradshaw Residential founder said. "The opportunities to grow our


                             business are limitless with the brand’s powerful International presence and cutting-


                             edge technology. Our marketing will now reach even more quality buyers for our


                             properties." Jason and Darren have an intuitive ability to achieve higher sales prices for


                             their sellers and outperform the market with each transaction. How they seem to have


                             innately landed on the formula for success is embedded in the details. Each element of


                             their process is meticulous. From pre-marketing and pairing the right photographer to


                             the property, to heightening the design of the home and delivering the home to the


                             market is their art form. And it works. As a result of their marketing prowess,


                             approximately 30 percent of the time, they have been able to procure the buyer for


                             their listed properties directly. And their client experience doesn’t end with representing


                             Sellers. Over 40 percent of Bradshaw Residential’s business is a result of


                             enthusiastically representing buyers in the real estate process. “Clients repeatedly


                             choose to list and sell their luxury properties with Bradshaw Residential Group


                             because their involvement results in quality-based transactions, record sales prices


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                                           and unprecedented customer satisfaction,” Debbie Lewandowski, Coldwell Banker


                                           Newport Beach Manager said. “Jason Bradshaw and Darren Smith are commanding


                                           the price points these properties deserve. They truly speak to the luxury market.”


                                           Experience their success formula for yourself and be counted on the list of Bradshaw


                                           Residential’s discriminating clients. Call for an appointment.                                              




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